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                  EXHIBIT J
Case: 1:15-cv-08489 Document #: 112-3 Filed: 09/29/21 Page 2 of 192 PageID #:1341
      EDDIE RAY BRADLEY vs. Village of University Park
      Bradley, Eddie on 08/16/2016

 ·1· · · · · · · · · UNITED STATES DISTRICT COURT
 · · · · · · · · · · NORTHERN DISTRICT OF ILLINOIS
 ·2· · · · · · · · · · · · EASTERN DIVISION

 ·3
 · · ·EDDIE RAY BRADLEY,· · · · · )
 ·4· · · · · · · · · · · · · · · ·)
 · · · · · · · · · Plaintiff,· · ·)
 ·5· · · · · · · · · · · · · · · ·)
 · · · · · · ·vs.· · · · · · · · ·)
 ·6· · · · · · · · · · · · · · · ·)
 · · ·Village of University· · · ·)· No. 15 CV 08489
 ·7· ·Park, ILLINOIS, an· · · · · )· Honorable Judge:
 · · ·Illinois Home Rule· · · · · )· Charles R. Norgle, Sr.
 ·8· ·Municipality, and VIVIAN· · )
 · · ·COVINGTON, Mayor of· · · · ·)
 ·9· ·University Park,· · · · · · )
 · · ·Illinois,· · · · · · · · · ·)
 10· · · · · · · · · · · · · · · ·)
 · · · · · · · · · Defendants.· · )
 11

 12· · · · · ·The deposition of EDDIE RAY BRADLEY, called as a

 13· ·witness herein, for examination taken pursuant to the

 14· ·provisions of the Code of Civil Procedure and the Rules

 15· ·of the Supreme Court of the State of Illinois and all

 16· ·Federal Rules pertaining to the taking of depositions for

 17· ·the purpose of discovery, taken before LYNN MANGAN, a

 18· ·Notary Public within and for the County of Lake, State of

 19· ·Indiana, and a Certified Shorthand Reporter of the State

 20· ·of Illinois at the Law offices of PETERSON, JOHNSON &

 21· ·MURRAY on the 16th day of August, A.D., 2016.

 22

 23· ·REPORTED BY: Eunice Sachs & Associates;
 · · ·Lynn Mangan, Certified Shorthand Reporter
 24· ·License No. 084-001449


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                                                                               Page 2
·1· ·PRESENT:

·2· ·THE KELEHER APPELLATE LAW GROUP, LLC, by
· · ·MR. CHRISTOPHER KELEHER
·3· ·Attorney at Law,
· · ·115 S. LaSalle Street - Suite 2600
·4· ·Chicago, Illinois· 60603
· · · · · appeared on behalf of Plaintiff;
·5
· · ·THE LAW OFFICE OF PETERSON, JOHNSON & MURRAY, by
·6· ·MR. PATRICK S. WALL
· · ·Attorney at Law,
·7· ·200 W. Adams Street - Suite 2125
· · ·Chicago, Illinois· 60606
·8· · · · appeared on behalf of Defendants.

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·1

·2· · · · · · · · · · · · · ·I N D E X

·3
· · ·WITNESS:· · · · · · · · · · · · · · · · · ·PAGE:
·4
· · ·EDDIE RAY BRADLEY,
·5· · · Examination by Mr. Wall .............· ·4, 162
· · · · Examination by Mr. Keleher...........· ·154
·6

·7

·8· · · · · · · · · · ·**************************

·9· · · · · · · · · · · · · E X H I B I T S:

10
· · · Exhibit Number:· · · · · · · · · · · · Page/Line:
11· · · 1 (Contract)......................... 17/18

12· · · 2 (Answers to Interrogatories; identified for the
· · · · · ·record............................ 166/16
13· · · 3 (Plaintiff's complaint; identified for the record)
· · · · · ·.................................. 166/16
14

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                                                                               Page 4
·1· · · · · · · · · · · · · (Time noted:· 1:07 p.m.)
·2· · · · · · · · · · · · · ·(Witness sworn.)
·3· · · · · · · · · · · ·EDDIE RAY BRADLEY,
·4· ·called as a witness, after having been first duly sworn,
·5· ·was examined and testified as follows:
·6· · · · · · · · · · · · · EXAMINATION
·7· · · · · · · · · · · · · BY MR. WALL:
·8· · · · Q.· ·Sir, can you state your first and last name,
·9· ·and spell your last name for the record, please?
10· · · · A.· ·Eddie Bradley.· Last name B-r-a-d-l-e-y.
11· · · · Q.· ·Let the record reflect this is the discovery
12· ·deposition of Edward Bradley taken pursuant to due notice
13· ·and pursuant to the applicable rules of the Federal Court
14· ·as well as the Federal Rules of Civil Procedure.
15· · · · · · ·Mr. Bradley, have you ever given a deposition
16· ·before?
17· · · · A.· ·Yes.
18· · · · Q.· ·How many times approximately?
19· · · · A.· ·A few.· Three.
20· · · · Q.· ·What were they deps for?
21· · · · A.· ·Lawsuits.
22· · · · Q.· ·Were you sued personally?· Were you suing
23· ·people?· I'm just trying to figure out what the three
24· ·times were.

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·1· · · · A.· ·I was being sued.
·2· · · · Q.· ·Individually or as an employee of a
·3· ·municipality or what?
·4· · · · A.· ·In my -- as a --
·5· · · · Q.· ·Let's start here.· What was the oldest
·6· ·deposition you've given?· How long ago?· First one.
·7· · · · A.· ·The oldest?
·8· · · · Q.· ·Yeah.· When was the first time you gave a
·9· ·deposition?
10· · · · A.· ·Oh.· I don't know.· Approximately 15 years.
11· · · · Q.· ·And what was that suit for?
12· · · · A.· ·Inmate.· Inmate lawsuit.
13· · · · Q.· ·Is that when you were an ERT?
14· · · · A.· ·No, I wasn't an ERT at the time.
15· · · · Q.· ·What municipality was it for?
16· · · · A.· ·Will County.
17· · · · Q.· ·You were working at the Adult Detention
18· ·Facility?
19· · · · A.· ·Yes.
20· · · · Q.· ·Were you a defendant or just a witness in this
21· ·case?
22· · · · A.· ·Defendant.
23· · · · Q.· ·How did that case resolve?
24· · · · A.· ·We won.

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·1· · · · Q.· ·Always a good feeling.
·2· · · · A.· ·Yes.
·3· · · · Q.· ·What about the second one?
·4· · · · A.· ·As far as did we win or not?
·5· · · · Q.· ·Yeah.
·6· · · · A.· ·Yeah, we won.
·7· · · · Q.· ·Was that another Will County suit?
·8· · · · A.· ·Yes.· All of my suits were Will County suits.
·9· · · · Q.· ·Off the record.
10· · · · · · · · · · ·(Discussion off the record.)
11· ·BY MR. WALL:
12· · · · Q.· ·So you are familiar with the ground rules of
13· ·I'm going to be asking you questions about your
14· ·employment with the Village of University Park.· Okay?
15· · · · A.· ·Uh-huh.
16· · · · Q.· ·I'm going to need you to let me get out my
17· ·question; I'll let you get out your answer so we're not
18· ·talking over one another.
19· · · · A.· ·Okay.
20· · · · Q.· ·If you give me an answer to a question today,
21· ·I'm going to assume you've understood it.· Fair?
22· · · · A.· ·Uh-huh.
23· · · · Q.· ·And you're going to anticipate a lot of my
24· ·questions.· I'm sure counsel went over them with you, so

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·1· ·make sure you let me finish, I'll let you finish, and
·2· ·we'll have a clean record.
·3· · · · A.· ·Uh-huh.
·4· · · · Q.· ·Okay?
·5· · · · A.· ·Yes.
·6· · · · Q.· ·From time to time, I may prompt you for a yes
·7· ·or no answer.· We may know what a "uh-huh" or "uh-uh" may
·8· ·be today, but we won't know six months down the road.
·9· · · · A.· ·Yes.
10· · · · Q.· ·If you need a break at any time, that's fine.
11· ·I'd just ask that you answer the question that's pending,
12· ·and we'll take a break.
13· · · · A.· ·Okay.
14· · · · Q.· ·Okay?· Have you ever been known by any other
15· ·names?
16· · · · A.· ·No.
17· · · · Q.· ·What's your date of birth?
18· · · · A.· ·6-1-53.
19· · · · Q.· ·And where do you currently reside?
20· · · · A.· ·622 Hickock, H-i-c-k-o-c-k, University Park,
21· ·Illinois, 60484.
22· · · · Q.· ·How long have you resided there?
23· · · · A.· ·About approximately 17 years.
24· · · · Q.· ·Off the record.

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·1· · · · · · · · · · ·(Discussion off the record.)
·2· ·BY MR. WALL:
·3· · · · Q.· ·Have you ever been convicted of a felony?
·4· · · · A.· ·No.
·5· · · · Q.· ·Have you ever been convicted of a misdemeanor
·6· ·involving false statements or dishonesty?
·7· · · · A.· ·No.
·8· · · · Q.· ·Are you married?
·9· · · · A.· ·No.
10· · · · Q.· ·Were you married at the time of the allegations
11· ·in your complaint?
12· · · · A.· ·No.
13· · · · Q.· ·Have you ever been been married?
14· · · · A.· ·Yes.
15· · · · Q.· ·When did you get divorced?
16· · · · A.· ·About 27 years ago.
17· · · · Q.· ·Oh, okay.· That's fine.· Any kids?
18· · · · A.· ·Yes.
19· · · · Q.· ·How many?
20· · · · A.· ·Two.
21· · · · Q.· ·Are they grown?
22· · · · A.· ·Yes.
23· · · · Q.· ·Are they out of the house?· That's the better
24· ·question.

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 ·1· · · · A.· ·Yes.
 ·2· · · · Q.· ·What's your highest level of education?
 ·3· · · · A.· ·College.
 ·4· · · · Q.· ·Where was college at?
 ·5· · · · A.· ·I've attended four different colleges.· South
 ·6· ·Suburban College, Governors State University, University
 ·7· ·of Illinois, Champaign, and Northwestern in Evanston.
 ·8· · · · Q.· ·I think we have your CV, but can you just give
 ·9· ·me a list of where you've worked as a police officer to
 10· ·the best of your recollection?
 11· · · · A.· ·Will County Sheriff's Police, University Park
 12· ·Police.
 13· · · · Q.· ·Anywhere else?
 14· · · · A.· ·It wasn't a police department, but I ran the
 15· ·security for Job Corp in Joliet, Illinois.· That's while
 16· ·I was working with the Will County Sheriff's Police.
 17· · · · Q.· ·What years was the Will County approximately?
 18· · · · A.· ·Will County was '89 to 2009.
 19· · · · Q.· ·And University Park?
 20· · · · A.· ·2013 to 2015.
 21· · · · Q.· ·What did you do in that four-year gap?
 22· · · · A.· ·I worked again at Job Corp in Joliet.· And I
 23· ·think that's it.
 24· · · · Q.· ·Are you currently employed anywhere?

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 ·1· · · · A.· ·No.
 ·2· · · · Q.· ·Is the last employment you had with the Village
 ·3· ·of University Park?
 ·4· · · · A.· ·Yes.
 ·5· · · · Q.· ·Have you filed bankruptcy since you filed this
 ·6· ·lawsuit?
 ·7· · · · A.· ·Never filed bankruptcy.
 ·8· · · · Q.· ·Are you under the influence of any narcotics or
 ·9· ·medicine which would impact your ability to accurately
 10· ·and truthfully testify today?
 11· · · · A.· ·No.
 12· · · · Q.· ·Other than the Will County lawsuits as a
 13· ·Sheriff's deputy or whatever capacity you were in, have
 14· ·you been sued in any other capacity?
 15· · · · A.· ·No.
 16· · · · Q.· ·Have you sued anyone in any other capacity
 17· ·where you filed a lawsuit against them?
 18· · · · A.· ·My son was in an accident.
 19· · · · Q.· ·When he was a minor?
 20· · · · A.· ·I think he was an adult.
 21· · · · Q.· ·And that was a personal injury lawsuit for
 22· ·injuries to your son?
 23· · · · A.· ·Yeah.
 24· · · · Q.· ·Any other lawsuits that you filed?

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 ·1· · · · A.· ·Not that I could recall.
 ·2· · · · Q.· ·You've served in the military?
 ·3· · · · A.· ·No.
 ·4· · · · Q.· ·How did you come to obtain employment with the
 ·5· ·Village of University Park?
 ·6· · · · A.· ·Several trustees.· I live in the Village of
 ·7· ·University Park.· So, I have occasion to run into
 ·8· ·officials from the Village of University Park; and they
 ·9· ·would talk to me about, you know, how bad the village was
 10· ·doing as far as crime and other things.· The police
 11· ·department was in bad shape.
 12· · · · · · ·And eventually they asked me to, you know, be
 13· ·the chief out there and straighten some things out.
 14· · · · Q.· ·And this was in 2012 or 2013?
 15· · · · A.· ·I think -- was it October of 2012, I think?
 16· · · · Q.· ·Okay.
 17· · · · A.· ·Yeah.
 18· · · · Q.· ·And that was when the conversations first
 19· ·started?
 20· · · · A.· ·No, they would happen over a length of time,
 21· ·because like I say, I live out there.· So I was aware of
 22· ·-- it was like just almost every week, armed robberies,
 23· ·citizens walking down the street, getting robbed, gas
 24· ·stations getting robbed.· Things happened at the police

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 ·1· ·department, no leadership.· You know, we would talk about
 ·2· ·these things; so eventually they asked me if I would -- I
 ·3· ·had retired.
 ·4· · · · Q.· ·Okay.
 ·5· · · · A.· ·And they asked me to come up there.
 ·6· · · · Q.· ·Do you remember when the first date you started
 ·7· ·was?
 ·8· · · · A.· ·Well, no, I don't because that was a Saturday
 ·9· ·actually.
 10· · · · Q.· ·Month-wise?
 11· · · · A.· ·I think October.
 12· · · · Q.· ·Of '12?
 13· · · · A.· ·Yeah.
 14· · · · Q.· ·Did you have an employment contract at that
 15· ·time?· Or did you just operate as an employee, and you
 16· ·got paid every week at will?
 17· · · · A.· ·Are you talking about the day that I got
 18· ·hired?
 19· · · · Q.· ·Yeah.
 20· · · · A.· ·No.
 21· · · · Q.· ·You were just a regular employee?
 22· · · · A.· ·No.· It was a Saturday.· They asked me to come
 23· ·up there on a Saturday and be sworn in.
 24· · · · Q.· ·Okay.

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 ·1· · · · A.· ·Some of the trustees were there.· The clerk
 ·2· ·was there, and a couple other people were there,
 ·3· ·citizens.
 ·4· · · · Q.· ·Okay.
 ·5· · · · A.· ·I went up to the town -- our Village Town
 ·6· ·Center we call it.· And we had a swearing in ceremony.
 ·7· ·They wanted to get it done right away.
 ·8· · · · Q.· ·Of course.
 ·9· · · · A.· ·So that happened on that Saturday.· And I think
 10· ·maybe the next week Mr. Linear, who was the village
 11· ·manager wrote up an agreement and I signed it.· And as
 12· ·far as a written official article, I think that's what
 13· ·you're speaking of, that's when that was done.
 14· · · · Q.· ·And that first agreement, how long did it go
 15· ·for?· Or was there an agreement?
 16· · · · A.· ·I don't recall a length of time on that
 17· ·agreement.
 18· · · · Q.· ·And then at some point I think in 2013, you
 19· ·entered into a contract?
 20· · · · A.· ·Yes.
 21· · · · Q.· ·Which essentially forms the basis of your
 22· ·lawsuit?
 23· · · · A.· ·Yes.· I don't know if it was at the end of --
 24· ·yeah, I think it was during '13.

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 ·1· · · · Q.· ·So, whatever you operated from '12 to '13 isn't
 ·2· ·at issue.· It's the contract from October of '13 that's
 ·3· ·at issue now?
 ·4· · · · A.· ·Yes.
 ·5· · · · Q.· ·Do you know why Mel Davis left?
 ·6· · · · A.· ·It's my understanding he was terminated.                        I
 ·7· ·don't know the specific reasons or anything like that.
 ·8· · · · Q.· ·And as I understand, that contract runs through
 ·9· ·I think July 30th of '16?
 10· · · · A.· ·I believe it's December.
 11· · · · Q.· ·But that contract expires at the end of this
 12· ·year.· Fair?
 13· · · · A.· ·Yes.
 14· · · · Q.· ·My assistant is getting it for me; if the dates
 15· ·are wrong we'll come back to it.
 16· · · · A.· ·Sure.
 17· · · · Q.· ·So, you're aware that after this contract runs
 18· ·out, the village would have no binding reason to
 19· ·continue to have you stay on if you were still employed.
 20· ·Correct?
 21· · · · MR. KELEHER:· Objection.· Calls for a legal
 22· ·conclusion.· You can answer.
 23· ·BY MR. WALL:
 24· · · · Q.· ·Let me ask this a different way.· After the

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 ·1· ·contract expired, the village was not required to
 ·2· ·continue using you as the chief of police.· Fair?
 ·3· · · · A.· ·Fair.
 ·4· · · · Q.· ·And as I understand it, you were terminated
 ·5· ·from a letter from the Defendant Mayor to you on May 29,
 ·6· ·2015?
 ·7· · · · A.· ·I'm not sure of the direct date, but I know it
 ·8· ·was some time in May.· That could be the date.
 ·9· · · · Q.· ·As I understand it, the terms, at least from
 10· ·Linear's deposition that four of the six trustees and the
 11· ·mayor were up for reelection this year?
 12· · · · A.· ·This year?
 13· · · · Q.· ·Yes.
 14· · · · A.· ·I'm not sure.
 15· · · · Q.· ·You wouldn't have any reason to dispute that if
 16· ·Lafayette Linear agreed that four of the six trustees
 17· ·were up and the mayor were up for reelection?
 18· · · · A.· ·No.· Because I think it's three.
 19· · · · Q.· ·Three of the six?
 20· · · · A.· ·Yeah.
 21· · · · Q.· ·And the mayor as well?
 22· · · · A.· ·Uh-huh.
 23· · · · Q.· ·And those terms -- I believe as I understand it
 24· ·-- ended at the end of April, and then they were sworn in

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 ·1· ·for their new terms.· Correct?· Or that's how it would
 ·2· ·work in the Village of University Park?
 ·3· · · · A.· ·Are you saying that are up right now as we sit
 ·4· ·here today?
 ·5· · · · Q.· ·No.
 ·6· · · · A.· ·Or at the time?
 ·7· · · · Q.· ·Back in January of '15, Mayor Covington as well
 ·8· ·as three trustees were running for reelection?
 ·9· · · · A.· ·I believe so.· That's my understanding.
 10· · · · Q.· ·And elections were held in April, I think
 11· ·April 7th?
 12· · · · A.· ·Uh-huh.
 13· · · · Q.· ·And then the terms that they were currently on
 14· ·were ending, and then they were coming in for new terms.
 15· ·Correct?
 16· · · · A.· ·Uh-huh.· Uh-huh.· Yes.
 17· · · · Q.· ·So the new terms of at least three of the six
 18· ·trustees and the mayor started again at some point
 19· ·officially in May.· Fair?
 20· · · · A.· ·Yes.
 21· · · · Q.· ·It looks like reviewing the contracted it says
 22· ·during 2015 and 2016?
 23· · · · A.· ·Yes.
 24· · · · Q.· ·So December 31st?

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 ·1· · · · A.· ·Uh-huh.
 ·2· · · · Q.· ·Okay.
 ·3· · · · A.· ·Yes.
 ·4· · · · Q.· ·And as I understand it, if you're terminated
 ·5· ·without cause your contract pays you a termination fee
 ·6· ·equal to four months salary?
 ·7· · · · A.· ·Yes.
 ·8· · · · Q.· ·And do you know what that number was
 ·9· ·approximately?
 10· · · · A.· ·You mean dollar-wise?
 11· · · · Q.· ·Yeah.· Ballpark?
 12· · · · A.· ·Forty thousand, I think ballpark.
 13· · · · Q.· ·I'm sure there are payroll records that would
 14· ·clarify what that number is.· Right?
 15· · · · A.· ·Absolutely.· I would hope so.
 16· · · · Q.· ·And you would agree that the village is
 17· ·required to -- actually, let me do this.
 18· · · · · · · · · · ·(Exhibit 1 is marked.)
 19· ·BY MR. WALL:
 20· · · · Q.· ·This is your employment contract.· We'll mark
 21· ·it as Defense 1.
 22· · · · · · ·As I understand the last page, if they
 23· ·terminate you without cause all the village is required
 24· ·to do is pay you the four months termination as well as

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 ·1· ·notify you that you've been terminated.· Is that your
 ·2· ·reading of that paragraph within the employment contract
 ·3· ·that you signed?
 ·4· · · · MR. KELEHER:· I'm going to object.· Legal
 ·5· ·conclusion.· But you can answer.
 ·6· · · · THE WITNESS:· Okay.· Yes.· That's what it says.
 ·7· ·BY MR. WALL:
 ·8· · · · Q.· ·Okay, thank you.· And you received the letter
 ·9· ·from the mayor terminating you.· Correct?
 10· · · · A.· ·Yes.
 11· · · · Q.· ·What was your response when you found out that
 12· ·you had been terminated?
 13· · · · A.· ·I had attorneys contact the mayor, the village;
 14· ·and they asked were the appropriate legal steps that
 15· ·should be taken.
 16· · · · Q.· ·Were you referred to an attorney by anyone?
 17· · · · A.· ·No.
 18· · · · Q.· ·Nobody?· How did you find Mr. Moran and
 19· ·Mr. Keleher?
 20· · · · A.· ·Mr. Linear -- we were looking together.
 21· · · · Q.· ·Okay.
 22· · · · A.· ·For an attorney.
 23· · · · Q.· ·And are you aware of how Mr. Linear found
 24· ·Mr. Moran and Mr. Keleher?

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 ·1· · · · A.· ·No.
 ·2· · · · Q.· ·Were you ever contacted by the village attorney
 ·3· ·to file a lawsuit?
 ·4· · · · A.· ·No.
 ·5· · · · Q.· ·Okay.
 ·6· · · · A.· ·The village attorney?
 ·7· · · · Q.· ·Yes.
 ·8· · · · A.· ·No.
 ·9· · · · MR. KELEHER:· I'm sorry.· Which village attorney?
 10· · · · THE WITNESS:· Oh, yeah.
 11· · · · · · ·I don't understand that question.
 12· · · · MR. WALL:· Off the record.
 13· · · · · · · · · · ·(Discussion off the record.)
 14· · · · THE WITNESS:· I had some conversations with the
 15· ·village attorney at that time.
 16· ·BY MR. WALL:
 17· · · · Q.· ·Who was that?
 18· · · · A.· ·Felicia Frazier.
 19· · · · Q.· ·And what did she say?
 20· · · · A.· ·It was a -- she never directly told me anything
 21· ·like you know, "You need to sue them" or "get them" or
 22· ·anything like that.· The conversation was kind of like,
 23· ·"I think they're going to do the same thing to us.· This
 24· ·is bad."· You know, how terrible things were as far as

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 ·1· ·the village administration and the way it was being run
 ·2· ·and everything.· References like that in reference to,
 ·3· ·you know.· But there was no direct --
 ·4· · · · Q.· ·She never gave you a list of names?
 ·5· · · · A.· ·No.
 ·6· · · · Q.· ·And then I'm assuming you and Linear talked
 ·7· ·about possibly using the same attorney?
 ·8· · · · A.· ·Not possibly.· We went and saw some attorneys
 ·9· ·together up in -- I don't know -- up in the north suburbs
 10· ·somewhere.
 11· · · · Q.· ·And I think at some point, you guys got to the
 12· ·Moran Law Group?
 13· · · · A.· ·Absolutely.
 14· · · · Q.· ·As I understand your lawsuit, you would agree
 15· ·that as a village employee and as someone operating with
 16· ·a Municipal Employment Contract, that you are subject to
 17· ·Illinois law.· Fair?
 18· · · · A.· ·Yes.
 19· · · · Q.· ·You are as a police officer, and you are as a
 20· ·village employee.· Correct?
 21· · · · A.· ·Correct.
 22· · · · Q.· ·And as I understand the facts in your complaint
 23· ·that you performed all of the duties of your position as
 24· ·Chief of Police satisfactorily?

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 ·1· · · · A.· ·Absolutely.
 ·2· · · · Q.· ·Were you ever told -- were you ever reprimanded
 ·3· ·at any time?
 ·4· · · · A.· ·Yes.
 ·5· · · · Q.· ·What were you reprimanded for?
 ·6· · · · A.· ·Taking a picture with Joe Roudez in my office.
 ·7· ·Yes.
 ·8· · · · Q.· ·That was a political mailer, I assume?
 ·9· · · · A.· ·That's what he used it for.· Yes.
 10· · · · Q.· ·Were you in uniform?
 11· · · · A.· ·I believe so.
 12· · · · Q.· ·Were you on the clock at the time that the
 13· ·picture was taken?
 14· · · · A.· ·Yes.
 15· · · · Q.· ·How were you notified of what was wrong, and
 16· ·what was the outcome of the reprimand or the proceedings
 17· ·if there was one?
 18· · · · A.· ·I had a conversation with Mr. Linear.
 19· · · · Q.· ·What did you say, and what did he say?
 20· · · · A.· ·He said that they were upset and talking about
 21· ·it and, you know, the election.· It was election
 22· ·conversation and all that.· "Don't do it again."
 23· · · · · · ·That was pretty much it.· I didn't really have
 24· ·an answer for him.

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 ·1· · · · Q.· ·Who is "they"?
 ·2· · · · A.· ·The mayor, Payton, Larry Brown.· Basically the
 ·3· ·mayor's part of the board.
 ·4· · · · Q.· ·Mayor's faction, if you will.
 ·5· · · · A.· ·Yes.
 ·6· · · · Q.· ·As I understand it from Linear's testimony,
 ·7· ·there's essentially kind of a 3/3 split along those lines
 ·8· ·usually?
 ·9· · · · A.· ·Right.
 10· · · · Q.· ·Do you know, for lack of a better term, who is
 11· ·in your faction?· I'm assuming Joseph Roudez.
 12· · · · A.· ·Well, I don't know who was in my faction.                       I
 13· ·can tell you who liked me, who didn't like me to cut
 14· ·straight through to the chase.
 15· · · · Q.· ·Yes.· Maybe that's a better way.
 16· · · · A.· ·Joe Roudez, Keith Griffin, Oscar Brown.· And
 17· ·the mayor was not a fan of mine.· Larry Brown was not.
 18· ·Payton was not.· I just keep saying Payton because I
 19· ·forget his first name.· I'm not trying to --
 20· · · · Q.· ·That's fine.
 21· · · · A.· ·Oh, I forgot another person that didn't have a
 22· ·problem with me either.· Her name was Liz.· She was on
 23· ·the Board.· I forget her last name.· But Payton, Larry
 24· ·Brown, the Mayor.· I can't remember.· I know there was

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 ·1· ·somebody else, but I can't remember who it was.
 ·2· · · · Q.· ·I think as I understand -- and correct me if
 ·3· ·I'm wrong -- one of the trustees was kind of a back and
 ·4· ·forth with the mayor -- with factions on some issues and
 ·5· ·with factions on the other issues.
 ·6· · · · A.· ·They all kind of do that depending on who can
 ·7· ·get what from who at any given time.
 ·8· · · · Q.· ·Is it fair to admit that the letter that Mayor
 ·9· ·Covington sent to you on May 29th listed the reasons for
 10· ·your removal and discharge, whether or not you agree with
 11· ·them?
 12· · · · A.· ·No.
 13· · · · Q.· ·Okay.· You did receive a letter from her.
 14· ·Correct?
 15· · · · A.· ·Uh-huh.
 16· · · · Q.· ·And it had some citations in it, and it said
 17· ·this is what her decision is or this is what the
 18· ·village's decision is; and you're being terminated?
 19· · · · A.· ·You talking about the 1892 quote or the law or
 20· ·whatever?
 21· · · · Q.· ·Sure.
 22· · · · A.· ·I don't know what that law is in the case, so I
 23· ·couldn't comment on that.
 24· · · · Q.· ·No, I understand that; but in that letter you

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 ·1· ·may not have understood it, but it did list the village's
 ·2· ·reasons for terminating you.· You would agree with that.
 ·3· ·Fair?
 ·4· · · · A.· ·It said that my contract was void.
 ·5· · · · Q.· ·Sure.
 ·6· · · · A.· ·Do I agree with that?· No.
 ·7· · · · Q.· ·No, I'm just saying that the letter did say
 ·8· ·that to you.· Correct?
 ·9· · · · A.· ·Yes, yes.
 10· · · · Q.· ·It said the reasons for removal that the
 11· ·village was taking when they sent it to you?
 12· · · · A.· ·Okay, yes.
 13· · · · Q.· ·Correct?
 14· · · · A.· ·Yes.
 15· · · · Q.· ·But obviously as we're here now, you don't
 16· ·agree with those positions.· Fair?
 17· · · · A.· ·Right.
 18· · · · Q.· ·But you don't deny that you received that
 19· ·notice by Mayor Covington?
 20· · · · A.· ·Yes.· I mean, I don't deny that.
 21· · · · Q.· ·You did receive it.
 22· · · · A.· ·Yes, I did receive it.
 23· · · · Q.· ·Thank you.· What is your understanding in terms
 24· ·of how you were procedurally terminated?

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 ·1· · · · A.· ·Of how --
 ·2· · · · Q.· ·Not the letter.
 ·3· · · · A.· ·Of how I was terminated?
 ·4· · · · Q.· ·Yeah, obviously your first notice as you've
 ·5· ·alleged is that you got the letter telling you that you
 ·6· ·were terminated?
 ·7· · · · A.· ·Uh-huh.
 ·8· · · · Q.· ·Had you been sent home before?· Had you been
 ·9· ·placed on administrative duty?· What were the steps?
 10· · · · A.· ·No.
 11· · · · Q.· ·So you came into -- was there --
 12· · · · A.· ·I was at home, and two officers came by and
 13· ·brought me the letter.
 14· · · · Q.· ·And what did the officers say?· Were they just
 15· ·kind of process serving you for lack of a better term?
 16· · · · A.· ·No, it wasn't that type of atmosphere at all.
 17· ·It was, "Hey, we don't want to do this, but we got to do
 18· ·this."· "The mayor."· "The mayor."· "The mayor."
 19· · · · · · ·They told me a little bit about what happened
 20· ·to Linear, that you know she had been over there and
 21· ·telling them to get him out of his office, blah, blah,
 22· ·blah blah and all this right now.· And you know, he
 23· ·handed me the letter.· I read it.· "Hey, you guys are
 24· ·just doing your job."

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 ·1· · · · Q.· ·Okay.
 ·2· · · · A.· ·And kind of, that was it.
 ·3· · · · Q.· ·Okay.
 ·4· · · · A.· ·Yeah.
 ·5· · · · Q.· ·Did you call anyone at the village?
 ·6· · · · A.· ·No.
 ·7· · · · Q.· ·I assume at that point you went out and talked
 ·8· ·to legal counsel?
 ·9· · · · A.· ·Uh-huh.
 10· · · · Q.· ·I don't want to know what you said.· I'm just
 11· ·trying to figure out between the time you found out you
 12· ·were terminated and when you filed your lawsuit in
 13· ·September, did you have any other conversations with
 14· ·village officials about your termination?
 15· · · · A.· ·Yeah.· You know, like I said I live in the
 16· ·village.· And you know, I live on the same block as, you
 17· ·know, right there some of the officials, the trustees and
 18· ·whatever.· And we run into each other sometimes five
 19· ·times a week, sometimes no time during the week.· But
 20· ·they be like, "Wow."· We talked about it.· Yeah.
 21· · · · Q.· ·Who is the person you've had the most
 22· ·conversations with?
 23· · · · A.· ·Probably Keith Griffin and Joe Roudez.
 24· · · · Q.· ·And what were those -- With Trustee Griffin,

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 ·1· ·what were your conversations about?
 ·2· · · · A.· ·You know, several times they've asked me to
 ·3· ·come back as Village Chief.· They told me, you know, that
 ·4· ·the department has gone in a very negative spin.· They've
 ·5· ·asked me to drop the lawsuit and come back as chief.· And
 ·6· ·sometimes they just ask me, you know, "When you coming
 ·7· ·back?"· You know, "This is messed up."
 ·8· · · · · · ·I live in the village, so you know we talk
 ·9· ·about rumors and some stuff that's not rumors.· You know,
 10· ·I'm a taxpayer and everything so I'll ask some questions,
 11· ·too.
 12· · · · Q.· ·Okay.· What else did you discuss with Griffin
 13· ·about the actions taken against you and your lawsuit
 14· ·other than what you've said?
 15· · · · A.· ·That's pretty much it.
 16· · · · Q.· ·Did he tell you what the vote was?· Did he tell
 17· ·you what happened?· Anything along those lines?
 18· · · · A.· ·No.· No.· I pretty much knew what the vote was,
 19· ·and I mean I knew what was going to happen and
 20· ·everything.· That's no secret.
 21· · · · Q.· ·Did you know or was it your assumption that
 22· ·after Linear was terminated that you were going to be
 23· ·terminated?· Or how did you know this was coming?
 24· · · · A.· ·I assumed it.

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 ·1· · · · Q.· ·Why did you assume it?
 ·2· · · · A.· ·Because the mayor never wanted me there as the
 ·3· ·chief.· And when she gained control of the Board, she
 ·4· ·said in the board meeting, "I'm in charge now.· We're
 ·5· ·going to kick some butt."
 ·6· · · · Q.· ·When was this?
 ·7· · · · A.· ·In a board meeting.· I don't know the exact
 ·8· ·date.
 ·9· · · · Q.· ·In 2013, 2014, 2015?
 10· · · · A.· ·Some time soon after the election that we
 11· ·talked about earlier.
 12· · · · Q.· ·The '15 election?
 13· · · · A.· ·Yeah, when she regained the power of the Board.
 14· · · · Q.· ·Okay.· Did you hear her say these words?
 15· · · · A.· ·She said it at a meeting that was being taped.
 16· · · · Q.· ·And I understand that.· And a lot of these
 17· ·questions, they may be technical ones.
 18· · · · A.· ·Yeah, I understand that.· I'm sitting right
 19· ·there.
 20· · · · Q.· ·Did you have --
 21· · · · A.· ·Yeah, I'm --
 22· · · · Q.· ·Were you listening?· Were you listening?
 23· · · · A.· ·Yeah.· I'm at the meeting.· I have to be at the
 24· ·meetings.· I'm sorry.

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 ·1· · · · · · ·We were at a board meeting.· I'm sitting there
 ·2· ·in my seat.· We all have seats.· And the mayor is
 ·3· ·talking, and she said -- not verbatim or you know -- but
 ·4· ·like I have control of the Board now.· But the part I do
 ·5· ·remember her saying verbatim was, "We're going to kick
 ·6· ·some butt around here."
 ·7· · · · · · ·I knew then that I was going to be one of the
 ·8· ·butts that she was going to kick.
 ·9· · · · Q.· ·And I understand that, but you're assuming that
 10· ·that was meant towards you.
 11· · · · A.· ·Not toward me, toward several people as several
 12· ·people were terminated.
 13· · · · Q.· ·Fair.· Off the record.
 14· · · · · · · · · · ·(Discussion off the record.)
 15· ·BY MR. WALL:
 16· · · · Q.· ·Back on the record.
 17· · · · · · ·But you don't know if she was meaning kicking
 18· ·some butt for the morale of the village if those were her
 19· ·words.· I understand you're taking that leap, but we
 20· ·don't know that's what she meant.· Fair?
 21· · · · A.· ·I know what that meant.
 22· · · · Q.· ·I understand that that's how you've taken it,
 23· ·but she didn't say, we're going to kick some butt and
 24· ·terminate Linear, Bradley and so and so and so.

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 ·1· ·Correct?
 ·2· · · · A.· ·She did not say that.
 ·3· · · · Q.· ·She just said we're going to kick some butt,
 ·4· ·and her implication to that, we don't know.· Fair?
 ·5· · · · A.· ·You don't know.
 ·6· · · · Q.· ·You don't know either.
 ·7· · · · A.· ·That's a matter of opinion.· I'm not going to
 ·8· ·change that.
 ·9· · · · Q.· ·Okay.· And I guess just so we're agreeing,
 10· ·we're both assuming -- I'm assuming that's a good
 11· ·statement; you're assuming a bad one.· Neither one of us
 12· ·knows.· Fair?
 13· · · · A.· ·I knew.
 14· · · · Q.· ·But nothing that was said that day objectively
 15· ·confirmed that belief of yours.· Fair?
 16· · · · A.· ·I think my termination confirmed it.
 17· · · · Q.· ·I'm not trying to ask --
 18· · · · A.· ·No, I'm good.
 19· · · · Q.· ·I'm just saying if her words were "kick some
 20· ·butt", that's all she said.· Correct?
 21· · · · A.· ·That's what she said.· Yes.
 22· · · · Q.· ·That's fine.
 23· · · · · · ·Do you know when this meeting occurred?
 24· · · · A.· ·Not exactly.

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 ·1· · · · Q.· ·First part of May?
 ·2· · · · A.· ·It could have been.· I don't know exactly.· It
 ·3· ·was not long after the election.
 ·4· · · · Q.· ·Was she against -- was the mayor against your
 ·5· ·employment contract in 2013, too?
 ·6· · · · A.· ·Yes.
 ·7· · · · Q.· ·How do you know that?
 ·8· · · · A.· ·She voted against it.
 ·9· · · · Q.· ·As did Trustees Payton and Brown?
 10· · · · A.· ·Yes, sir.
 11· · · · Q.· ·Did you participate in Executive Session?
 12· · · · A.· ·One I believe I did.· One or two.
 13· · · · Q.· ·Prior to this incident?
 14· · · · A.· ·Yes, sir.
 15· · · · Q.· ·So when the village would go into Executive
 16· ·Session, you weren't there?
 17· · · · A.· ·Not unless they asked me to be there.
 18· · · · Q.· ·And you haven't been involved in any Executive
 19· ·Session meetings in 2015?· Is that fair?
 20· · · · A.· ·Yes.
 21· · · · Q.· ·And it's your understanding that the mayor then
 22· ·gathered her votes, and they voted to terminate you?
 23· · · · A.· ·Yes.
 24· · · · Q.· ·Have you been told that?

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 ·1· · · · A.· ·I assumed that because it happened.
 ·2· · · · Q.· ·Okay.· Did Trustee --
 ·3· · · · A.· ·Told me this person or that person or this is
 ·4· ·what happened or exactly what happened at the meeting?
 ·5· ·No.
 ·6· · · · Q.· ·Did Trustee Griffin or Trustee Roudez in any
 ·7· ·way imply to you that the vote was 4/3, or it was 5/1, or
 ·8· ·it was 4/2, or anything along those lines?
 ·9· · · · A.· ·No.
 10· · · · Q.· ·Did either of those guys say I'm here to defend
 11· ·you, or I tried to defend you?· Or what did they say
 12· ·about them not being on board with your termination in
 13· ·your conversations with them?
 14· · · · A.· ·I don't know if they were there.· I mean, I
 15· ·don't even know.
 16· · · · Q.· ·Is it your understanding that you were
 17· ·terminated at the same time Linear was?
 18· · · · A.· ·That's my understanding.
 19· · · · Q.· ·Again, in Paragraph 22 of your Facts Common to
 20· ·All Claims, you state:· "Though required by law in his
 21· ·contract, Plaintiff has never received any required
 22· ·notifications or statements of reasons for dismissal or
 23· ·termination."
 24· · · · · · ·We agreed earlier that you did; you just don't

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 ·1· ·agree with them.· Fair?
 ·2· · · · MR. KELEHER:· I'm going to object.· Calls for legal
 ·3· ·conclusion.
 ·4· ·BY MR. WALL:
 ·5· · · · Q.· ·It's in your Facts Common section.· Fair?
 ·6· · · · A.· ·I don't even understand -- whatever I said
 ·7· ·before.· What I said before when we were going through
 ·8· ·that.
 ·9· · · · Q.· ·Yeah.· For sure.· You got that letter that
 10· ·listed the statements of reasons why the village was
 11· ·doing it.· Correct?
 12· · · · A.· ·Why they were doing it.
 13· · · · Q.· ·Why they were terminating you.
 14· · · · A.· ·Yeah, 1892 law.
 15· · · · Q.· ·You don't agree with that?
 16· · · · A.· ·No.
 17· · · · Q.· ·But you received that notice?
 18· · · · A.· ·Uh-huh.· Whatever 18 -- whatever that was.
 19· ·1892 or not.· But --
 20· · · · Q.· ·Following your termination, did you seek any
 21· ·relief in State Court through a fire commission, police
 22· ·commission, anything along those lines?
 23· · · · A.· ·As far as any relief I tried to get from the
 24· ·state was my unemployment, which they denied.· The

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 ·1· ·village denied it.
 ·2· · · · Q.· ·Do you know why they denied it?
 ·3· · · · A.· ·I saw on one of the articles that they gave me
 ·4· ·was that my work was unsatisfactory.
 ·5· · · · Q.· ·Did you produce that document?· I looked at
 ·6· ·these this morning.· I didn't think I saw that.· It could
 ·7· ·be.· There's 300 pages.· It could be.
 ·8· · · · A.· ·There was something from the IDES.
 ·9· · · · MR. KELEHER:· I don't know the answer.· I'll check
 10· ·with John on that.· I haven't seen it.
 11· ·BY MR. WALL:
 12· · · · Q.· ·Hold on a second.
 13· · · · · · ·Is there a board of police commissioners or
 14· ·something within the state of Illinois where police
 15· ·chiefs or other police officers can go to appeal
 16· ·decisions that have been made or anything along those
 17· ·lines?
 18· · · · A.· ·I'm not sure.
 19· · · · Q.· ·You understand my question; you're just not
 20· ·sure if it exists?
 21· · · · A.· ·Right.· There was a police and fire commission
 22· ·in place in University Park that --
 23· · · · Q.· ·Did you seek any relief through that commission
 24· ·prior to filing the lawsuit?

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 ·1· · · · A.· ·No.
 ·2· · · · Q.· ·Why not?
 ·3· · · · A.· ·Because I had had conversations with trustees
 ·4· ·and Mr. Linear, several conversations, advising them that
 ·5· ·the board was corrupt and certain people on that board
 ·6· ·shouldn't be on that board.· And it was dysfunctional.
 ·7· · · · Q.· ·They weren't corruptly elected; they just acted
 ·8· ·corruptly when they were in there.· Or no?
 ·9· · · · A.· ·They were appointed, I believe.· They weren't
 10· ·elected.
 11· · · · Q.· ·So the appointments were proper, but you didn't
 12· ·care for the people because you didn't think they were
 13· ·operating with the right reasons.
 14· · · · A.· ·I know they weren't.
 15· · · · Q.· ·How do you know that?
 16· · · · A.· ·From having conversations with them.
 17· · · · Q.· ·Such as?
 18· · · · A.· ·The guy who was the chairman, I forget his
 19· ·name.· He had a conversation in my office, and his father
 20· ·or stepfather or something like that -- some kind of
 21· ·father to him -- had been arrested for murder in
 22· ·University Park.
 23· · · · · · ·A man had his dog; the dog stepped on his lawn,
 24· ·and he killed him.· And they appointed him as the

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 ·1· ·Chairman of the Fire and Police Commission.
 ·2· · · · · · ·I explained to them that he should not be the
 ·3· ·Chairman of the Fire and Police Commission because he
 ·4· ·held a lot of grudges and bitterness because of that
 ·5· ·arrest which he told me out of his mouth sitting in my
 ·6· ·office.· I remember every one of them.· I remember who
 ·7· ·did what.· I remember who came to the house and who
 ·8· ·arrested him.· Who helped me and who didn't.· And I told
 ·9· ·him, this guy should not be the chairman of the board.
 10· ·So different conversations like that.
 11· · · · Q.· ·So you didn't grieve it through the Police
 12· ·Board because you didn't have any faith in the Police
 13· ·Board.· Fair?
 14· · · · A.· ·Okay.· Yes.
 15· · · · Q.· ·Okay.· I'm looking at Count 1 of your complaint
 16· ·which alleges essentially a 42 USC 1983 allegation.
 17· ·Correct?
 18· · · · A.· ·I don't know what all it was that you just
 19· ·said.
 20· · · · Q.· ·Okay.· You're familiar with the Civil Rights
 21· ·Act --
 22· · · · A.· ·Okay.
 23· · · · Q.· ·-- as a police officer?
 24· · · · A.· ·Uh-huh.

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 ·1· · · · Q.· ·And as a defendant in Will County, you are
 ·2· ·aware that there's a Statute which protects people's
 ·3· ·civil rights?
 ·4· · · · A.· ·Uh-huh.
 ·5· · · · Q.· ·Correct?
 ·6· · · · A.· ·Yes.
 ·7· · · · Q.· ·And your argument here is that you did not
 ·8· ·receive a pre-termination hearing at first.· Correct?
 ·9· · · · A.· ·Never.
 10· · · · Q.· ·As I understand it, your essential argument is
 11· ·that the village has the right to do this, but you
 12· ·should have a hearing afterwards to ensure that your due
 13· ·process rights are followed.· Is that fair?
 14· · · · MR. KELEHER:· Well, I'm going to object to the legal
 15· ·conclusion.
 16· ·BY MR. WALL:
 17· · · · Q.· ·Right?· I mean, the village Board can make a
 18· ·decision.· Correct?
 19· · · · A.· ·Yes.
 20· · · · Q.· ·Your allegation here is that you should have
 21· ·been given a name-clearing hearing and an opportunity
 22· ·after the fact to appeal it if you will.· Correct?
 23· · · · MR. KELEHER:· Same objection.· If you understand the
 24· ·question --

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 ·1· · · · THE WITNESS:· I think I should have been given a
 ·2· ·hearing before and after.
 ·3· ·BY MR. WALL:
 ·4· · · · Q.· ·Why do you think you're entitled to a
 ·5· ·pre-termination hearing?
 ·6· · · · A.· ·Because that's how I operate.· I would -- if I
 ·7· ·was going to discipline someone, I would give them a
 ·8· ·pre-disciplinary hearing and let them explain, you know,
 ·9· ·why they took the actions that they took or, you know,
 10· ·explain themselves.
 11· · · · Q.· ·And the post was because you believe you're
 12· ·entitled to a name-clearing hearing afterwards
 13· ·effectively.· Right?
 14· · · · A.· ·Yes.
 15· · · · Q.· ·And you would agree as you stated earlier that
 16· ·as a police officer and as an employee of the
 17· ·municipality, you are bound by federal law and Illinois
 18· ·law.· Fair?
 19· · · · A.· ·Yes.
 20· · · · Q.· ·And those specific -- the case law, anything
 21· ·along those lines will direct how and whether or not
 22· ·actions were proper.· Fair?
 23· · · · A.· ·Yes.
 24· · · · Q.· ·So, if federal or state law does not provide

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 ·1· ·you a federal civil rights action, you'd have no reason
 ·2· ·to dispute that.· Fair?
 ·3· · · · A.· ·Yes.
 ·4· · · · · · · · · · ·(Recess in the proceedings.)
 ·5· ·BY MR. WALL:
 ·6· · · · Q.· ·In your Prayer For Relief under your federal
 ·7· ·civil rights claim, you claim that all wages and benefits
 ·8· ·plaintiff would have received but for the due process
 ·9· ·violations.· Fair?
 10· · · · A.· ·Yes.
 11· · · · Q.· ·So as I understand it, there's two paths here.
 12· ·You're either terminated without cause, and you're
 13· ·entitled to the four months.· Fair?· If it was done
 14· ·properly.· Fair?
 15· · · · A.· ·Yes.
 16· · · · Q.· ·If it wasn't, you're entitled to run through
 17· ·the contract which would be about a year and a half's
 18· ·worth of wages.· Fair?
 19· · · · A.· ·Yeah, I'm entitled to that.
 20· · · · Q.· ·Yeah.· Either way, that contractual number is
 21· ·spelled out.
 22· · · · A.· ·Uh-huh.· Yes.
 23· · · · Q.· ·It's either the four months?
 24· · · · A.· ·Yes.

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 ·1· · · · Q.· ·Strike that.
 ·2· · · · · · ·Either the village can do what they did.· If
 ·3· ·they terminate you with cause it's for four months -- or
 ·4· ·without cause, it's four months.· Correct?
 ·5· · · · A.· ·Yes.
 ·6· · · · Q.· ·And then if not, the contract would run from
 ·7· ·May 29, '15 to December 31st, '16.
 ·8· · · · A.· ·Yes.
 ·9· · · · Q.· ·And that's it?
 10· · · · A.· ·Yes.
 11· · · · Q.· ·You would agree that on January 1st, 2017 the
 12· ·village would have no further liability to you.· Fair?
 13· · · · A.· ·No.
 14· · · · Q.· ·Your contract would be over?
 15· · · · A.· ·Yes, but because of what they did I think they
 16· ·hurt my employability.· So I'm not going to agree to
 17· ·that.
 18· · · · Q.· ·And we're going to get to that later.· But
 19· ·technically, all wages and benefits is that contractual
 20· ·number that's in your employment contract.
 21· · · · A.· ·Yes.
 22· · · · Q.· ·Correct?
 23· · · · A.· ·Yes.
 24· · · · Q.· ·You may have other allegations, but --

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 ·1· · · · A.· ·Uh-huh.
 ·2· · · · Q.· ·Yes?
 ·3· · · · A.· ·Yes.
 ·4· · · · Q.· ·But as far as wages and benefits, that's a
 ·5· ·defined number?
 ·6· · · · A.· ·Yes.
 ·7· · · · Q.· ·And the back pay would be that number through
 ·8· ·the end of the contract if that's what this case ends up
 ·9· ·deciding, if you will.· Fair?
 10· · · · A.· ·Yes.
 11· · · · Q.· ·Front pay.· I don't know what that means.· What
 12· ·do you mean by front pay?
 13· · · · · · ·You can talk to your attorney if you want.                       I
 14· ·don't know what front pay is.
 15· · · · MR. KELEHER:· You know, I honestly didn't draft
 16· ·this.· John drafted this.
 17· · · · THE WITNESS:· I don't know if that's attorney fees
 18· ·or -- because I don't know what those are.
 19· · · · MR. KELEHER:· I'm not sure what John was referencing
 20· ·to be honest.
 21· ·BY MR. WALL:
 22· · · · Q.· ·In terms of your Count 1, that's a defined
 23· ·number.· Any other damages for defamation, false light,
 24· ·all of those other claims, that's separate.· Would you

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 ·1· ·agree with that?
 ·2· · · · A.· ·No.
 ·3· · · · Q.· ·Did you ever receive front pay from the
 ·4· ·village?· I mean, you get paid every two weeks when you
 ·5· ·were an employee.· Right?
 ·6· · · · A.· ·I don't know what that is either.
 ·7· · · · Q.· ·Okay.· And you want reinstatement to your
 ·8· ·position?
 ·9· · · · A.· ·No.
 10· · · · Q.· ·You're done with the village in terms of
 11· ·elected office there?
 12· · · · A.· ·I wouldn't say that.· I might run for president
 13· ·one day.
 14· · · · Q.· ·You could run for mayor of University Park.
 15· · · · A.· ·Yeah.
 16· · · · Q.· ·Off the record.
 17· · · · · · · · · · ·(Discussion off the record.)
 18· ·BY MR. WALL:
 19· · · · Q.· ·Back on the record.
 20· · · · · · ·It says:· "Compensatory damages in an amount to
 21· ·be determined at trial to compensate plaintiff for the
 22· ·humiliation, anguish, and emotional distress."· What
 23· ·humiliation did you suffer?
 24· · · · A.· ·Various.· My children live in that village.· My

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 ·1· ·grandchildren live in that village.· Every day I can't go
 ·2· ·to the gas station or the dollar store or running into
 ·3· ·people.· They want to talk about it.· You know, it's when
 ·4· ·you don't have a reason to tell them, you know, why this
 ·5· ·happened or why that happened.
 ·6· · · · · · ·I mean, all the police chiefs that I know in
 ·7· ·various villages around the south suburbs, communities in
 ·8· ·Chicago, you know, did he get fired because he's a
 ·9· ·criminal or he did something wrong?· I mean, I did things
 10· ·for the village I didn't even have to do and went far
 11· ·beyond just my job.· I took needy families out for
 12· ·Christmas and spent $2,000 both of the Christmases I was
 13· ·there on their kids out of my pocket.· I got the village
 14· ·vehicles -- over $100,000 worth of vehicles -- without
 15· ·one penny of cost to the village.· One was an armored
 16· ·humvee, and the other one was a humvee also.
 17· · · · · · ·But you know, all the things that I did, it's
 18· ·humiliating the way that I was terminated, the reasons
 19· ·that I was terminated, all of that.· It's humiliating.
 20· · · · Q.· ·I understand.· And please don't -- we each have
 21· ·a job to do.· What I'm trying to figure out is you state
 22· ·"for humiliation caused by the defendant's conduct".
 23· · · · A.· ·Right.
 24· · · · Q.· ·So their conduct was simply the termination.

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 ·1· ·Fair?
 ·2· · · · A.· ·No, it wasn't simply the termination.· It's
 ·3· ·what they did to me.
 ·4· · · · Q.· ·I understand that.· You felt humiliated by the
 ·5· ·actions that the Village took.· Fair?
 ·6· · · · A.· ·Yes.
 ·7· · · · Q.· ·And their actions that they took were to
 ·8· ·terminate you.
 ·9· · · · A.· ·Yes.
 10· · · · Q.· ·Correct?
 11· · · · A.· ·Yes.
 12· · · · Q.· ·Okay.· They didn't write anywhere on a
 13· ·billboard in University Park that you're a thief and a
 14· ·cheat.· Right?
 15· · · · A.· ·No, I don't think that's right.
 16· · · · Q.· ·They did.· Okay.
 17· · · · · · ·What I'm trying to figure out is, I understand
 18· ·you're upset by your termination.
 19· · · · A.· ·Uh-huh.
 20· · · · Q.· ·And you allege that the defendant's conduct did
 21· ·it?
 22· · · · A.· ·Uh-huh.
 23· · · · Q.· ·And that would be -- well, you sued Mayor
 24· ·Covington and the Village of University Park?

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 ·1· · · · A.· ·Uh-huh.
 ·2· · · · Q.· ·What did they do that caused you humiliation
 ·3· ·other than to send you that letter?
 ·4· · · · A.· ·The way they terminated me, again it leaves an
 ·5· ·open -- you know, it leaves everybody to assume and
 ·6· ·guess and rumors to run amok why I was terminated.
 ·7· · · · Q.· ·But you never had a conversation with someone
 ·8· ·from the Village of University Park or Mayor Covington
 ·9· ·other than that letter.· Correct?
 10· · · · A.· ·In reference to what?
 11· · · · Q.· ·Okay.· As I understand your document response,
 12· ·your allegations regarding defamation and those like, is
 13· ·that the one that the Village sent you?· The May 29th
 14· ·letter, correct?
 15· · · · A.· ·Yes.
 16· · · · Q.· ·And that secondly, they published that there
 17· ·was a new police chief in the newsletter.· Correct?
 18· · · · A.· ·Yes.· Yes.
 19· · · · Q.· ·Other than that, you never received any other
 20· ·publication that had any other statements about you in
 21· ·it.· Fair?
 22· · · · A.· ·No.· The "City News" in Kankakee, they wrote
 23· ·some articles.
 24· · · · Q.· ·In --

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 ·1· · · · A.· ·Kankakee, Illinois.
 ·2· · · · Q.· ·Do you have those articles?
 ·3· · · · A.· ·No.
 ·4· · · · Q.· ·Okay.· What did they write?
 ·5· · · · A.· ·About the corruption in University Park, the
 ·6· ·gross mismanagement.· It referred to me in the article.
 ·7· ·I forget exactly how, but it referred to me in the
 ·8· ·article also.· They wrote several -- several articles in
 ·9· ·that paper.
 10· · · · Q.· ·Who was quoted from the village in those
 11· ·articles?
 12· · · · A.· ·There was one guy who used to be a trustee that
 13· ·was quoted.· And I don't remember all the people that
 14· ·were quoted.
 15· · · · Q.· ·Was Mayor Covington quoted?
 16· · · · A.· ·She was in there.· She was mentioned.· I don't
 17· ·remember if she was quoted or not.
 18· · · · Q.· ·Hold on one second.· Kankakee News?
 19· · · · A.· ·"Kankakee City News".
 20· · · · Q.· ·Okay.
 21· · · · A.· ·That's the name of it.
 22· · · · · · · · · · ·(Recess in the proceedings.)
 23· · · · THE WITNESS:· It may be just the "City News", but I
 24· ·know it's printed in Kankakee.

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 ·1· ·BY MR. WALL:
 ·2· · · · Q.· ·We'll see what he finds.· He's going to look it
 ·3· ·up.
 ·4· · · · · · ·Other than that, those quotes in the newspaper,
 ·5· ·nothing else that the village or Mayor Covington did was
 ·6· ·published anywhere.· Fair?
 ·7· · · · A.· ·It was announced at the Village Board meeting.
 ·8· · · · Q.· ·That you had been terminated?
 ·9· · · · A.· ·I wasn't there.· This is the new chief, blah,
 10· ·blah, blah.· I mean, if he's the new chief --
 11· · · · Q.· ·And I understand that.· And I'm not trying to
 12· ·be difficult here, but you've made a claim of defamation.
 13· · · · A.· ·Right.
 14· · · · Q.· ·And what I'm trying to figure out is what were
 15· ·the documents that were published other than the
 16· ·newsletter and the letter terminating you?
 17· · · · A.· ·You talking about the village newsletter when
 18· ·you say "the newsletter"?
 19· · · · Q.· ·Right.· Your answers to discovery --
 20· · · · A.· ·Right.· Was the village Newsletter.
 21· · · · Q.· ·Yeah.
 22· · · · A.· ·It goes in everybody's mailbox, every mailbox
 23· ·in the village.
 24· · · · Q.· ·Sure.

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 ·1· · · · A.· ·The "City News" from Kankakee, I believe it was
 ·2· ·mentioned in there a few times.· It was announced at the
 ·3· ·Village Board meeting.· Exactly what words were said or
 ·4· ·whatever, I don't know.
 ·5· · · · Q.· ·Who has knowledge of that?
 ·6· · · · A.· ·The people that were at the board meeting.
 ·7· · · · Q.· ·Okay.
 ·8· · · · A.· ·The board and the citizens or -- it's an open
 ·9· ·meeting.
 10· · · · Q.· ·I understand that, but it's not your
 11· ·understanding from these people that these statements,
 12· ·that they said Chief Bradley is a crook and a thief.
 13· ·Here's John Pate.· They just said here's John Pate.
 14· ·Correct?
 15· · · · A.· ·I don't know.· I wasn't there.
 16· · · · Q.· ·But in your several conversations of having
 17· ·lived in the Village of University Park for 16 years, are
 18· ·you aware of any public statement to that effect that
 19· ·anyone has ever told you?
 20· · · · A.· ·No.
 21· · · · Q.· ·Okay.· It's fair to say if somebody had
 22· ·stepped up on the day to the lectern and said you're a
 23· ·thief and a cheat, that would have made its way back to
 24· ·you.· Fair?

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 ·1· · · · A.· ·At certain board meetings, certain issues would
 ·2· ·come up.· Some of the issues that are documented there,
 ·3· ·and Payton for instance, a trustee, would say, "You know,
 ·4· ·why are you doing this?· Something smells here.
 ·5· ·Something is wrong with this.· Something stinks.
 ·6· ·Something smells.· Why are you doing this?"
 ·7· · · · Q.· ·And that was during a board meeting?
 ·8· · · · A.· ·Yes.
 ·9· · · · Q.· ·While they were acting as a legislative body?
 10· · · · A.· ·Yes.
 11· · · · Q.· ·And they were asking you questions as Chief of
 12· ·Police?· Or they were talking to you in your position as
 13· ·Chief of Police?
 14· · · · A.· ·Yes.
 15· · · · Q.· ·We'll come back to that question.
 16· · · · · · ·So as to Count 2, breach of contract, failure
 17· ·to give notice and provide an opportunity to be heard,
 18· ·your contract doesn't require a hearing if they terminate
 19· ·you with four months severance.· Correct?
 20· · · · A.· ·For cause or without?
 21· · · · Q.· ·Without cause.· Sorry if I said that wrong.
 22· · · · · · ·They can fire you without cause and just give
 23· ·you the four months, and they're not required to give you
 24· ·a hearing.· They can just say here's your check for four

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 ·1· ·months.
 ·2· · · · A.· ·Yes.
 ·3· · · · Q.· ·If they're going to do with cause, according to
 ·4· ·your employment contract that's when you ask for the pre-
 ·5· ·and post-termination.· Correct?
 ·6· · · · A.· ·Yes.
 ·7· · · · Q.· ·And you believe there's nothing in your file
 ·8· ·and you've seen nothing that would allow for a for cause
 ·9· ·discharge?
 10· · · · A.· ·Yes.
 11· · · · Q.· ·Other than your verbal reprimand from Village
 12· ·Manager Linear?
 13· · · · A.· ·Yes.
 14· · · · Q.· ·Were sexual harassment charges leveled against
 15· ·you in 2013?
 16· · · · A.· ·2013?
 17· · · · Q.· ·Yeah.
 18· · · · A.· ·While I worked for the Village of University
 19· ·Park?
 20· · · · Q.· ·Yeah.
 21· · · · A.· ·No.
 22· · · · Q.· ·At any time?
 23· · · · A.· ·No.
 24· · · · Q.· ·At any time.

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 ·1· · · · A.· ·No.
 ·2· · · · Q.· ·Defamation.· Do you know what defamation is?
 ·3· · · · A.· ·Yeah.
 ·4· · · · Q.· ·What's your definition of it?
 ·5· · · · A.· ·Somebody took a poop on your character.
 ·6· · · · Q.· ·And you allege that they took a poop on your
 ·7· ·character.· Fair?
 ·8· · · · A.· ·Yes.· Yes.
 ·9· · · · Q.· ·What did Mayor Covington do to take a poop on
 10· ·your character other than send you the termination
 11· ·letter?
 12· · · · A.· ·There was no reason or rhyme why she did it,
 13· ·which left it open to -- in my opinion; you're asking for
 14· ·my opinion -- the world to wonder and assume why a police
 15· ·chief, you know, would be fired.
 16· · · · · · ·Usually if that's done -- the deputy chief in
 17· ·Chicago just resigned yesterday, and the reasons were
 18· ·given because of the Laquan McDonald -- he signed off on
 19· ·all the reports.· There's a reason given.
 20· · · · · · ·In my case there was no rhyme or reason given,
 21· ·again leaving me open to speculation that I committed
 22· ·some crime or did something wrong or something like that.
 23· ·Usually people don't get fired for doing a good job.
 24· · · · Q.· ·But you don't have any evidence that Mayor

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 ·1· ·Covington at any time said that.· Fair?
 ·2· · · · A.· ·Said what?
 ·3· · · · Q.· ·That you committed a crime or that you -- what
 ·4· ·I'm trying to figure out is defamation requires specific
 ·5· ·examples of taking a poop on your character that are not
 ·6· ·true.· And as I understand your testimony, all the
 ·7· ·interaction you had with Mayor Covington was that she
 ·8· ·sent you that letter which you don't agree with.· Fair?
 ·9· · · · A.· ·No, I don't agree with the letter.
 10· · · · Q.· ·But that you got the letter?
 11· · · · A.· ·I got the letter, yes.
 12· · · · Q.· ·And it says in there this is why the village
 13· ·and Mayor Covington are taking these steps.· Fair?
 14· · · · A.· ·Yes.
 15· · · · Q.· ·And nothing in that statement -- nothing in
 16· ·that letter is false.· It's just the village's position.
 17· ·Fair?
 18· · · · A.· ·Yes.
 19· · · · Q.· ·The newsletter, nothing in the newsletter is
 20· ·false regarding having a new police chief.· Again, you
 21· ·just don't think it was done right.· Fair?
 22· · · · A.· ·I don't agree with what you saying.
 23· · · · Q.· ·Why not?
 24· · · · A.· ·Because if you, as an attorney, got fired the

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 ·1· ·whole lawyer family, entity, would be wondering why did
 ·2· ·he get fired.· What did he do?· There was no reason
 ·3· ·given.· People would assume and that would stain your
 ·4· ·character.· That's my belief.· I'm not going to change.
 ·5· · · · Q.· ·So as I understand it, you have no evidence
 ·6· ·other than the letter and the newsletter that you were
 ·7· ·unable to perform your profession.· It's just your
 ·8· ·assumption from what those things said.· Fair?
 ·9· · · · A.· ·I have nothing from the village, no.
 10· · · · Q.· ·Nothing that's actually untrue.· Fair?
 11· · · · MR. KELEHER:· I'm going to object.· It calls for a
 12· ·legal conclusion.· You can answer.
 13· · · · THE WITNESS:· No, nothing in the letter.· I don't
 14· ·know if that law -- like I said, I don't know anything
 15· ·about that.· So, I don't know.· I don't know what to tell
 16· ·you about that.
 17· ·BY MR. WALL:
 18· · · · Q.· ·And I understand that, and this is why your
 19· ·case is different than --
 20· · · · A.· ·Yeah, if the law has been changed or taken out,
 21· ·I don't know.· But you keep referring to that.· I don't
 22· ·know anything about that.
 23· · · · Q.· ·What I'm trying to say is that defamation
 24· ·requires, as you said, to take a poop on your character.

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 ·1· · · · A.· ·Yes.
 ·2· · · · Q.· ·And true statements aren't a poop.
 ·3· · · · A.· ·Uh-huh.
 ·4· · · · Q.· ·How's that?
 ·5· · · · A.· ·I understand what you're saying in that
 ·6· ·respect.
 ·7· · · · Q.· ·Okay.
 ·8· · · · A.· ·But I think there are other ways of taking a
 ·9· ·poop on a person's character without getting on a
 10· ·mountaintop and screaming out something.· A statement.
 11· · · · Q.· ·Fair.· And I can see your point.· So you would
 12· ·agree that neither Mayor Covington nor the village
 13· ·shouted it from the rooftops.· Correct?
 14· · · · A.· ·Yes.
 15· · · · Q.· ·It's just your belief and assumption based upon
 16· ·the actual events that occurred in 2015.
 17· · · · A.· ·Not only based upon those, but like I said,
 18· ·every time I go in the grocery store or drive my car down
 19· ·the street, citizens, people talking to me, you know,
 20· ·statements and things that they say.
 21· · · · Q.· ·But they don't work for the village.
 22· · · · A.· ·They don't work for the village; they are
 23· ·Village employers.· They pay the village bills.
 24· · · · Q.· ·Of course.· I don't dispute that.· But

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 ·1· ·defamation requires a false statement made with a
 ·2· ·reckless disregard.· I'm trying to figure out what false
 ·3· ·statements made with a reckless disregard you have from
 ·4· ·the village and the mayor; and it doesn't sound like you
 ·5· ·do.· Is that a fair statement?
 ·6· · · · A.· ·No, because I think their behavior was reckless
 ·7· ·in that it ruined my employment capacity.
 ·8· · · · Q.· ·But you don't have any specific evidence --
 ·9· · · · A.· ·I don't have a statement.
 10· · · · Q.· ·You've got to let me finish my question.
 11· · · · A.· ·Okay.
 12· · · · Q.· ·You don't have any statements from the village
 13· ·or Mayor Covington.· Correct?
 14· · · · A.· ·Correct.· Yes.
 15· · · · Q.· ·Just your belief that it was reckless to
 16· ·terminate you.
 17· · · · A.· ·Yes.
 18· · · · Q.· ·So, Chris, can I talk for a second?
 19· · · · MR. KELEHER:· Sure.
 20· · · · · · · · · · ·(Recess in the proceedings.)
 21· ·BY MR. WALL:
 22· · · · Q.· ·Back on the record.
 23· · · · · · ·So outside of that article, we can close the
 24· ·loop on all written statements from the village.· Right?

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 ·1· ·Regarding your termination?
 ·2· · · · A.· ·Which article?
 ·3· · · · Q.· ·The "City News" or the Kankakee news that we're
 ·4· ·researching right now.
 ·5· · · · A.· ·Uh-huh.· And the things put in everybody's
 ·6· ·mailboxes.
 ·7· · · · Q.· ·But there was nothing bad about you in there.
 ·8· ·It was just a factual statement that you were no longer
 ·9· ·the police chief, and that John Pate was the new police
 10· ·chief.· Right?
 11· · · · A.· ·Said some things to that nature, yes.
 12· · · · Q.· ·But it was all factually true statements.
 13· · · · A.· ·Yes.
 14· · · · Q.· ·Whether or not you agree with them, I think
 15· ·we've clarified that for the record.
 16· · · · A.· ·Yes.
 17· · · · Q.· ·So your whole defamation claim essentially kind
 18· ·of balances on the assumption and the implied-ness of
 19· ·what they did.· Fair?
 20· · · · A.· ·Yes.
 21· · · · Q.· ·Okay.· How did they damage your reputation
 22· ·throughout the entire United States law enforcement
 23· ·community?· Other than what we've discussed, I guess.
 24· · · · A.· ·I heard from as far as law enforcement officers

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 ·1· ·in Florida when that happened.
 ·2· · · · Q.· ·What did they say to you?
 ·3· · · · · · ·It's a confidential transcript.
 ·4· · · · A.· ·There's a lady in the room.
 ·5· · · · Q.· ·Oh, trust me.· Lynn has heard worse.
 ·6· · · · A.· ·I don't curse either, but they would just --
 ·7· ·you know the, the village is corrupt.· It's always been
 ·8· ·corrupt.· It always will be.· You know, you did too much
 ·9· ·for them.· You shouldn't have been doing that.· They
 10· ·fire.· Sue them.· Do this.· Do that.· I mean, it was --
 11· ·that's really toning it down.
 12· · · · Q.· ·Statements to kind of buck you up, if you will?
 13· · · · A.· ·No.· These guys worked in the area.· They were
 14· ·ex-deputies and officers that have worked around there.
 15· ·They are well-aware of that village.
 16· · · · Q.· ·Okay.· So, as I understand this, and there are
 17· ·two ways that you can construct what the village said.
 18· ·A, innocently; that they've decided to move on and go in
 19· ·another direction.· Or B, you believe the construction
 20· ·is, and the implication and assumption was that you were
 21· ·terminated because you couldn't do your job.· Fair?
 22· · · · A.· ·Those are not the only -- I think that as the
 23· ·record reflects, the mayor didn't want me there as the
 24· ·chief in the first place.· It was her desire that as soon

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 ·1· ·as possible "I'm going to fire you.· You will not be the
 ·2· ·chief."
 ·3· · · · Q.· ·And I understand that.· But she never said
 ·4· ·those words to you other than "kick some butt".· Right?
 ·5· · · · A.· ·Right.· Yes.
 ·6· · · · Q.· ·So, if I was a resident of University Park and
 ·7· ·I got the newsletter, I could just say oh, it looks like
 ·8· ·the village has decided to go in a different direction.
 ·9· ·Fair?
 10· · · · A.· ·No.
 11· · · · Q.· ·I understand.· Mr. Bradley, I understand your
 12· ·reasons for what you're saying.
 13· · · · A.· ·No, I didn't say no because of that.· I said no
 14· ·because the village has been in this mode for so long,
 15· ·all of the citizens there -- you ask a person in the
 16· ·village how they would feel.· No.· And it was all over
 17· ·the village.· It was not like that.· That's how it was.
 18· ·And they all knew from board meetings and from so many
 19· ·crazy statements that the mayor would make in board
 20· ·meetings.
 21· · · · Q.· ·Not about you.· Correct?
 22· · · · A.· ·Yes.· Some of them, yes.
 23· · · · Q.· ·What did --
 24· · · · A.· ·At one meeting she was talking to myself and

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 ·1· ·some of the other males at the board meeting, and she
 ·2· ·told us, "You guys are lower than a snake's nuts" at the
 ·3· ·board meeting.· Again, that's taped.· I mean --
 ·4· · · · Q.· ·That's her opinion.· Fair?
 ·5· · · · A.· ·Well, she said it to me.· You asked.
 ·6· · · · Q.· ·No, I'm --
 ·7· · · · A.· ·I'm just saying.
 ·8· · · · Q.· ·Lower than a snake's nuts.· That's Mayor
 ·9· ·Covington's opinion of you, right or wrong.
 10· · · · A.· ·Yes.
 11· · · · Q.· ·But hypothetically, let's say I moved into the
 12· ·Village of University Park from Valencia, Spain the day
 13· ·before I got that newsletter.· I could read that
 14· ·newsletter and say, "Oh.· It looks like there's a new
 15· ·police chief."· Fair?
 16· · · · A.· ·Yes.
 17· · · · Q.· ·So there could be an innocent construction to
 18· ·those words.· Fair?
 19· · · · A.· ·To the article?
 20· · · · Q.· ·To the statement that there's a new police
 21· ·chief.
 22· · · · A.· ·Yes.
 23· · · · Q.· ·Where do you come up with the $900,000 in
 24· ·punitive damages?· Your complaint asks for $900,000 in

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 ·1· ·punitive damages.· I'm just trying to figure out how you
 ·2· ·arrived at that.
 ·3· · · · A.· ·I think my damages are a lot more than that,
 ·4· ·for the record.
 ·5· · · · Q.· ·Okay.
 ·6· · · · A.· ·And -- the mayor was 500,000 because of her
 ·7· ·reckless conduct and what she did to my integrity, my
 ·8· ·employability, all those things.· Approximately 200,000
 ·9· ·was money that I would have made had I worked, you know,
 10· ·all the way to the end of the contract.
 11· · · · Q.· ·About 150, I think?· Right?
 12· · · · A.· ·Yeah, something like that.· But, also that was
 13· ·vacation pay, holiday pay, things like that that were
 14· ·amassed.
 15· · · · Q.· ·And you got some of the vacation pay, I think?
 16· · · · A.· ·I don't know what that was for, the check they
 17· ·sent me.
 18· · · · Q.· ·You cashed it?
 19· · · · A.· ·$1,700 or something.· Yeah, but I don't know
 20· ·what that was for.
 21· · · · Q.· ·Whatever it was for, it needs to be deducted
 22· ·from whatever you're owed theoretically?
 23· · · · A.· ·Yes.· Yes.
 24· · · · Q.· ·And all the conversations about that from the

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 ·1· ·mayor were at the board meetings?
 ·2· · · · A.· ·Pardon me?
 ·3· · · · Q.· ·All of the actions that the mayor took were in
 ·4· ·her official capacity as mayor.· Correct?
 ·5· · · · A.· ·Yes.
 ·6· · · · Q.· ·You don't have --
 ·7· · · · A.· ·As far as the termination letter and things
 ·8· ·like that?
 ·9· · · · Q.· ·Sure.
 10· · · · A.· ·Yes.
 11· · · · Q.· ·It's all in her official capacity as mayor of
 12· ·University Park.
 13· · · · MR. KELEHER:· I'm going to object.· It calls for a
 14· ·legal conclusion, but you can answer if you know.
 15· · · · THE WITNESS:· Yes.
 16· ·BY MR. WALL:
 17· · · · Q.· ·All of your interaction with her was while she
 18· ·was mayor.· Correct?
 19· · · · A.· ·No.
 20· · · · Q.· ·Other than social interactions.
 21· · · · A.· ·Yes.
 22· · · · Q.· ·So the rest of them were at Village Hall when
 23· ·she was the mayor or at a board meeting or something
 24· ·along those lines?

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 ·1· · · · A.· ·Yes.
 ·2· · · · Q.· ·And all of her actions taken against you were
 ·3· ·as mayor, not Vivian Covington herself.· Fair?
 ·4· · · · MR. KELEHER:· Same objection.· You can answer.
 ·5· · · · THE WITNESS:· No, I don't think that's fair.
 ·6· ·BY MR. WALL:
 ·7· · · · Q.· ·Why isn't it fair?
 ·8· · · · A.· ·Because I think her actions again, were -- I'm
 ·9· ·trying to think of the word for it.· She had preconceived
 10· ·her actions.· Should I run for mayor and win again, I'm
 11· ·going to get rid of him.
 12· · · · Q.· ·She didn't say that to you.· Correct?
 13· · · · A.· ·I'm just answering the question.· That's what I
 14· ·believe.
 15· · · · Q.· ·Sure, but she never said that to you.
 16· · · · A.· ·No.
 17· · · · Q.· ·And when she did this, she signed the letter as
 18· ·Mayor Covington.· Right?
 19· · · · A.· ·Yes.
 20· · · · Q.· ·The newsletter, anything that may have been
 21· ·mentioned in there is as Mayor Covington?
 22· · · · A.· ·I believe so.
 23· · · · Q.· ·The damages that you're seeking -- strike that.
 24· · · · · · ·Where does the other 700,000 or more of damages

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 ·1· ·come in?
 ·2· · · · A.· ·It was my intention to work, whether I was with
 ·3· ·University Park or another police department, five or six
 ·4· ·more years.· And as I've stated before, I think my
 ·5· ·employability and my integrity and character was hurt so
 ·6· ·badly, you know, nobody was going to hire me as a chief
 ·7· ·again with a big cloud hanging over my head and things
 ·8· ·like that.· I was constantly having to explain it.· It
 ·9· ·wasn't going to happen.
 10· · · · Q.· ·But, as of December 31st of this year, you
 11· ·might have had to leave anyway?
 12· · · · A.· ·Yeah, but I could have gotten a job somewhere
 13· ·else as a chief.
 14· · · · Q.· ·But nothing stopped you in 2016 from applying
 15· ·for jobs.· Right?· As we sit here today.
 16· · · · A.· ·No.
 17· · · · Q.· ·Have you applied to other police departments?
 18· · · · A.· ·I talked to a couple mayors.
 19· · · · Q.· ·Have you filled out an application to any other
 20· ·police departments?
 21· · · · A.· ·No.
 22· · · · Q.· ·Why not?
 23· · · · A.· ·Because after talking to a few mayors and
 24· ·testing the waters and seeing how hot they were, I did

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 ·1· ·not do that.· I retired, and I filed for social security.
 ·2· ·And that's where I'm at now.
 ·3· · · · Q.· ·Okay.· Have you attempted -- who were the
 ·4· ·mayors?
 ·5· · · · A.· ·One was the mayor in Sauk Village.· One was the
 ·6· ·mayor of Dolton.· I don't remember their names.
 ·7· · · · Q.· ·Any other villages?· Because we're going to
 ·8· ·have to subpoena them.
 ·9· · · · A.· ·I don't remember.
 10· · · · Q.· ·Okay.· What did the mayor of Sauk Village tell
 11· ·you?
 12· · · · A.· ·He said, "The application is on the Internet.
 13· ·Fill out an application."· I went to the Internet; there
 14· ·was no application on there.
 15· · · · Q.· ·Did you follow back up with him?
 16· · · · A.· ·No.
 17· · · · Q.· ·What else did he say to you about the waters
 18· ·being too hot?
 19· · · · A.· ·He didn't say that.· That's what I said.
 20· · · · Q.· ·So he told you the application is on the
 21· ·Internet.· You couldn't find it on the Internet.· Did you
 22· ·call the village?
 23· · · · A.· ·I went up to the village.
 24· · · · Q.· ·Sauk Village?

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 ·1· · · · A.· ·Sauk Village.
 ·2· · · · Q.· ·And what did you say to him?
 ·3· · · · A.· ·I didn't talk to him.· I talked to a guy at the
 ·4· ·window.· He was just a very disgruntled employee, so I
 ·5· ·kind of just ended that conversation.
 ·6· · · · Q.· ·What other interactions did you have with Sauk
 ·7· ·Village?
 ·8· · · · A.· ·Just I know some of the police officers, but
 ·9· ·other than that in reference to my case, nothing.
 10· · · · Q.· ·What I'm trying to figure out is your Answers
 11· ·to Interrogatories state that you talked to the village
 12· ·mayors, and they told you you effectively weren't
 13· ·employable?· Hold on one second.· Strike the question.
 14· · · · · · ·It says -- Answer Number 4 about expenses or
 15· ·losses; and it says:· "Spoke with several mayors with
 16· ·open positions, but the response was negative."
 17· · · · A.· ·Okay.
 18· · · · Q.· ·At Sauk Village, they told you to apply on the
 19· ·Internet.· Right?
 20· · · · A.· ·That was part of the conversation, yeah.
 21· · · · Q.· ·I'm just trying to understand who at Sauk
 22· ·Village gave you the negative response?
 23· · · · A.· ·The mayor.· We had a conversation, and he
 24· ·wasn't talking positive.· "Yeah, come on over; I'll hire

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 ·1· ·you right away."· It was heehawing.· I could tell from
 ·2· ·his responses he had heard that I had gotten fired over
 ·3· ·there.· I told him who I was, my name and everything.
 ·4· · · · · · ·And, "Well, you know what?· Go to the Internet
 ·5· ·and fill out an application."
 ·6· · · · · · ·That's not -- that's generally not how things
 ·7· ·are done or -- you know, you put out a feeler or call one
 ·8· ·of them and talk to them.· They have mayor's meetings and
 ·9· ·conferences just like we do.· I know the mayor goes
 10· ·there.· I assumed there was conversations about me, just
 11· ·like when I go to chief's conferences, we talk about this
 12· ·guy in that department or an officer in that department
 13· ·and have conversations about them.
 14· · · · Q.· ·So the mayor of Sauk Village never said that
 15· ·there's not a snowball's chance in hell you're going to
 16· ·be hired.
 17· · · · A.· ·No.
 18· · · · Q.· ·You just assumed that because he said
 19· ·applications are on the Internet?· That was his way of
 20· ·giving you the --
 21· · · · A.· ·And the rest of the conversation.
 22· · · · Q.· ·What was the rest of the conversation?
 23· · · · A.· ·I don't remember it verbatim, but it wasn't
 24· ·negative like we were arguing or anything.· It was just

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 ·1· ·negative as far as him hiring me as the chief of police
 ·2· ·for that village.
 ·3· · · · Q.· ·But what words did he use?
 ·4· · · · A.· ·"Yeah, there's a position."· You know, "We're
 ·5· ·looking at it."· "Yeah, we are looking for somebody."
 ·6· ·This and this and that.· That's -- you know, like I said
 ·7· ·he didn't tell me, "Come on in; we're going to hire you
 ·8· ·today."· Or "Come on in; let's have a -- let's talk.
 ·9· ·I'll meet you over here for lunch.· We can have a
 10· ·conversation.· Let me see your resume."· None of those
 11· ·things.
 12· · · · Q.· ·So he didn't say you wouldn't get hired, but --
 13· · · · A.· ·Nope.
 14· · · · Q.· ·-- it didn't go the informal way you had been
 15· ·hired in the past.· Fair?
 16· · · · A.· ·Or that I -- no, that's fair.· That I've known
 17· ·other chiefs to be hired or other people from other
 18· ·departments to be hiring.
 19· · · · Q.· ·But he never said, "I'm not going to hire you."
 20· · · · A.· ·No.
 21· · · · Q.· ·You just, given your experience in the law
 22· ·field, you felt that he was giving you the brushoff for
 23· ·lack of a better term?
 24· · · · A.· ·Yes.

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 ·1· · · · Q.· ·What about -- was that all the conversations
 ·2· ·you had with the mayor of Sauk Village?
 ·3· · · · A.· ·I've seen him around a function here and there
 ·4· ·and talked to him.
 ·5· · · · Q.· ·Is that the only other conversation you've had
 ·6· ·with the mayor of Sauk Village about your inability to
 ·7· ·find employment?
 ·8· · · · A.· ·Yes.
 ·9· · · · Q.· ·What about the mayor of Dolton?
 10· · · · A.· ·I talked to him on the phone.· Pretty much the
 11· ·same results.
 12· · · · Q.· ·He didn't say anything negative to you, but you
 13· ·felt like he was just -- you were being invited to apply;
 14· ·but you weren't going to get hired?
 15· · · · A.· ·Correct.
 16· · · · Q.· ·Again, you never had any specific conversation
 17· ·where the mayor of Dolton said, "You're radioactive.
 18· ·We're not hiring you."· Fair?
 19· · · · A.· ·Fair.
 20· · · · Q.· ·You just believe that because they heard you
 21· ·were terminated that they didn't want to touch you, and
 22· ·they were trying to be nice?
 23· · · · A.· ·Not only that, but they were being -- I don't
 24· ·want to have to deal with this mayor.· She fired

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 ·1· ·somebody.· I hired him.· Now she's angry at me, or you
 ·2· ·know their little --
 ·3· · · · Q.· ·Cabal.
 ·4· · · · A.· ·Yes.
 ·5· · · · Q.· ·Are those all the mayors that you can recall?
 ·6· · · · A.· ·That I can recall, yes.
 ·7· · · · Q.· ·Did you go -- did you actually fill out an
 ·8· ·application in Dolton?
 ·9· · · · A.· ·No.
 10· · · · Q.· ·Why not?
 11· · · · A.· ·Couldn't find that one either.
 12· · · · Q.· ·Did you go up to the village as well there?
 13· · · · A.· ·No.
 14· · · · Q.· ·And those are the only two mayors in response
 15· ·to Question Number 4.· Fair?· That you can recall.
 16· · · · A.· ·That I can recall.· Yes.
 17· · · · Q.· ·Have you applied anywhere else since you were
 18· ·terminated from the village for any job at any time?
 19· · · · A.· ·No.
 20· · · · Q.· ·Why not?
 21· · · · A.· ·For several reasons.· It's embarrassing to try
 22· ·to explain why you were fired.· You don't know the reason
 23· ·why.· You explain what you did and how you did it and
 24· ·different things like that.· But, you know, people are

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 ·1· ·not going to believe you.· You know?· It's unbelievable.
 ·2· ·It's unbelievable.
 ·3· · · · Q.· ·So that's why you haven't applied for any
 ·4· ·jobs?
 ·5· · · · A.· ·That's part of the reason.· That's part of the
 ·6· ·reasons, yeah.· That's a big part of it.
 ·7· · · · Q.· ·What's the rest of it?
 ·8· · · · A.· ·Well, it's kind of hard to explain emotionally.
 ·9· ·I mean, when you go in there and you go through those
 10· ·things or you talk to people, it's very emotional.· And
 11· ·when you get that kind of a negative response or that
 12· ·like, "Hey, you're a good guy, and we all know you're a
 13· ·good guy and everything but I can't go there with you
 14· ·because I don't want to get involved in that mess over
 15· ·there at University Park".· Or you know, "When I see that
 16· ·mayor at the mayor's meeting, you know, I don't want to
 17· ·have this conversation."
 18· · · · · · ·And the whole thing is just emotionally
 19· ·draining and everything.· And I'm just explaining to you
 20· ·why I haven't.· As you just -- you know, you feel like
 21· ·it's again your whole ability to gain that employment
 22· ·and to do what you know you can do, and everything has
 23· ·been taken from you.· That's my answer to your question.
 24· · · · Q.· ·So why not go back to the private security firm

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 ·1· ·or apply to Motorola or somewhere that needs a private
 ·2· ·security, and say "I've got 25 years of law enforcement
 ·3· ·experience"?· Why not do that?
 ·4· · · · A.· ·As I said, when you go in there and you have to
 ·5· ·explain what happened at your last job, for those reasons
 ·6· ·I just explained.
 ·7· · · · Q.· ·And I understand that, but it sounds like
 ·8· ·everyone that responds back to you has said "I've got
 ·9· ·your back.· This was a political move."· Right?· I mean,
 10· ·everyone that comes up to you seems to be saying that it
 11· ·was wrong.· They shouldn't have done it, et cetera, that
 12· ·they still know you're a good man.
 13· · · · A.· ·Uh-huh.
 14· · · · Q.· ·It's politics, for lack of a better term.· Is
 15· ·that a fair statement?
 16· · · · A.· ·It's politics and a person with very low
 17· ·integrity.
 18· · · · Q.· ·That notwithstanding, what I'm trying to say is
 19· ·that everyone it seems like that you talked about today
 20· ·is coming up and saying, "Keep your chin up.· You're
 21· ·going to find a gig."· Along those lines, right?
 22· · · · A.· ·Some people were saying that, but a lot of
 23· ·those people you're talking about are not people I'm
 24· ·trying to get a job from, or I would try to get a job

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 ·1· ·from.· Some of those are citizens and everything.· But
 ·2· ·like I already explained, when you go in and sit down
 ·3· ·with a person that you would like to get a job from or
 ·4· ·call them on the phone, they don't want to be involved in
 ·5· ·the University Park mess.
 ·6· · · · Q.· ·Even a private company?· Not another
 ·7· ·municipality?
 ·8· · · · A.· ·And I'm not going to go and be a security
 ·9· ·guard, if that's what's part of the question.
 10· · · · Q.· ·Well, you had in the past when you left your
 11· ·prior position.· Right?
 12· · · · A.· ·Right.
 13· · · · Q.· ·Why not go back there again?· You went there
 14· ·from 2009 to 2013?
 15· · · · A.· ·Okay.· Yeah.· And if you're speaking of Job
 16· ·Corp, I left there because of unethical things that were
 17· ·happening with the staff there.· So, that's why I didn't
 18· ·go back there.
 19· · · · Q.· ·So the reason you haven't applied for jobs is
 20· ·because it's an emotional thing, and you don't like
 21· ·interacting with those that try to assume why you were
 22· ·fired?
 23· · · · A.· ·No.
 24· · · · Q.· ·Correct?

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 ·1· · · · A.· ·No.
 ·2· · · · Q.· ·Okay.· You said the reason you hadn't filed any
 ·3· ·applications is that it's embarrassing and emotionally
 ·4· ·draining.· And you didn't know -- the third part was that
 ·5· ·you didn't know why you hadn't.· Is that what you said to
 ·6· ·me?
 ·7· · · · A.· ·I don't think I said I didn't know why I
 ·8· ·haven't.
 ·9· · · · Q.· ·Okay.· So it was embarrassing and emotional for
 10· ·you to have to do this, to have to explain why you were
 11· ·terminated.
 12· · · · A.· ·It's embarrassing every day.· Every time I meet
 13· ·somebody at the store or the gas station.· Every time I
 14· ·come out of my door to cut my grass, people stop me.
 15· · · · Q.· ·And it sounds like to try to cheer you up.
 16· · · · A.· ·No.
 17· · · · Q.· ·Has anyone come to you and said, "I think
 18· ·you're" -- to use a phrase -- lower than a snakes nuts?
 19· ·I don't know if I'm using that right.
 20· · · · A.· ·Other than the mayor?
 21· · · · Q.· ·Yes.
 22· · · · A.· ·No.
 23· · · · Q.· ·So you haven't had citizenry come up to you and
 24· ·say, "We should put you in jail."

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 ·1· · · · A.· ·No.
 ·2· · · · Q.· ·Okay.· And it sounds like most of the Village
 ·3· ·of University Park residents support you still?
 ·4· · · · A.· ·Right.
 ·5· · · · Q.· ·They do.
 ·6· · · · A.· ·But it's draining emotionally and everything
 ·7· ·over and over and over talking to them about it -- my
 ·8· ·family and children and everybody being exposed to this
 ·9· ·whole thing.· I don't know what other ways I can explain
 10· ·it to you.
 11· · · · Q.· ·I understand that.· But, if everybody knew --
 12· ·and I'm not admitting this, but if everybody knew the
 13· ·game, how did they not -- how would you believe they
 14· ·didn't think it was anything other than political
 15· ·retribution?· Do you know what I'm saying?
 16· · · · A.· ·Yes.
 17· · · · Q.· ·If that's the way University Park has been for
 18· ·so long, how did you assume that it was anything other
 19· ·than political --
 20· · · · A.· ·Well, number one, it's not an assumption; but
 21· ·everybody knows because they know it's more than
 22· ·politics.· I'm pretty much what they call a straight
 23· ·arrow police officer.· Okay?· There is a gray area in law
 24· ·enforcement.· Common sense.· Okay?· Even though you have

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 ·1· ·to apply the laws of the state of Illinois and the United
 ·2· ·States of America.
 ·3· · · · · · ·I'm not crossing the line for nobody.· I work
 ·4· ·all the way up to that line.· I put my toes up against
 ·5· ·the line.· I'm not crossing the line for nobody.· Okay?
 ·6· ·They knew this when they hired me, but because of all the
 ·7· ·corruption and gross mismanagement out there, and all the
 ·8· ·cases that I was looking into and opening up and
 ·9· ·everything, a lot of people didn't like that. Some people
 10· ·did like it, and they wanted to see the right thing
 11· ·happen, too.
 12· · · · · · ·So it wasn't just what you said.· It was a lot
 13· ·of things combined, those things included.
 14· · · · Q.· ·So you're saying you were terminated as a
 15· ·result of the investigations?
 16· · · · A.· ·That's some of the reason, also.
 17· · · · Q.· ·Everyone knows you're a straight arrow.· Right?
 18· · · · A.· ·Yep.
 19· · · · Q.· ·They know that.· Right?
 20· · · · A.· ·Absolutely.
 21· · · · Q.· ·They probably think you're even more of a
 22· ·straight arrow now.· Fair?
 23· · · · A.· ·Fair.
 24· · · · Q.· ·Have you had people come up to you and say,

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 ·1· ·"You know what?· I admire you for handling this and
 ·2· ·taking it like a man" for lack of a better term, giving
 ·3· ·you compliments?
 ·4· · · · A.· ·Yeah, conversations like that take place.
 ·5· · · · Q.· ·And when you see people at the gas station and
 ·6· ·explain you were terminated, they say, "You know what,
 ·7· ·Chief Bradley?· I know you're a good man; you remain a
 ·8· ·good man to me."· Fair?
 ·9· · · · A.· ·Fair.
 10· · · · Q.· ·As it relates to your false light claim, if
 11· ·you'll assume for purposes -- strike that.
 12· · · · · · ·False light is another claim that you made
 13· ·which is very closely connected to defamation.· All of
 14· ·the conversations and publications and everything that
 15· ·we've discussed with defamation would also apply to your
 16· ·false light claim.· Fair?
 17· · · · MR. KELEHER:· Objection.
 18· · · · MR. WALL:· Chris, maybe I can ask this.· You know
 19· ·obviously defamation and false light, closely related.
 20· · · · MR. KELEHER:· Right.· Similar.
 21· ·BY MR. WALL:
 22· · · · Q.· ·What I'm trying to say is there is no fact that
 23· ·is present in the defamation allegations that we've
 24· ·already discussed that isn't present with the false

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 ·1· ·light.· Fair?
 ·2· · · · A.· ·I don't even know where you're at.· Really,
 ·3· ·man.
 ·4· · · · Q.· ·Defamation is taking a poop on your character.
 ·5· · · · A.· ·Okay.
 ·6· · · · Q.· ·Have we discussed all the poops on your
 ·7· ·character that we know from the village and the mayor?
 ·8· · · · A.· ·We've discussed examples and things of that
 ·9· ·nature, yeah.
 10· · · · Q.· ·Are there any other poops on your character
 11· ·that Mayor Covington and the village have done that we
 12· ·haven't discussed in their official capacity other than
 13· ·the letter and the newsletter?
 14· · · · A.· ·Again, there's been things said in board
 15· ·meetings and all that.· You know, I don't recall all of
 16· ·them.· I can't recall all of them sitting right here.
 17· · · · · · ·You have documents.· I got rid of the tow truck
 18· ·guy because he was connected to one of the corruption
 19· ·scams that was going on in the village at the board
 20· ·meeting.· Mayor Covington, Trustee Payton attacked me.
 21· ·This thing, why are you doing this?· Why is this going
 22· ·on?· This guy doesn't get up there and cry and whine and
 23· ·go through all this stuff, all of them attacking me.
 24· · · · · · ·Those are the types of things that were going

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 ·1· ·on.
 ·2· · · · Q.· ·But that was prior to your termination.
 ·3· ·Correct?
 ·4· · · · A.· ·Yes.
 ·5· · · · Q.· ·I'm talking about after your termination.
 ·6· · · · A.· ·Okay.
 ·7· · · · Q.· ·Because your sole suit, this count, is about
 ·8· ·false light and terminating you.
 ·9· · · · A.· ·Uh-huh.
 10· · · · Q.· ·So what I'm saying is the only thing we have
 11· ·about your termination is the letter from Mayor Covington
 12· ·and the newsletter.· Correct?
 13· · · · A.· ·Yes.· And the things in the mailboxes.
 14· · · · Q.· ·Have we been talking across each other?                         I
 15· ·assumed the things in the mailboxes were village
 16· ·newsletters.
 17· · · · A.· ·I know.· That's your opinion; and my opinion, I
 18· ·think that's included.· You don't.
 19· · · · Q.· ·Okay.· We're going to be here a while.
 20· · · · A.· ·Because there was conversations about that.
 21· ·When they would do that -- again, when I would go to gas
 22· ·stations and stores and stuff, people would talk about
 23· ·that.· It would generate that and everything.· Okay?
 24· · · · · · ·So, it might be small to you or non-eventful.

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 ·1· ·To me it was.
 ·2· · · · Q.· ·And I don't dispute that.· But what I'm trying
 ·3· ·to figure out is your defamation claim requires
 ·4· ·publication by the village board and by Mayor Covington.
 ·5· · · · A.· ·Okay.
 ·6· · · · Q.· ·And we've got the letter that went out -- or
 ·7· ·went to you.· Correct?
 ·8· · · · A.· ·Yes.
 ·9· · · · Q.· ·Do you know if it was sent to any third party?
 10· · · · A.· ·No.
 11· · · · Q.· ·It wasn't?· It was just sent to you?
 12· · · · A.· ·I don't know if it was sent to a third party.
 13· · · · Q.· ·They didn't publish that letter in the
 14· ·newspaper.· Fair?
 15· · · · A.· ·I don't know.
 16· · · · Q.· ·You don't have any knowledge in the year and a
 17· ·half since that --
 18· · · · A.· ·I have no knowledge.
 19· · · · Q.· ·-- that anyone has said that to you?
 20· · · · A.· ·Nobody said that to me.
 21· · · · Q.· ·The second thing that I thought we were talking
 22· ·about the same page was a village newsletter that comes
 23· ·in the mail.· It says here's your garbage pickup.· Here's
 24· ·the Christmas stuff.· Right?

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 ·1· · · · A.· ·Yes.
 ·2· · · · Q.· ·And that's where it said you've been
 ·3· ·terminated.· Did it say you've been terminated, or did it
 ·4· ·just said John Pate is the new police chief?
 ·5· · · · A.· ·I never read where it said "you've been
 ·6· ·terminated".
 ·7· · · · Q.· ·What did that newsletter say?
 ·8· · · · A.· ·It introduced the new chief and went on and on
 ·9· ·and on.
 10· · · · Q.· ·Did it even mention you?· Or are you not sure?
 11· · · · A.· ·I'm not sure.
 12· · · · Q.· ·Is it possible it didn't mention you?· It just
 13· ·said here's John Pate with a picture of John and his bio?
 14· · · · A.· ·It's possible it did.· It's possible it didn't.
 15· · · · Q.· ·Okay.· And that's the thing in the mailbox.
 16· ·Right?
 17· · · · A.· ·Yes.
 18· · · · Q.· ·There are no other publications or press
 19· ·releases or anything that you're aware of other than the
 20· ·letter from Mayor Covington to you and the newsletter.
 21· ·Right?
 22· · · · A.· ·There was an opinion written by a trustee who
 23· ·was a practicing attorney in the state of Illinois,
 24· ·mostly out of the Will County courthouse.· And he wrote

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 ·1· ·an opinion and an article and handed it out to every
 ·2· ·trustee, the mayor, people of the board at a meeting, a
 ·3· ·board meeting.
 ·4· · · · Q.· ·That was while in his legislative capacity?
 ·5· · · · A.· ·No.· This was a trustee who was a practicing
 ·6· ·attorney.
 ·7· · · · Q.· ·At the board meeting?
 ·8· · · · A.· ·Who was at the board meeting.
 ·9· · · · Q.· ·As a trustee?
 10· · · · A.· ·Oscar Brown.· Yes.
 11· · · · Q.· ·But at this time he talked about this letter.
 12· ·It's one, his opinion.· Correct?
 13· · · · A.· ·He quotes State Statute and so forth.
 14· · · · Q.· ·It's his legal opinion.
 15· · · · A.· ·Okay.· Yes.
 16· · · · Q.· ·And he did that while acting as a trustee for
 17· ·the Village of University Park during a legislative
 18· ·session of a board.· Correct?
 19· · · · A.· ·I believe so.
 20· · · · Q.· ·What other statements -- just a second.
 21· · · · · · · · · · · · · (Recess in the proceedings.)
 22· ·BY MR. WALL:
 23· · · · Q.· ·So just to circle back on the false light, all
 24· ·of the actions in terminating you are the same for

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 ·1· ·defamation and false light.· There's no allegation -- all
 ·2· ·of your facts are the same.· Is that fair to say?· Do you
 ·3· ·understand my question?
 ·4· · · · A.· ·You said a false light?
 ·5· · · · Q.· ·You made two separate claims under Illinois
 ·6· ·law.· Let's just say that.
 ·7· · · · A.· ·Yeah, I'm just making sure I've got -- those
 ·8· ·are the two words you're using.
 ·9· · · · Q.· ·Defamation and false light?
 10· · · · A.· ·Yeah.· Yes.· The answer to your question is
 11· ·yes.
 12· · · · Q.· ·Okay.· We've covered all that.· Correct?· When
 13· ·we're talking about defamation, there's no new fact that
 14· ·you haven't told me that would also apply to false light?
 15· · · · A.· ·Not that I can remember right now.
 16· · · · Q.· ·Okay.· Thank you.
 17· · · · A.· ·It may be.· I just can't remember right now.
 18· · · · Q.· ·Okay.
 19· · · · A.· ·A lot has happened.
 20· · · · Q.· ·As to your Whistle Blower Act violations in
 21· ·Count 5 of your complaint, 62, plaintiff disclosed to the
 22· ·village manager.· Was that Lafayette Linear?
 23· · · · A.· ·Yes.
 24· · · · Q.· ·The details of an investigation you were

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 ·1· ·conducting into an account discovered at Seaway Bank?
 ·2· · · · A.· ·Yes.
 ·3· · · · Q.· ·After disclosing the investigation, the person
 ·4· ·in the account resigned from village employment in or
 ·5· ·about June of 2015?
 ·6· · · · A.· ·Yes.
 ·7· · · · Q.· ·Did you complete that investigation before you
 ·8· ·left?
 ·9· · · · A.· ·No.· The mayor was also made aware of that.
 10· · · · Q.· ·Who was the person on the account?
 11· · · · A.· ·University Park, care of Darryl Stroud.
 12· · · · Q.· ·How did the mayor and the village -- strike
 13· ·that.
 14· · · · · · ·When you saw this, did you report -- did you
 15· ·discover any wrongdoing?
 16· · · · A.· ·Yes.
 17· · · · Q.· ·What did you discover in the wrongdoing as it
 18· ·relates to the Seaway Bank allegation?
 19· · · · A.· ·He had no permission to have those funds at
 20· ·that bank or them coming to him care of his care.· There
 21· ·had been -- I didn't see it, but it was my understanding
 22· ·during the investigation that there had been a prior
 23· ·village manager that had -- several people had accounts.
 24· ·And he said, "Hey, we shouldn't be doing this.· Everybody

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 ·1· ·needs to close their accounts and turn this money over to
 ·2· ·the financial office."
 ·3· · · · Q.· ·Did Lafayette Linear have an account?
 ·4· · · · A.· ·Not that I'm aware of.· Everybody, it's my
 ·5· ·understanding, turned their -- closed their accounts and
 ·6· ·turned them over to the village except this individual.
 ·7· · · · Q.· ·Where was the investigation left?· Had you
 ·8· ·completed the investigation?
 ·9· · · · A.· ·No.
 10· · · · Q.· ·What did you tell the mayor and to the village
 11· ·about it prior to your termination?
 12· · · · A.· ·I made Mr. Linear, the Village Manager, aware
 13· ·of it.· I showed him some of the documents that I
 14· ·recovered and also about -- I don't know -- a month and a
 15· ·half or so before the termination, I sent that package to
 16· ·the mayor, Mayor Covington.· She had asked me to look
 17· ·into the range funds.
 18· · · · Q.· ·So you were doing what she asked?
 19· · · · A.· ·Yes.
 20· · · · Q.· ·How do you know that this investigation led to
 21· ·your termination?· This specific allegation in
 22· ·Paragraph 62.
 23· · · · A.· ·Let me see what it says.
 24· · · · · · ·That investigation along with all the others --

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 ·1· ·a lot of these people were lifelong, literally,
 ·2· ·associates and friends.· And I was getting too close to a
 ·3· ·lot of things.· And a lot of people were close, and they
 ·4· ·just circled the wagons.· He started there when he was a
 ·5· ·juvenile.
 ·6· · · · Q.· ·Stroud?
 ·7· · · · A.· ·Yes.· Wiping the floors and the tables or
 ·8· ·whatever as a little kid.· His mother worked there.· He
 ·9· ·was a cadet there.· Then he became a police officer
 10· ·there, and all through these years he worked his way all
 11· ·the way up to Acting Chief.
 12· · · · · · ·There was always rumors that things were going
 13· ·on with the range funds, the monies were not being turned
 14· ·in; and Mr. Linear confirmed that when I was chief.
 15· · · · Q.· ·Okay.
 16· · · · A.· ·I told him that I was going to be looking into
 17· ·that also.
 18· · · · Q.· ·Okay.· But as it relates to this Paragraph 62,
 19· ·what evidence do you have that the mayor terminated you
 20· ·on behalf of the village as a result of your
 21· ·investigation which you followed upon her direction to
 22· ·the Seaway Bank matter?
 23· · · · A.· ·That I was fired because I was looking into it.
 24· ·The fact that I was fired when I started looking into all

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 ·1· ·this mismanagement and this corruption and everything.
 ·2· ·That fact that I was fired when I was looking into it.
 ·3· ·That is my answer.
 ·4· · · · Q.· ·So, it's an in-sum answer.· You can't specify
 ·5· ·how each of these investigations caused you to be
 ·6· ·terminated.· It was the group of all of them.· Fair?
 ·7· · · · A.· ·No.· As I stated earlier, the tow truck driver
 ·8· ·who helped them steal numerous vehicles from the village
 ·9· ·when I was at the board meeting, the trustee said, "This
 10· ·stinks.· Why are you doing this" and brought these people
 11· ·and all that.
 12· · · · · · ·Again, my answer to you is I was fired for
 13· ·bringing all this to light.
 14· · · · Q.· ·Understand.· That's Paragraph 64 where we
 15· ·talked about the stolen vehicles.· And we'll get to that.
 16· ·We're talking about the Seaway Bank issue.· How do you
 17· ·know that led to your firing?
 18· · · · A.· ·Because of the fact that I was fired.· That's
 19· ·how I know.
 20· · · · Q.· ·Okay.
 21· · · · A.· ·That's my answer.
 22· · · · Q.· ·So there's no specific evidence that you have
 23· ·that ties the Seaway Bank to your termination other than
 24· ·Seaway Bank, stolen vehicles, pistol whipping, et cetera?

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 ·1· · · · A.· ·People on the board who were arrested for
 ·2· ·domestic violence, who should not have been police
 ·3· ·officers carrying a gun and a badge.· And I was looking
 ·4· ·into that and telling them that this person should not be
 ·5· ·a police officer.· Yes, all of those things.
 ·6· · · · Q.· ·And that was Brown's 1996 domestic violence?
 ·7· · · · A.· ·No, that was Box.
 ·8· · · · Q.· ·So again, you have no specific evidence linking
 ·9· ·Seaway Bank to your termination other than the entirety
 10· ·of the situation?
 11· · · · A.· ·The entirety of the situation and my evidence
 12· ·is the fact that I was fired.
 13· · · · Q.· ·That's your only evidence you have.· Fair?
 14· · · · A.· ·Fair.
 15· · · · Q.· ·"Plaintiff was conducting an investigation into
 16· ·the handling of stolen vehicles placed into storage by
 17· ·the village."
 18· · · · · · ·This investigation was reported to the
 19· ·Defendant Mayor.· Did the mayor ask you to conduct this
 20· ·investigation?
 21· · · · A.· ·Yes.
 22· · · · Q.· ·She thought that there was impropriety with the
 23· ·handling of stolen vehicles?
 24· · · · A.· ·Okay, I thought you said Seaway Bank.

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 ·1· · · · Q.· ·No, I'm moving on.· I'm sorry.
 ·2· · · · A.· ·Read that again for me?
 ·3· · · · Q.· ·Yes.· I'm going back to Paragraph 64.
 ·4· ·"Plaintiff was conducting an investigation into the
 ·5· ·handling of stolen vehicles placed into storage by the
 ·6· ·village."
 ·7· · · · A.· ·She didn't ask me to investigate that.· She
 ·8· ·asked me to investigate the range fund.
 ·9· · · · Q.· ·Who asked you to investigate 64?
 10· · · · A.· ·No one.
 11· · · · Q.· ·You just did on your own?
 12· · · · A.· ·Absolutely.
 13· · · · Q.· ·Okay.· Did you --
 14· · · · A.· ·The fact of that was the prior secretary to the
 15· ·-- administrative assistant to the village manager -- the
 16· ·plate -- the license plates, you know, everything to do
 17· ·with the vehicles.· It was just a quagmire.· That was all
 18· ·part of this corruptness.
 19· · · · Q.· ·When did that happen?· The stolen vehicles?
 20· · · · A.· ·Oh, that happened some years ago.· I don't know
 21· ·the exact year.
 22· · · · Q.· ·Prior to '13?
 23· · · · A.· ·Yes.
 24· · · · Q.· ·Prior to '12?

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 ·1· · · · A.· ·Yes.
 ·2· · · · Q.· ·Prior to 2009?
 ·3· · · · A.· ·I couldn't say.· But, I went over to the
 ·4· ·secretary to get some license plates or something to do
 ·5· ·with some license plates.· And she explained to me that
 ·6· ·there was vehicles missing.· She didn't have a clue what
 ·7· ·to do with this or that.· All these things were going on.
 ·8· ·Nobody would tell her anything.· She's been asking for
 ·9· ·years.· Everybody has been stonewalling her and
 10· ·everything.· I said I would look into it.· That's how it
 11· ·started.
 12· · · · Q.· ·And it says this investigation was reported to
 13· ·the Defendant Mayor?
 14· · · · A.· ·Yes.
 15· · · · Q.· ·What did she say about it?
 16· · · · A.· ·Nothing.
 17· · · · Q.· ·Did she tell you to stop?
 18· · · · A.· ·No.
 19· · · · Q.· ·Did she ask you to let her know what you found?
 20· · · · A.· ·She had somebody tell me that she wanted to
 21· ·have a meeting and talk about it.
 22· · · · Q.· ·Did you have the meeting?
 23· · · · A.· ·No.
 24· · · · Q.· ·Why not?

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 ·1· · · · A.· ·I told them, "Tell her I'm at the office.· Meet
 ·2· ·me any time over here.· I'll be more than happy to sit
 ·3· ·down and talk with her about it.· No problem."
 ·4· · · · Q.· ·Okay.· What else did the mayor say to you that
 ·5· ·you believed caused her to retaliate against you for
 ·6· ·conducting and reporting investigations regarding the
 ·7· ·stolen vehicles?
 ·8· · · · A.· ·I was fired.
 ·9· · · · Q.· ·Okay.· So again, no specific evidence with the
 10· ·stolen vehicles and the mayor and the village; just the
 11· ·entirety.
 12· · · · A.· ·No.· Again, one of her lifelong buddies who was
 13· ·the village manager at the time, there's an affidavit in
 14· ·there naming him as one of the persons who actually sold
 15· ·some of the vehicles for cash and put it right in his
 16· ·pocket.· I didn't get it and send it, but there's a
 17· ·videotaped statement from one of the witnesses who was
 18· ·standing there for that and saw that happen.· I think now
 19· ·he's the finance manager for Richton Park.
 20· · · · · · ·But in any case, like I said, they circled the
 21· ·wagons.· They were all friends and buddies and so forth;
 22· ·and I was fired.
 23· · · · Q.· ·And again, I think we're circling back so we
 24· ·have a clear record.

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 ·1· · · · A.· ·That's my reason.
 ·2· · · · Q.· ·Again -- and I think we're saying the same
 ·3· ·thing?
 ·4· · · · A.· ·Sure.
 ·5· · · · Q.· ·It's the entirety.· The sum of it?
 ·6· · · · A.· ·Yes, sir.
 ·7· · · · Q.· ·You don't have any specific evidence that says
 ·8· ·that Covington terminated you as a result of Seaway Bank.
 ·9· ·Correct?
 10· · · · A.· ·Correct.
 11· · · · Q.· ·You don't have evidence that says Mayor
 12· ·Covington terminated you as a result of the stolen
 13· ·vehicles.· Correct?
 14· · · · A.· ·Correct.
 15· · · · Q.· ·You don't have any evidence that Mayor
 16· ·Covington terminated you as a result of the investigation
 17· ·of pistol whipping.· Correct?
 18· · · · A.· ·Correct.
 19· · · · Q.· ·So the stolen vehicle thing, when was that
 20· ·done?
 21· · · · A.· ·I don't know the specific date.
 22· · · · Q.· ·Prior to your employment as chief?
 23· · · · A.· ·Yes.
 24· · · · Q.· ·You weren't even there.· Right?

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 ·1· · · · A.· ·I wasn't the chief.
 ·2· · · · Q.· ·You weren't?
 ·3· · · · A.· ·When it happened.· I was not the chief when it
 ·4· ·happened.
 ·5· · · · Q.· ·That was Mel Davis?
 ·6· · · · A.· ·No, I'm not sure who the chief was at that
 ·7· ·time.· They've gone through -- just like over the last
 ·8· ·four years, they've gone through like seven or eight
 ·9· ·chiefs.· So, right.· I don't know who the chief was at
 10· ·that time.
 11· · · · Q.· ·Paragraph 65 about the pistol whipping, can you
 12· ·go into more detail on that?
 13· · · · A.· ·Again, it was just something.· You know, we had
 14· ·a trustee who had committed this pistol whipping on his
 15· ·son, broke his jaw.· The officers at the police
 16· ·department handled it.· Usually something like that would
 17· ·have been handled by -- they would call the County and
 18· ·the County would have came in and handled that for them.
 19· · · · · · ·They handled that in-house.· He's one of the
 20· ·trustees.
 21· · · · Q.· ·What's his name?
 22· · · · A.· ·Larry Brown.
 23· · · · Q.· ·Thank you.
 24· · · · A.· ·There was rumors starting around the village

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 ·1· ·that he was going to be bringing his gun to village board
 ·2· ·meetings.· That became a concern of mine.
 ·3· · · · Q.· ·But that's not in your allegations of the
 ·4· ·whistle blower?
 ·5· · · · A.· ·Right.· I'm just telling you to answer your
 ·6· ·question or trying to.
 ·7· · · · · · ·So because that became a concern of mine, I
 ·8· ·started looking into the fact of whether he should even
 ·9· ·have a FOID card and so forth.· And I knew about that.                        I
 10· ·knew about that prior to starting the investigation and
 11· ·everything.· But now hearing these -- because the village
 12· ·board meetings were so contentious, and he was saying
 13· ·these things so I started looking to the fact, well I
 14· ·don't want something to happen there unfortunately.
 15· · · · · · ·So, I started looking into the fact of should
 16· ·he have a gun card and be able to carry a gun and
 17· ·everything.· And that was another investigation that was
 18· ·ongoing that I had.
 19· · · · Q.· ·Who asked you to do this investigation?
 20· · · · A.· ·No one.
 21· · · · Q.· ·As the chief, you decided to do it?
 22· · · · A.· ·Correct.
 23· · · · Q.· ·"Plaintiff was told to forget about the
 24· ·incident because the trustee was a friend of the mayor."

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 ·1· ·Who said that?
 ·2· · · · A.· ·That's a misquote.· She didn't -- does it say
 ·3· ·it right there?· Let me see that.
 ·4· · · · Q.· ·The last sentence of Paragraph 65.· We'll mark
 ·5· ·Plaintiff's complaint as Exhibit 2.
 ·6· · · · · · ·Do you want to stipulate, or do you want --
 ·7· · · · MR. KELEHER:· We can stipulate to it.· The last part
 ·8· ·of it -- the last sentence.
 ·9· · · · MR. WALL:· "Plaintiff was told to forget about the
 10· ·incident because the trustee was a friend of the mayor."
 11· · · · MR. KELEHER:· "Because the trustee was a friend of
 12· ·the mayor" is incorrect.
 13· ·BY MR. WALL:
 14· · · · Q.· ·Who told you to forget about the incident?
 15· · · · A.· ·Dee Jones, the clerk, the village clerk.
 16· · · · Q.· ·No evidence that Mayor Covington told you to in
 17· ·any way?
 18· · · · A.· ·No, Dee Jones told me.
 19· · · · Q.· ·Okay.· But Mayor Covington didn't, by
 20· ·definition?
 21· · · · A.· ·No, she did not.
 22· · · · Q.· ·And none of the trustees did?
 23· · · · A.· ·No.
 24· · · · Q.· ·And you have no idea if the clerk told the

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 ·1· ·trustees or the mayors about this.· You have no evidence?
 ·2· · · · A.· ·No evidence, no.
 ·3· · · · Q.· ·It says -- Number 66:· "On complaint to the
 ·4· ·village manager and the mayor, plaintiff stated his
 ·5· ·concerns."· Which were what?
 ·6· · · · A.· ·Could you read that again, please?
 ·7· · · · Q.· ·Why don't you read Paragraph 66 and tell me
 ·8· ·when we can go forward.
 ·9· · · · A.· ·Okay.· I told the village manager and the mayor
 10· ·about the investigations that were going on and that they
 11· ·were violations of state law.
 12· · · · Q.· ·When were the conversations with the village
 13· ·manager?· Was it Mr. Linear?
 14· · · · A.· ·Yes.
 15· · · · Q.· ·When were those specific conversations?
 16· · · · A.· ·I don't have the specific dates as to these
 17· ·investigations.· As I would open up an investigation, I
 18· ·would go over there.· I would sit down with him.· I would
 19· ·tell him about the investigation, show him what documents
 20· ·I had at the time and so forth.
 21· · · · Q.· ·And what about -- but you're not sure what
 22· ·Lafayette did with that, because he was terminated.
 23· ·Right?
 24· · · · A.· ·At the time, what he did and what he said was

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 ·1· ·okay, continue with the investigation.· And you know, I
 ·2· ·told him I would keep him informed, which I did.
 ·3· · · · Q.· ·And that continued up until termination?
 ·4· · · · A.· ·Yes.
 ·5· · · · Q.· ·And then you were both terminated within a --
 ·6· · · · A.· ·Yes.
 ·7· · · · Q.· ·-- a couple of weeks or -- both in May of last
 ·8· ·year?
 ·9· · · · A.· ·Yes.
 10· · · · Q.· ·When did you complain to the Mayor
 11· ·specifically?
 12· · · · A.· ·I don't know specific.· I can't give you a
 13· ·specific time or day.
 14· · · · Q.· ·And can you narrow it down to a month?
 15· · · · A.· ·Yeah, it was a couple of months before the
 16· ·termination happened.
 17· · · · Q.· ·What did you say to her?· These are my
 18· ·investigations?
 19· · · · A.· ·No.· Officer Ustad Jaco, I had a conversation
 20· ·with him, and I wanted to see if he knew about -- because
 21· ·he had worked there for a while.· And he told me -- he
 22· ·said, "I've heard about all of these things, but I wasn't
 23· ·a part of them.· I didn't see anything.· No eyes on or
 24· ·anything like that or whatever."

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 ·1· · · · · · ·He is close with the mayor.· The mayor was a
 ·2· ·special guest at his wedding.· That's how close.· She was
 ·3· ·his special guest at the wedding.· So, I told him, I
 ·4· ·said, "Well, let the mayor know about this.· You know,
 ·5· ·you talk to her and everything about all these things
 ·6· ·that we've talked about and everything, and that this is
 ·7· ·going on, and specifically the one that along with it,
 ·8· ·the range fund that she asked me to look into."
 ·9· · · · · · ·He came back the next day and told me, "I
 10· ·talked to the mayor.· She's very interested in that."
 11· ·And that's when I was told "She said she wants to meet
 12· ·with you and discuss this."
 13· · · · Q.· ·So she didn't shut you down in any way.· She
 14· ·actually wanted to know what was going on.
 15· · · · A.· ·"She said she wants to meet with you and
 16· ·discuss this."· I told him, "Let her know any time she
 17· ·wants to sit down and talk about this, I'm here.· I'm at
 18· ·the office.· Come on in.· We'll sit down and we'll talk
 19· ·about it."· I must have told him that two or three times.
 20· ·It never happened.
 21· · · · Q.· ·So you and the mayor never discussed this
 22· ·directly, Mayor Covington to you?
 23· · · · A.· ·No.· She never met with me.· I gave him a copy
 24· ·of the files.· I gave him a copy of like the bank files,

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 ·1· ·affidavits from witnesses, you know, all of that stuff.
 ·2· ·He told me, "I gave that to the mayor.· The mayor has
 ·3· ·it."· He said, "I read it, and then I gave it to the
 ·4· ·mayor.· She has it and she read it."
 ·5· · · · · · ·He told me again, "She wants to sit down and
 ·6· ·talk with you about it."· I told him, "Tell the mayor
 ·7· ·give me a call any time.· Come over to the office.· Let's
 ·8· ·sit down and talk about it."· She never called.
 ·9· · · · Q.· ·So the statement "On complaining to the mayor,
 10· ·plaintiff stated his concerns of what he believed to be a
 11· ·violation of federal, state law as well as village
 12· ·policy" that never happened.· It only happened through an
 13· ·intermediary?
 14· · · · A.· ·Yes.
 15· · · · Q.· ·"Complained to the village manager."· You had
 16· ·the conversation with Lafayette.· Correct?
 17· · · · A.· ·Yes.
 18· · · · Q.· ·And he told you to continue?
 19· · · · A.· ·Yes.
 20· · · · Q.· ·When did the Defendant Mayor warn you to cease
 21· ·these investigations as stated in Paragraph 67?
 22· · · · A.· ·Let me see.· I think what he's referring to
 23· ·there is being told to drop the investigation of the
 24· ·pistol whipping.· I think that's what that's referring

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  ·1· ·to.
  ·2· · · · Q.· ·So 67 is, as I understand the assumption, the
  ·3· ·clerk told you to forget about the incident.· And you're
  ·4· ·imputing that to the mayor, right?· Because you never had
  ·5· ·a conversation with her.
  ·6· · · · A.· ·No, I think that's the way he's actually
  ·7· ·writing that there.· To me, that's the way I'm reading
  ·8· ·it.
  ·9· · · · Q.· ·"Defendant Mayor retaliated against plaintiff
  10· ·for conducting and reporting his investigations."· Not
  11· ·all of them were done, and some of them were old.· Right?
  12· · · · A.· ·Uh-huh.
  13· · · · Q.· ·When you were terminated?
  14· · · · A.· ·Uh-huh.· Yes.
  15· · · · Q.· ·"And continuing then after being warned to
  16· ·cease."· The only one we have of a warning to cease is
  17· ·the clerk?
  18· · · · A.· ·And I think that's what he's referring to
  19· ·there.
  20· · · · Q.· ·So, you don't have any evidence that the mayor
  21· ·told you to stop.· Correct?
  22· · · · A.· ·Correct.
  23· · · · Q.· ·And you, in fact, didn't report any of these
  24· ·investigations because none of them were completed.

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  ·1· ·Correct?· You might have had interim reports, but none of
  ·2· ·the investigations were completed.· Right?
  ·3· · · · A.· ·Correct.
  ·4· · · · Q.· ·Okay.
  ·5· · · · A.· ·I think again, what he's referring to there is
  ·6· ·the one that I mentioned and also, you know, I had been
  ·7· ·to other entities like the State's Attorney's office and
  ·8· ·places like that also.
  ·9· · · · Q.· ·You did?
  10· · · · A.· ·Absolutely.
  11· · · · Q.· ·Where did you file reports with them or make --
  12· ·you talked to the State's Attorney about the whistle
  13· ·blower actions?
  14· · · · A.· ·Absolutely.
  15· · · · Q.· ·When?· And whom?
  16· · · · A.· ·I don't know the exact dates, specific dates.
  17· ·I talked to Assistant State's Attorney John Long; and I
  18· ·explained to him, you know, what was going on and what
  19· ·was happening through the years.· The cars, the bank.
  20· ·You know, all these things, the investigations I was
  21· ·looking into.· And, you know, I told him I needed some
  22· ·help with it, and he said he would look into it.· That
  23· ·was before the termination.
  24· · · · Q.· ·How much before?· A day?· A month?· A week?

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  ·1· · · · A.· ·Long before.
  ·2· · · · Q.· ·2013?
  ·3· · · · A.· ·It could have been the end of '13 or early '14.
  ·4· · · · Q.· ·But no later than the end of '14?
  ·5· · · · A.· ·I couldn't say that.· Also --
  ·6· · · · Q.· ·So, to the best of your recollection, when was
  ·7· ·it in 2014 that you had the conversation with the State's
  ·8· ·Attorney?
  ·9· · · · A.· ·I couldn't say.
  10· · · · Q.· ·Did you send him anything in writing?
  11· · · · A.· ·No.· I went into his office and sat down and
  12· ·talked to him.
  13· · · · Q.· ·Did he send you anything in writing at any
  14· ·time?
  15· · · · A.· ·No.
  16· · · · Q.· ·Did you go to him and say, "I believe that the
  17· ·mayor of Village of University Park is violating federal
  18· ·and state law"?
  19· · · · A.· ·No.
  20· · · · Q.· ·Okay.· Did you say that you believed anyone on
  21· ·the village board or the Village of University Park was
  22· ·violating federal and state law to John Long?
  23· · · · A.· ·Not in those words.
  24· · · · Q.· ·At that point, other than Dee's statement to

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 ·1· ·you, you had no evidence that any of the trustees were
 ·2· ·violating state and federal law.· Correct?
 ·3· · · · A.· ·Yeah, I think they had crossed the line.
 ·4· · · · Q.· ·Which specific trustees?
 ·5· · · · A.· ·Again, when I was taking this tow truck driver
 ·6· ·who was involved in towing all the cars away to Acme
 ·7· ·Towing -- at least that's what he said in his
 ·8· ·affidavit -- the mayor and Trustee Payton, they did
 ·9· ·everything in their power to keep this guy on as the tow
 10· ·truck driver.· And I was trying to see where it's going
 11· ·to lead me to.· I didn't know if they were involved or
 12· ·not.· Or why are they defending this guy so powerfully?
 13· · · · Q.· ·That happened before you started your
 14· ·employment though.· Right?
 15· · · · A.· ·No.· This is while I was the chief.
 16· · · · Q.· ·The tow truck driver?
 17· · · · A.· ·Oh, you mean when he took -- the cars were,
 18· ·yes.· This conversation happened while I was the chief,
 19· ·while they were defending him at a board meeting.
 20· · · · Q.· ·And the mayor, Trustee Payton, what did they
 21· ·say that --
 22· · · · A.· ·That's when Payton was saying, "Why are you
 23· ·getting rid of this guy and getting this guy over here?
 24· ·Something stinks."· And she had the guy come to the

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  ·1· ·board, the mayor, and get up and plead his case.· And we
  ·2· ·went through all that rigamarole at the board meeting.
  ·3· · · · · · ·They wanted to keep that tow truck driver.· And
  ·4· ·I was obstinate.· I didn't tell them about my
  ·5· ·investigation and everything.· Like I said, I wanted to
  ·6· ·know, to see where it was leading to.· Why are they
  ·7· ·defending him?· Are they possibly involved or not?                       I
  ·8· ·didn't know.
  ·9· · · · Q.· ·So at this point, we don't even know if there's
  10· ·been a violation of federal or state law, because you're
  11· ·in the middle of the investigation.
  12· · · · A.· ·Okay.· Correct.
  13· · · · Q.· ·Correct?
  14· · · · A.· ·Yes.
  15· · · · Q.· ·I guess my understanding is you thought she had
  16· ·it out for you from the start.· Right?· She never liked
  17· ·you.· She voted against your appointment.
  18· · · · A.· ·Yes.
  19· · · · Q.· ·What makes you think it was the whistle blowing
  20· ·as opposed to just not liking you?
  21· · · · A.· ·Again, all these people had worked together.
  22· ·And some of them from childhood and growing up together,
  23· ·they were very cohesive.· And even though they would have
  24· ·these outbreaks and turn on each other, they would always

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  ·1· ·turn back to each other for political reasons.· I want
  ·2· ·this.· I want that.· You know?
  ·3· · · · · · ·So, those are some of the reasons why some of
  ·4· ·those things would happen.· Myself, I'm neighbors with
  ·5· ·some of them.· One of those trustees worked under me when
  ·6· ·I was a sergeant, when I was a lieutenant, when I was a
  ·7· ·watch commander and all of that.· But it never got to
  ·8· ·that point.· I never let them get that close to me where
  ·9· ·I can't do my job, or I'm going to cross the line for
  10· ·them or anything like that.
  11· · · · Q.· ·So you didn't feel that there was an era of
  12· ·chilling?· You always felt like you could speak up, and
  13· ·you were going to speak up because you are a principled
  14· ·man?
  15· · · · A.· ·I felt I could and would, but I knew that there
  16· ·were definitely repercussions.· They wanted a chief that
  17· ·was a glove on their hand and they could do whatever they
  18· ·wanted with him.
  19· · · · Q.· ·Sure.· And I think that's your allegation in
  20· ·Count 1.· But I'm talking as it relates to the Whistle
  21· ·Blower.· You don't have any specific evidence of
  22· ·violations of the law.· Correct?
  23· · · · A.· ·I think they crossed the line, like I said
  24· ·before.· They were trying to cover for their minions who

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  ·1· ·were violating the law.· ·So they're a part of it.
  ·2· · · · Q.· ·But you don't have evidence that their minions
  ·3· ·even violated the law.
  ·4· · · · A.· ·Absolutely.
  ·5· · · · Q.· ·Correct?
  ·6· · · · A.· ·Absolutely I do.
  ·7· · · · Q.· ·Under which -- okay.
  ·8· · · · A.· ·The cars are no longer there.· Those vehicles
  ·9· ·are missing.· They didn't disappear.· I have an affidavit
  10· ·from the tow truck driver that under their orders, with
  11· ·witnesses that have affidavits also and videotaped
  12· ·statements, that he took those cars.· He took them down
  13· ·to Acme Towing in Kankakee; and whatever was done with
  14· ·them was done with them.
  15· · · · · · ·On some of the vehicles, money exchanged hands.
  16· ·The acting village manager or treasurer or something at
  17· ·the time -- whatever his title was -- saw him selling one
  18· ·of the vehicles and putting the money in his pocket.
  19· · · · · · ·So those are some of the things that, you know,
  20· ·after speaking with the secretary --
  21· · · · Q.· ·Is this Bob Bowers?
  22· · · · A.· ·Bob Bowers, yes.
  23· · · · Q.· ·It looks like they are talking about Zach, the
  24· ·public works mechanic, and Sean --

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  ·1· · · · A.· ·Zach is the man that gave us the videotaped
  ·2· ·statement, and he was the witness that saw the acting
  ·3· ·village manager sell the motorcycle and put the money in
  ·4· ·his pocket.
  ·5· · · · Q.· ·Who was the acting village manager at the time?
  ·6· · · · A.· ·Oh, what's his name?· It's like a French name.
  ·7· · · · Q.· ·Had to have been before Lafayette.
  ·8· · · · A.· ·I believe he was the one before Lafayette.
  ·9· · · · Q.· ·Oh, so we're going back like six or seven years
  10· ·on this?
  11· · · · A.· ·I don't know exact date.· It might be.
  12· · · · Q.· ·But what law does this violate?
  13· · · · A.· ·Felony theft, auto -- there's a lot of laws
  14· ·that that violates.
  15· · · · Q.· ·In October of 2009, four years prior to your
  16· ·involvement.· Correct?
  17· · · · A.· ·Yes.
  18· · · · Q.· ·And it's your belief that part of the reason
  19· ·you were terminated was this investigation?
  20· · · · A.· ·That's part of it.
  21· · · · Q.· ·How would you break it down?· A third, your
  22· ·whistle blower claims; a third she didn't like you; a
  23· ·third to just get rid of you?· In your mind, what's the
  24· ·driving force behind your termination?· Her not liking

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  ·1· ·you or the connection to these alleged crimes?
  ·2· · · · A.· ·For many, many years through their working
  ·3· ·together on occasions, they've always -- most of the time
  ·4· ·had a chief there that they could control.
  ·5· · · · · · ·Again, Payton mentioned in one meeting, "I
  ·6· ·can't even call the chief up and get a ticket taken care
  ·7· ·of."· And he's right.
  ·8· · · · Q.· ·Okay.
  ·9· · · · A.· ·That's the kind of things that they wanted to
  10· ·do.· This guy that they put over the fire and police
  11· ·commission, he wants to call up police officers.· "Hey,
  12· ·go over there and check out the Town Center and make sure
  13· ·the lights are turned off over there."
  14· · · · · · ·No, you're not going to be doing that.· And I'm
  15· ·answering your question.· They wanted a chief that was
  16· ·under their thumb, and I wasn't going to do that.· So the
  17· ·bottom line was all of these issues that you're talking
  18· ·about, the investigations, and all of these other things,
  19· ·no.· They did not want -- the mayor, Larry Brown, Payton,
  20· ·no, they did not want me for chief.· When I came there,
  21· ·the chief prior to me, half the officers told me she
  22· ·would call over there and the chief would go over and
  23· ·shuffle her around.· That was not going to happen with
  24· ·me.

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  ·1· · · · Q.· ·Who was the previous chief?
  ·2· · · · A.· ·Mel Davis.· Yeah.
  ·3· · · · Q.· ·Okay.
  ·4· · · · A.· ·So no, they did not want me there.· And for
  ·5· ·various reasons they did not want Ed Bradley there as the
  ·6· ·chief.· They couldn't do these types of things that they
  ·7· ·were used to doing.
  ·8· · · · Q.· ·Okay.
  ·9· · · · A.· ·People had keys to the evidence room that
  10· ·should not have had keys to the evidence room.
  11· · · · Q.· ·That's a policy and practice.· That's not a
  12· ·violation of the law.· Correct?· That's not acting in
  13· ·best practices.
  14· · · · A.· ·Again, I think they're walking the line;
  15· ·because evidence -- there's a lot of evidence in there
  16· ·from homicides to who knows what.· And you're giving keys
  17· ·to any John Doe that wants one.
  18· · · · Q.· ·But if I came to the evidence room at the
  19· ·Village of University Park and I opened that up, I
  20· ·haven't committed a crime if someone gave me the key
  21· ·lawfully.· Right?
  22· · · · A.· ·Somebody else might be, whoever gave it to you.
  23· · · · Q.· ·Sure.· But I'm not.· I'm just entering into a
  24· ·room that I have access to.· That's not a crime.· It may

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  ·1· ·be a moral crime, but it's not a felony.· Fair?
  ·2· · · · A.· ·No.· Because if I ever caught somebody in the
  ·3· ·room that shouldn't have been there, they might have been
  ·4· ·in handcuffs.· I don't care who gave them the key.
  ·5· · · · Q.· ·Okay.· But you have no evidence that the heat
  ·6· ·was getting so close to the mayor that that's why she
  ·7· ·terminated you.
  ·8· · · · A.· ·No.
  ·9· · · · Q.· ·Okay.· You have no evidence that the heat was
  10· ·getting so close to the board that that's why they
  11· ·terminated you.
  12· · · · A.· ·No.
  13· · · · Q.· ·Correct?· Or no.· Sorry.
  14· · · · A.· ·Read me the question again.
  15· · · · Q.· ·All right.
  16· · · · · · · · · · · · · (Record read.)
  17· · · · THE WITNESS:· Okay.· I believe again, all of the
  18· ·things that -- like I said before -- that I've discussed
  19· ·with you is why they terminated me.
  20· ·BY MR. WALL:
  21· · · · Q.· ·Okay.· But you can't delineate them any better
  22· ·than that.· You can't say it's a 50% this, 50% this?
  23· · · · A.· ·No.· Sum total.
  24· · · · Q.· ·And if you had to choose one in your gut, which

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  ·1· ·one would you say it is?· They just didn't like you, or
  ·2· ·the Whistle Blower Act?
  ·3· · · · A.· ·All of the above.
  ·4· · · · Q.· ·Okay.· But in your gut of guts, it seemed like
  ·5· ·earlier you thought that from day one she didn't like
  ·6· ·you, and she was waiting for her new term to start to
  ·7· ·terminate you.
  ·8· · · · A.· ·On day one, the Saturday that I was sworn in,
  ·9· ·Mayor Covington, Trustee Larry Brown and Trustee Payton
  10· ·did not show up.
  11· · · · Q.· ·Okay.· Understood.· But as we stated, we have
  12· ·no direct evidence linking your termination to mayor --
  13· ·strike that.
  14· · · · · · ·We have no evidence connecting Defendant
  15· ·Mayor's termination of you to the Whistle Blower other
  16· ·than your belief.· Fair?
  17· · · · A.· ·No physical evidence.· No.
  18· · · · Q.· ·The Illinois Wage, Payment and Collection Act,
  19· ·I don't think we need to go into that.· That's a claim
  20· ·where you believe you're entitled to a Statutory amount.
  21· ·Right?
  22· · · · A.· ·Yes.
  23· · · · Q.· ·And that would be based upon either the $25,000
  24· ·or the $100,000.· Strike that.

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  ·1· · · · · · ·You would be entitled to that number, assuming
  ·2· ·that the Act applies, of that 25K or whatever is
  ·3· ·remaining on your contract.· Right?
  ·4· · · · A.· ·Withstanding my ability to gain employment
  ·5· ·because of the termination.· That's my answer.
  ·6· · · · Q.· ·I understand, but that law doesn't allow that.
  ·7· ·It's simply a mechanism to get you back wages.· So under
  ·8· ·that, you're owed the vacation pay, holiday pay either
  ·9· ·through 2016 or that four-month severance.· Fair?
  10· · · · A.· ·Yes.
  11· · · · Q.· ·And if called to testify, John Long will
  12· ·testify that you told him that you believed there were
  13· ·violations of state and federal law occurring at the
  14· ·Village of University Park?
  15· · · · A.· ·Yes.
  16· · · · Q.· ·What State's Attorney's office?· Is that Cook?
  17· · · · A.· ·Will County State's Attorney.· As I mentioned,
  18· ·or I might not have mentioned, I went there twice.· The
  19· ·second time I went, Trustee Joe Roudez and Trustee Keith
  20· ·Griffin were with me.
  21· · · · Q.· ·Okay.· And they'll confirm that you told John
  22· ·Long on the second visit when they were with you that you
  23· ·believed there were violations of state and federal law
  24· ·occurring in the Village of University Park?

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  ·1· · · · A.· ·That had occurred or are occurring.
  ·2· · · · Q.· ·And Trustee Roudez and Griffin will back up
  ·3· ·those statements?
  ·4· · · · A.· ·They were there.
  ·5· · · · Q.· ·Okay.· I need a break.
  ·6· · · · · · · · · · · · · (Recess in the proceedings.)
  ·7· ·BY MR. WALL:
  ·8· · · · Q.· ·Back on the record.
  ·9· · · · · · ·As to your Interrogatories, looking at
  10· ·Interrogatories regarding your injuries, "Plaintiff has
  11· ·lost income and reputation as a consequence of the
  12· ·Defendant's wholesale avoidance of his due process and
  13· ·contract rights."· We discussed all of that.· Correct?
  14· · · · A.· ·Yes.
  15· · · · Q.· ·There's no other income you've lost other than
  16· ·what you're owed under the agreement and any possible
  17· ·opportunities.· Right?
  18· · · · A.· ·Again, I feel like income that was lost was my
  19· ·ability to go out, get a job as a police chief at another
  20· ·department.
  21· · · · Q.· ·But as we sit here right now, we don't know
  22· ·whether the mayor of Dolton and Sauk Village will testify
  23· ·that they didn't hire you as a result of your being
  24· ·terminated at the Village of University Park.· Correct?

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  ·1· · · · A.· ·Correct.
  ·2· · · · Q.· ·And wouldn't your record, your stellar record,
  ·3· ·belie or -- you've got a clean record.· Correct?
  ·4· · · · A.· ·Yes.
  ·5· · · · Q.· ·If you're going to interview for someone and
  ·6· ·they say they see 20 years of well-maintained law
  ·7· ·enforcement positions and then a termination by a
  ·8· ·political subdivision, don't you think the hiring manager
  ·9· ·is going to say something isn't right here about
  10· ·plaintiff or about his termination, and he's probably a
  11· ·pretty good police officer?
  12· · · · A.· ·The police chief in Missouri might have had a
  13· ·stellar record; and he no longer works there.· And he's
  14· ·been replaced after what happened there.
  15· · · · Q.· ·True.· But I think he got another job.
  16· · · · A.· ·I don't know.
  17· · · · Q.· ·I thought he became a village manager.· But
  18· ·regardless --
  19· · · · A.· ·Of University Park?· No.
  20· · · · Q.· ·No, of Ferguson.· I think it's referring to
  21· ·Ferguson.
  22· · · · A.· ·Are you serious?
  23· · · · Q.· ·He got another job, but I'd have to check that.
  24· · · · A.· ·Okay.· Well --

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 ·1· · · · Q.· ·But we've discussed the loss of income and
 ·2· ·reputation?
 ·3· · · · A.· ·Yes.
 ·4· · · · Q.· ·And the loss of reputation has resulted and is
 ·5· ·not being considered, for example, for various open
 ·6· ·positions as Chief of Police.· We've covered those two
 ·7· ·that you are aware of, Sauk Village and Dolton.
 ·8· · · · A.· ·Yes.
 ·9· · · · Q.· ·None other that you can recall as we sit here
 10· ·today?
 11· · · · A.· ·Correct.
 12· · · · Q.· ·You state to the answer to Number 3 that:· "I
 13· ·have not been able to obtain a comparable position
 14· ·although I have inquired into several."
 15· · · · A.· ·Uh-huh.
 16· · · · Q.· ·Those are the two we discussed earlier.
 17· ·Correct?
 18· · · · A.· ·Yes.
 19· · · · Q.· ·None additional?
 20· · · · A.· ·That I can recall right now, no.
 21· · · · Q.· ·And none of the private positions have even
 22· ·been applied for.· Correct?
 23· · · · A.· ·Correct.
 24· · · · Q.· ·Number 4, "spoke with several mayors".· We've

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 ·1· ·covered that.
 ·2· · · · A.· ·Yes.
 ·3· · · · Q.· ·Mental and physical anguish.· What was your
 ·4· ·physical anguish?
 ·5· · · · A.· ·I think that --
 ·6· · · · Q.· ·You weren't hurt anywhere in your body, were
 ·7· ·you?· It was all in your heart and your mind?
 ·8· · · · A.· ·Right.
 ·9· · · · Q.· ·Fair?
 10· · · · A.· ·Fair.
 11· · · · Q.· ·That's what would be termed mental anguish.
 12· ·Right?· Your pain and suffering?
 13· · · · A.· ·Pain and suffering?
 14· · · · Q.· ·Is that what you're referring to?
 15· · · · A.· ·Yes.
 16· · · · Q.· ·You didn't blow out a disc in your back as a
 17· ·result of your termination?
 18· · · · A.· ·No, I didn't lose a leg or an eye.
 19· · · · Q.· ·I'm just trying to box it out.
 20· · · · A.· ·Sure.· No problem.
 21· · · · Q.· ·And the mental is, you haven't been suicidal.
 22· ·Correct?
 23· · · · A.· ·No.
 24· · · · Q.· ·You haven't seen a psychologist or a

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  ·1· ·psychiatrist?
  ·2· · · · A.· ·No.
  ·3· · · · Q.· ·You're not treating with anyone for depression?
  ·4· · · · A.· ·No.
  ·5· · · · Q.· ·You're not on any medications as a result of
  ·6· ·this?
  ·7· · · · A.· ·No.
  ·8· · · · Q.· ·You're just humiliated as you discussed
  ·9· ·earlier?
  10· · · · A.· ·No, it's not just that.
  11· · · · Q.· ·I know.· I'm trying to identify what other
  12· ·mental anguish you've experienced as a result of your
  13· ·termination.
  14· · · · A.· ·I have a lot of sleepless nights.· You go over
  15· ·things in your mind over and over and over.· And like you
  16· ·were just saying, did I ask this?· Did I ask that?· Some
  17· ·of it is you almost think sometimes you made a fool out
  18· ·of yourself because you did your job so well, and the
  19· ·result you got was what happened to me.· You know, you
  20· ·feel very much violated.
  21· · · · Q.· ·But don't you feel proud, too?· You can look at
  22· ·yourself in the mirror.
  23· · · · A.· ·Absolutely.· Absolutely no doubt about that.
  24· ·But when you go up to the dollar store on the 4th of

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  ·1· ·July, and you get with the manager and you give out hot
  ·2· ·dogs and free toys to the kids and everything because
  ·3· ·there's a lot of families out there that can't afford to
  ·4· ·barbecue like you or me on the 4th of July.
  ·5· · · · Q.· ·Yes.
  ·6· · · · A.· ·And you pay for it out of your pocket along
  ·7· ·with that.· Like I said, you do things like get them
  ·8· ·armored humvees and take 20 or 30 families up to Toys R
  ·9· ·Us at Christmas time, you know.· Like I said, that's a
  10· ·two way mirror.· You're proud of it and everything.
  11· ·That's where I come from.· But at the same time, you feel
  12· ·let down.· This is not a community -- a lot of chiefs
  13· ·work in the community where they don't live.· I live
  14· ·there.· I have a stake in that community, and I care
  15· ·about it.
  16· · · · · · ·And that's what I got.· That's what I got from
  17· ·Vivian Covington and her cohorts.
  18· · · · Q.· ·Okay.· Other than the sleepless nights and the
  19· ·humiliation you felt and what you've explained in the
  20· ·record, are there other symptoms of mental anguish?
  21· · · · A.· ·You know, like I said, it doesn't go away.· You
  22· ·think about it all through the day.· You know?· And it's
  23· ·-- it hurts.
  24· · · · Q.· ·How does it hurt?

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  ·1· · · · A.· ·I think I explained that.
  ·2· · · · Q.· ·All I'm trying to say is that when we go to the
  ·3· ·trial of this matter, I'm just trying to figure out --
  ·4· ·your attorney is going to ask you about mental anguish.
  ·5· ·I just want to make sure we've covered all of it.· Have
  ·6· ·we?
  ·7· · · · A.· ·I think so.
  ·8· · · · Q.· ·You can't think of any other examples other
  ·9· ·than what we've already discussed of how the incident has
  10· ·caused you mental anguish?
  11· · · · A.· ·It hurts because a lot of mental anguish -- I
  12· ·go to the gym.· I work out four or five times a week, and
  13· ·I believe, and I have strong hope in my faith.· Okay?                       I
  14· ·have, for the greater part of my life, fought for other
  15· ·people's justice and righteousness, and now this happens
  16· ·to me.· So here I am looking for it.
  17· · · · Q.· ·I understand that, and I appreciate that.· Any
  18· ·other symptoms of mental anguish?
  19· · · · A.· ·No.· No.
  20· · · · Q.· ·Okay.· If it says "assumption" in your Answers
  21· ·to Interrogatories, is it fair that -- we can agree that
  22· ·you don't have any direct evidence.· It's just your
  23· ·belief, right?
  24· · · · · · ·"I am told that Mayor Covington presided over a

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  ·1· ·closed door meeting which resulted in my termination,
  ·2· ·though I've never received notice of same.· Plaintiff
  ·3· ·assumes the mayor introduced the motion to terminate at
  ·4· ·some kind of hearing."
  ·5· · · · A.· ·Yes.
  ·6· · · · Q.· ·You don't have any evidence of that?
  ·7· · · · A.· ·No.
  ·8· · · · Q.· ·"With respect to plaintiff's allegations of
  ·9· ·actual malice, state with specificity how Defendants
  10· ·acted with actual malice.
  11· · · · · · ·The individual Defendant has acted vindictively
  12· ·not only to myself but to others, several of whom are
  13· ·litigating against her."
  14· · · · · · ·Those litigation suits were after everyone was
  15· ·terminated.· Correct?
  16· · · · A.· ·I believe so.
  17· · · · Q.· ·The only evidence of the vindictiveness is the
  18· ·letter of termination, the newsletter, and her saying
  19· ·"We're going to kick some butt."· Right?
  20· · · · A.· ·No.· Her actions.· Firing me.
  21· · · · Q.· ·But that's a result, not a cause.· I'm saying,
  22· ·what were the vindictive malice -- acts of malice that
  23· ·she had before terminating you?
  24· · · · · · ·I understand you believe the termination is

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  ·1· ·with malice, but what facts do we have to back that up
  ·2· ·other than what we've discussed today?
  ·3· · · · A.· ·I don't have any physical evidence that
  ·4· ·would --
  ·5· · · · Q.· ·Okay.· And that's because you think she doesn't
  ·6· ·like you and because of the whistle blowing stuff we
  ·7· ·discussed.· Right?· That's the only evidence you have of
  ·8· ·malice is the whistle blowing claims and her saying "I
  ·9· ·don't like you" from the beginning.· Right?
  10· · · · A.· ·And firing me.
  11· · · · Q.· ·Again, sure.· Yes.· Those three.· Correct?
  12· · · · A.· ·Yes.
  13· · · · Q.· ·"Proof of malice includes without limitation
  14· ·Defendant's willful ignoring of legal advice and legal
  15· ·letters and advice from village trustees contesting
  16· ·Defendant's actions and their failure to do that."
  17· · · · · · ·If Miss Covington is proven to be right, you
  18· ·have no malice.· Correct?· If her actions are found to be
  19· ·legally correct and supported, there's no evidence of
  20· ·proof of malice there.· Right?
  21· · · · A.· ·To me there is, yes.
  22· · · · Q.· ·Okay.· But the judge could decide that Mayor
  23· ·Covington was fully and legally entitled to do what she
  24· ·did.· Fair?

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  ·1· · · · A.· ·Yes.· Yes.
  ·2· · · · Q.· ·Did you ever use profanity towards Mayor
  ·3· ·Covington at any time?
  ·4· · · · A.· ·Not Mayor Covington or any other resident or
  ·5· ·employee of University Park.
  ·6· · · · Q.· ·Did you ever at any time call her a bitch?
  ·7· · · · A.· ·Never.
  ·8· · · · Q.· ·Never once?
  ·9· · · · A.· ·Never.
  10· · · · Q.· ·Paragraph Number 23, it says:· "Informed
  11· ·Village Manager Linear of a tire scam investigated by
  12· ·Daniel Murphy."· Did we discuss that already?
  13· · · · A.· ·Yes.
  14· · · · Q.· ·What's the tire scam?· Is that the stolen
  15· ·vehicle one?
  16· · · · A.· ·No.
  17· · · · Q.· ·What's the tire scam?
  18· · · · A.· ·One of the commanders came in and told me they
  19· ·needed some tires for the cars, that the cars were bald.
  20· ·After I got through my conversation with that individual,
  21· ·I went out, looked at all the cars.· There was
  22· ·approximately only eight cars, squad cars at the time.
  23· ·They were all bald.· And I went over and told the village
  24· ·manager, had a conversation with him the next day, and I

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  ·1· ·told him about what was said, the conversation.· And I
  ·2· ·also advised him that this was a safety issue, and that
  ·3· ·we could get jammed up if somebody has an accident or
  ·4· ·whatever.· And seeing as how everybody sues the village,
  ·5· ·you know, we need to be on top of this.
  ·6· · · · · · ·He said, "Okay.· I just bought tires for those
  ·7· ·cars just before you were hired."· I said, "Okay, let me
  ·8· ·look into it."· I went back over.· I started asking
  ·9· ·around.· I found out that the acting chief before me had
  10· ·purchased some tires.
  11· · · · · · ·I called in the person who was in control of
  12· ·the tires and equipment and everything; and I said,
  13· ·"Where are my tires?· Where are these new tires at?                       I
  14· ·want you to find my tires."· Not only that, but I went
  15· ·and started -- I told the clerk, secretary, or whatever,
  16· ·"I want to see all of the tires that were bought over the
  17· ·last few years.· I want you to bring that to me."
  18· · · · · · ·And when she brought it to me, I saw where they
  19· ·had bought like for instance $30,000 worth of tires in a
  20· ·year and a half.· And I got all these cars with bald
  21· ·tires on them.· So I started checking around.· I went
  22· ·over to the place where they were getting all these tires
  23· ·from.· There was a rumor that a guy that I was in the
  24· ·process of firing at that time, these were his relatives

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  ·1· ·at the place.
  ·2· · · · · · ·I let them know you will not be doing business
  ·3· ·with University Park any more.· I started looking around
  ·4· ·for these tires; and every day I would ask, "Hey, you
  ·5· ·found my tires?"· And finally I was told they were in the
  ·6· ·junk yard or somewhere on raggedy cars.
  ·7· · · · Q.· ·Do you know when this happened?
  ·8· · · · A.· ·This investigation?
  ·9· · · · Q.· ·The tire scam.
  10· · · · A.· ·I think you have that.· It happened over a
  11· ·several year period.· People at the golf course were
  12· ·going to this place getting tires.· Everybody was going
  13· ·over there getting tires.
  14· · · · Q.· ·Did any of this occur when you were chief?
  15· · · · A.· ·Absolutely not.
  16· · · · Q.· ·So, had Daniel Murphy completed his
  17· ·investigation when you became police chief?· When did the
  18· ·tire scam end?
  19· · · · A.· ·This started when I was the chief, this
  20· ·investigation.
  21· · · · Q.· ·No, but you ended it when you were chief,
  22· ·right?· You stopped this tire scam?
  23· · · · A.· ·I stopped it from happening, but the
  24· ·investigation was not ended.

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 ·1· · · · Q.· ·Sure.· But there was no more of this buying of
 ·2· ·the tires?
 ·3· · · · A.· ·We bought tires.
 ·4· · · · Q.· ·Properly.
 ·5· · · · A.· ·Yes.
 ·6· · · · Q.· ·Was Daniel Murphy's investigation proper?· Did
 ·7· ·he do anything wrong?
 ·8· · · · A.· ·No.
 ·9· · · · Q.· ·What do you think of Dan Murphy?
 10· · · · MR. KELEHER:· I'm going to object.
 11· ·BY MR. WALL:
 12· · · · Q.· ·You were chief of police.· He was your
 13· ·underling, right?
 14· · · · A.· ·Yeah.
 15· · · · Q.· ·Do you think he was a good cop?
 16· · · · A.· ·He's all right.
 17· · · · Q.· ·Okay.· Do you think he was well-qualified?
 18· · · · A.· ·Some things.
 19· · · · Q.· ·Some things he wasn't?
 20· · · · A.· ·Yes.
 21· · · · Q.· ·The tire scam never surrounded the mayor.
 22· ·Correct?· She didn't buy the tires.· Right?
 23· · · · A.· ·Right.
 24· · · · Q.· ·None of the trustees bought these tires.

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  ·1· ·Right?
  ·2· · · · A.· ·I'm not sure.· There was a lot of names on that
  ·3· ·list.· You should have it.
  ·4· · · · Q.· ·We talked about the Seaway Bank account?
  ·5· · · · A.· ·Uh-huh.· Yes.
  ·6· · · · Q.· ·We talked about the stolen vehicle scam.
  ·7· ·Correct?
  ·8· · · · A.· ·Yes.
  ·9· · · · Q.· ·Talked about the tow truck driver?
  10· · · · A.· ·Yes.
  11· · · · Q.· ·"Murphy informed plaintiff of the pistol
  12· ·whipping."· We've discussed all of that.· Right?
  13· · · · A.· ·Yes.
  14· · · · Q.· ·Did you ever have any involvement with the
  15· ·University Park TIF account?
  16· · · · A.· ·I don't even know how that TIF stuff works.
  17· · · · Q.· ·Is that a no?
  18· · · · A.· ·Yes, that is a no.
  19· · · · Q.· ·Okay, thank you.· Did you ever lock Mayor
  20· ·Covington out of any of the facilities of the Village of
  21· ·University Park?
  22· · · · A.· ·No.
  23· · · · Q.· ·Never at any time?
  24· · · · A.· ·No.

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  ·1· · · · Q.· ·Have you talked to Mayor Covington since the
  ·2· ·termination?
  ·3· · · · A.· ·I don't think so.
  ·4· · · · Q.· ·I mean, you haven't even talked in passing?
  ·5· · · · A.· ·I don't think I've even passed her.
  ·6· · · · Q.· ·Okay.· We're going to stipulate for purposes of
  ·7· ·the record that the complaint filed 9-25-15 is Exhibit 2
  ·8· ·to Eddie Bradley's deposition.
  ·9· · · · · · ·What information does Bola Delano have
  10· ·regarding this lawsuit?
  11· · · · A.· ·She was -- the rumor was that she was there.
  12· ·She was hired after Mr. Linear, and she was there at the
  13· ·board meeting.· I'm not --
  14· · · · Q.· ·Okay.
  15· · · · A.· ·I'm not exactly sure.
  16· · · · Q.· ·You're not sure that other than that, she was
  17· ·present?
  18· · · · A.· ·She was present.· Yeah.
  19· · · · Q.· ·What was this Thomas Fish (phonetic spelling)
  20· ·thing with this email.· Is this a resident or --
  21· · · · A.· ·I don't know.· Cook County -- I forgot to
  22· ·mention Cook County.· I talked to them about the
  23· ·corruption, investigation cases also, the full gamut of
  24· ·them.· But that email, that was the email that was sent

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  ·1· ·to me after I started these investigations.
  ·2· · · · Q.· ·Okay.
  ·3· · · · A.· ·And Cook County kind of looked into it a little
  ·4· ·bit.
  ·5· · · · Q.· ·Anything ever come of it?
  ·6· · · · A.· ·No.
  ·7· · · · Q.· ·MR. KELEHER:· Just for the record, was that ASA
  ·8· ·Plasbat?
  ·9· · · · THE WITNESS:· No, no.· That's the attorney general.
  10· ·I called him, and I had talked to him.
  11· · · · MR. KELEHER:· Okay.
  12· ·BY MR. WALL:
  13· · · · Q.· ·Is Oscar Brown a licensed attorney in the state
  14· ·of Illinois?
  15· · · · A.· ·Yes.
  16· · · · Q.· ·Are you sure?
  17· · · · A.· ·Yes.
  18· · · · Q.· ·Has he always been licensed in the state of
  19· ·Illinois?
  20· · · · A.· ·As far as I know, yes.
  21· · · · Q.· ·Did he ever tell you that his license was
  22· ·suspended or he was disbarred?
  23· · · · A.· ·I -- no, he never told me that.
  24· · · · Q.· ·Did you ever hear that?

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  ·1· · · · A.· ·Never heard that.
  ·2· · · · Q.· ·Most of this is the check stubs for the Seaway
  ·3· ·Bank issue?
  ·4· · · · A.· ·That's the tires.
  ·5· · · · Q.· ·Okay.· So these are all the people that were in
  ·6· ·2009 getting these tires.· Right?
  ·7· · · · A.· ·I think it's '09 and a few other years, too,
  ·8· ·isn't it?
  ·9· · · · Q.· ·It looks like the majority of it is 2009.· And
  10· ·it just says -- who is Chuck Golf (phonetic spelling) or
  11· ·Golf Chuck?
  12· · · · A.· ·Some of those were people who were working at
  13· ·the golf course, employees that went over there and got
  14· ·some tires.
  15· · · · Q.· ·Okay.· Larry Brown's domestic violence in 1996,
  16· ·did we discuss that already?
  17· · · · A.· ·Yes.
  18· · · · Q.· ·That was the pistol whipping?
  19· · · · A.· ·Yes.
  20· · · · Q.· ·There's a sworn affidavit of a citizen
  21· ·complaint by Stephanie Johnson, it looks like?
  22· · · · A.· ·Yes.· Let me see which one that is.
  23· · · · Q.· ·Bates 110/111.· This was about -- I don't think
  24· ·it's relevant to the suit, right?· It's a complaint

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  ·1· ·against one of the officers for not doing something
  ·2· ·correctly?
  ·3· · · · A.· ·Yeah, this was Greg Box again.
  ·4· · · · Q.· ·Okay.
  ·5· · · · A.· ·I was looking at the -- he's in their circle.
  ·6· ·He was the one that was arrested for domestic violence.
  ·7· · · · Q.· ·Okay.
  ·8· · · · A.· ·He shouldn't have been a police officer, and I
  ·9· ·wanted to get rid of him.· And they were circling the
  10· ·wagons for him.· And he was actually made a sergeant and
  11· ·then the acting chief or deputy chief after that
  12· ·incident.· He shouldn't even have been there.
  13· · · · Q.· ·What's his name again?
  14· · · · A.· ·Greg Box.
  15· · · · Q.· ·That was before you.· Right?
  16· · · · A.· ·Yes.
  17· · · · Q.· ·So he had already been terminated?
  18· · · · A.· ·No, he was working there when I was there.
  19· · · · Q.· ·Okay.· When did he leave the employment of the
  20· ·village?
  21· · · · A.· ·He left while I was there, probably towards the
  22· ·end of '14, early '15.· When you asked me was I ever at
  23· ·any of the meetings, those special meetings they have --
  24· · · · Q.· ·Yeah.

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  ·1· · · · A.· ·That was one of them.· They asked me to stay
  ·2· ·behind because they were going to discuss that.· The
  ·3· ·attorney that was handling it asked me to.· So I stayed
  ·4· ·after because he had a lawsuit against the village, and
  ·5· ·it was coming up.· And they asked me about keeping him or
  ·6· ·letting him go.· I recommended that we offer him -- or to
  ·7· ·pay him the smallest amount we could.
  ·8· · · · · · ·You know, he was asking for hundreds of
  ·9· ·thousands of dollars or whatever, and I told him he was a
  10· ·liability.· And you know, as he retired on the job and
  11· ·everything and he shouldn't be there, I wanted to get rid
  12· ·of him.· The guy has been arrested for domestic violence.
  13· ·And if something happens -- so they offered him $42,000.
  14· ·He had to pay his attorney like a third or whatever, and
  15· ·we got rid of him that way.
  16· · · · Q.· ·Okay.· So there's no allegation -- there's no
  17· ·whistle blowing allegations as it relates to Box?
  18· · · · A.· ·Yes, there is.· Like I said, they circled the
  19· ·wagons.· Everybody didn't want him gone.
  20· · · · · · ·But what the attorney did is he brought out
  21· ·evidence that when he had been going to the mayor and
  22· ·saying she had been showing Box, and Box would show her
  23· ·stuff that she was saying, and telling each other,
  24· ·showing e-mails and all this.· So like I said, it all

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  ·1· ·shook out to where he --
  ·2· · · · Q.· ·But your complaint, nowhere in here does it
  ·3· ·state Greg Box.· Correct?· We discussed all of your
  ·4· ·whistle blower allegations?
  ·5· · · · A.· ·It's part of the gross mismanagement and
  ·6· ·conflict and corruption in that department.· He should
  ·7· ·not have been working there, and they knew it.
  ·8· · · · Q.· ·Were you ever aware that he was violating
  ·9· ·federal and state law?· I mean, if he was, wouldn't they
  10· ·have terminated him for cause?
  11· · · · A.· ·No, they would not.
  12· · · · Q.· ·You don't have any evidence that he was.
  13· · · · A.· ·They knew that he had been arrested for
  14· ·domestic violence and he was still working there.· And to
  15· ·me, they're all violating the law --
  16· · · · Q.· ·Okay.
  17· · · · A.· ·-- allowing him to work there.
  18· · · · Q.· ·The domestic battery notwithstanding, you don't
  19· ·have any evidence that Box was violating any federal or
  20· ·state law, correct?· While you were Chief of Police?
  21· · · · A.· ·I don't think he was supposed to have a badge
  22· ·and a gun.· If he's been arrested for domestic violence,
  23· ·that is against the law.
  24· · · · Q.· ·Other than that.

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 ·1· · · · A.· ·Oh, okay.· Other than that?· No.
 ·2· · · · Q.· ·How do you know that these conversations
 ·3· ·occurred between Greg Box and Mayor Covington?
 ·4· · · · A.· ·What conversations?
 ·5· · · · Q.· ·You said that they were sharing info back and
 ·6· ·forth?
 ·7· · · · A.· ·The attorney said it right there in the
 ·8· ·meeting.· The village attorney.
 ·9· · · · Q.· ·What did he or she say?
 10· · · · A.· ·Greg Box was not there.· The village attorney
 11· ·-- the whole board was there.· And he told them we are
 12· ·going to have a problem when we go to court.· He kind of
 13· ·softened it right up.· "Don't get mad at me and
 14· ·everything, because I'm getting ready to throw this on
 15· ·you."
 16· · · · · · ·The mayor has been sharing this stuff that she
 17· ·shouldn't have been sharing and everything, and even a
 18· ·couple other people were doing on the board.· "You guys
 19· ·shouldn't have been doing this, and we got a big problem
 20· ·when we go to court and everything."
 21· · · · · · ·That's how it all shook out.· And she's acting
 22· ·all surprised.· "Me?"· You know, all of this.· But Greg
 23· ·Box was not there.
 24· · · · Q.· ·Was that Felicia that said that?

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  ·1· · · · A.· ·No, that was an attorney from IPMG, the
  ·2· ·insurance firm.· I believe he was from the insurance
  ·3· ·firm.· I think he was handling that.· Maybe it was
  ·4· ·because he was suing the county.· I don't know -- I mean
  ·5· ·the village.· I don't know.
  ·6· · · · Q.· ·It looks like a fair amount of this is you
  ·7· ·didn't get along with Commander Wilson.· Is that probably
  ·8· ·a fair statement?
  ·9· · · · A.· ·I got along with her.
  10· · · · Q.· ·Did you guys have conflict?
  11· · · · A.· ·Well, you might call it conflict.· I mean, to
  12· ·me I got along with her and everything.· This, you know,
  13· ·just do your job.
  14· · · · Q.· ·So, these documents regarding Box and Apps, you
  15· ·felt like they were in cahoots together.· Right?
  16· · · · A.· ·Yes.
  17· · · · Q.· ·And they were --
  18· · · · A.· ·Good choice of words.
  19· · · · Q.· ·They were aligned with the mayor.
  20· · · · A.· ·Wilson and Box, yes.· They were friends of
  21· ·hers.· Like I said, everyone in that village on the board
  22· ·and everybody, one day they're all buddies and laughing.
  23· ·And the next day, they could have an issue where you
  24· ·know --

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  ·1· · · · Q.· ·Yeah.· Your allegations here in this complaint,
  ·2· ·none of this is as a result of your investigation into
  ·3· ·Commander Wilson.· Is that correct?· You don't think you
  ·4· ·were terminated for your investigation into Commander
  ·5· ·Wilson.· Fair?
  ·6· · · · A.· ·Yeah, I think that was a part of my
  ·7· ·termination.
  ·8· · · · Q.· ·So when I asked you these questions earlier,
  ·9· ·did you not remember or are you remembering now or --
  10· · · · A.· ·I don't think you brought up Wilson earlier.
  11· · · · Q.· ·Well, I asked you if there were any other
  12· ·allegations, and you said "no".· So I just want to make
  13· ·sure when we get to trial we're not like, "Oh, I forgot
  14· ·this."
  15· · · · A.· ·Right.
  16· · · · Q.· ·What part of your investigation of Deborah
  17· ·Wilson do you think caused you to be fired?
  18· · · · A.· ·Again.· She was a longstanding member of their
  19· ·circle, and they did not want her to be fired.· And
  20· ·obviously, that's obvious because of the fact that she
  21· ·was not fired, and she should have been.
  22· · · · Q.· ·She was suspended.
  23· · · · A.· ·By me.
  24· · · · Q.· ·Okay.

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  ·1· · · · A.· ·She should have been fired.
  ·2· · · · Q.· ·When did you suspend her?
  ·3· · · · A.· ·I don't know the specific date.
  ·4· · · · Q.· ·2013?· '14?
  ·5· · · · A.· ·I don't know.
  ·6· · · · Q.· ·Well, you filed charges against her on January
  ·7· ·of '15, so based upon the pleadings that's probably fair?
  ·8· · · · A.· ·Yes.
  ·9· · · · Q.· ·Okay.· Had you come to a resolution on your
  10· ·complaint against her prior to your termination?
  11· · · · A.· ·No.
  12· · · · Q.· ·There wasn't a decision by the Board of Civil
  13· ·Services Commissioners.· Right?
  14· · · · A.· ·I don't think so.
  15· · · · Q.· ·So you think you were fired for just
  16· ·instituting the charges.· Correct?
  17· · · · A.· ·Not just instituting them; for not backing
  18· ·down, not giving in.· You know?
  19· · · · Q.· ·For beginning and continuing the investigation
  20· ·and not sweeping it under the rug.
  21· · · · A.· ·Right.
  22· · · · Q.· ·But there never was an adjudication made.
  23· ·Right?· There was never a finding, "Well you were there."
  24· · · · A.· ·Not while I was there.· No.

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 ·1· · · · Q.· ·And John Pate as I understand it, suspended
 ·2· ·her.· They came to an agreement on a suspension time for
 ·3· ·some part of 2015.
 ·4· · · · A.· ·I don't have a clue about John Pate, what he
 ·5· ·did and didn't do.
 ·6· · · · Q.· ·Have you heard now that she was suspended in
 ·7· ·2015?
 ·8· · · · A.· ·No.
 ·9· · · · Q.· ·From the community?
 10· · · · A.· ·In 2015?
 11· · · · Q.· ·Yes.
 12· · · · A.· ·Last year?
 13· · · · Q.· ·Uh-huh.
 14· · · · A.· ·I don't understand.
 15· · · · Q.· ·You said she was suspended as a result of your
 16· ·allegations that you made?
 17· · · · A.· ·I put her on administrative leave.
 18· · · · Q.· ·Sure.· Do you know if that was continued or
 19· ·upheld by Chief Pate?
 20· · · · A.· ·I can't say with certainty.· I believe it was.
 21· · · · Q.· ·Okay.
 22· · · · A.· ·I don't think it was, you know, by him.                         I
 23· ·think it was just going through their motions.
 24· · · · Q.· ·And again, no direct evidence to tie your

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  ·1· ·termination to Deborah Wilson's investigation; just your
  ·2· ·assumption and the in sum as we discussed prior.· Right?
  ·3· · · · A.· ·No physical investigation.· I mean, no physical
  ·4· ·evidence.· I'm sorry.
  ·5· · · · Q.· ·Got it.· Thank you.· What about Officer Apps?
  ·6· ·Did you discipline him?
  ·7· · · · A.· ·Yes.
  ·8· · · · Q.· ·Do you believe that was a reason you were
  ·9· ·fired?
  10· · · · A.· ·He was also a member of their circle.
  11· · · · Q.· ·Okay.· Again, no evidence; just your belief?
  12· · · · A.· ·Correct.· He wasn't fired; he was given the
  13· ·opportunity to resign, and he resigned.
  14· · · · Q.· ·Okay.· Why do you think he resigned?
  15· · · · A.· ·Because there was a choice of either resign
  16· ·or --
  17· · · · Q.· ·Do you think he was guilty?
  18· · · · A.· ·Absolutely.· Of many things.
  19· · · · Q.· ·When did he resign?
  20· · · · A.· ·I'm not sure.
  21· · · · Q.· ·In 2015?
  22· · · · A.· ·I believe so.· I'm not sure.
  23· · · · Q.· ·You don't have any further knowledge?
  24· · · · A.· ·Of --

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 ·1· · · · Q.· ·When he was fired or when he resigned?
 ·2· · · · A.· ·No.
 ·3· · · · Q.· ·To the best of your knowledge, have we
 ·4· ·discussed all the conversations you have regarding the
 ·5· ·allegations in your complaint with the trustees?
 ·6· · · · A.· ·No.· When you say "all", like I said there's
 ·7· ·conversations every day.· I mean, no.
 ·8· · · · Q.· ·Okay.· Let me do this.· Have we discussed all
 ·9· ·the conversations that you've had about why you were
 10· ·terminated from village officials and Mayor Covington?
 11· · · · A.· ·We have discussed all those conversations.
 12· ·Yes.
 13· · · · Q.· ·All of them?
 14· · · · A.· ·Not all of them.
 15· · · · Q.· ·Okay.
 16· · · · A.· ·Like I said, I see these guys every day in
 17· ·stores everywhere.· No, we have not discussed all of
 18· ·them.· That's impossible.
 19· · · · Q.· ·Okay.· Do you want to take a break and figure
 20· ·out how many -- I mean, I've got seven hours.
 21· · · · · · · · · · · · · (Recess in the proceedings.)
 22· ·BY MR. WALL:
 23· · · · Q.· ·Back on the record.· Have we discussed all the
 24· ·conversations you've had with Mayor Covington?

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  ·1· · · · A.· ·No.
  ·2· · · · Q.· ·What other conversations do you have relevant
  ·3· ·to your termination and your --
  ·4· · · · A.· ·The only real conversation that I ever had with
  ·5· ·the mayor, I received a phone call.· They told me, "The
  ·6· ·mayor wants to talk to you."· This is shortly after I was
  ·7· ·hired.· "Where at?"· "At the Village Hall."
  ·8· · · · · · ·I go to the Village Hall.· I walk back by
  ·9· ·Mr. Linear's office.· There's a break room, conference
  10· ·room there.· She's sitting there with a cast on.· "Close
  11· ·the door", she says.· "Come on in."· I close the door.                        I
  12· ·come in.
  13· · · · · · ·She starts off by pointing the finger at me and
  14· ·telling me, "I will turn you in if you do anything.· You
  15· ·do anything wrong", you this, you that.· She starts
  16· ·ranting and raving.
  17· · · · · · ·"Do you know who I am?· I am the village mayor.
  18· ·When I go to Washington D.C., when I walk in that
  19· ·building everything stops and they stand up and clap
  20· ·their hands and cheer.· And they say Vivian Covington is
  21· ·in the building."
  22· · · · · · ·She went on and on and on like this.· "I helped
  23· ·Barack Obama get elected."· I'm this.· I'm that.· I work
  24· ·for the government.· This went on for a couple hours.

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  ·1· ·That is the only real conversation.
  ·2· · · · Q.· ·You don't think she was alleging that she was
  ·3· ·going to turn you in if you --
  ·4· · · · A.· ·I'm just telling you what she said.
  ·5· · · · Q.· ·What did you take that to mean?
  ·6· · · · A.· ·That something is wrong somewhere.
  ·7· · · · Q.· ·And that's your assumption.· No direct
  ·8· ·evidence.· Right?
  ·9· · · · A.· ·Yeah.
  10· · · · Q.· ·Was that the entire conversation from Mayor
  11· ·Covington?
  12· · · · A.· ·That's how the conversation went.
  13· · · · Q.· ·Have you had any other conversations other than
  14· ·what we've discussed about the village trustees telling
  15· ·you exactly about your termination?
  16· · · · A.· ·Conversations in board meetings.· She asked me
  17· ·a question; I'll try to answer.
  18· · · · Q.· ·About your suit.
  19· · · · A.· ·Oh, no.· Not that I can remember at this time.
  20· · · · Q.· ·As it relates to your whistle blower claims,
  21· ·have we discussed all the conversations you've had with
  22· ·the trustees and the mayor?
  23· · · · A.· ·All that I can remember at this time.
  24· · · · Q.· ·Okay.· Defamation.· We've discussed all the

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 ·1· ·communications from the village and Mayor Covington to
 ·2· ·you.· Right?
 ·3· · · · A.· ·All that I can remember at this time.
 ·4· · · · Q.· ·Got it.· Same with false light as we discussed
 ·5· ·earlier.
 ·6· · · · A.· ·Yes.
 ·7· · · · Q.· ·And I might have asked this.· The Whistle
 ·8· ·Blower Act, we discussed all of those conversations with
 ·9· ·the mayor and the trustees.· Right?
 10· · · · A.· ·That I can remember at this time, yes.
 11· · · · Q.· ·So the remaining conversations are not about
 12· ·the procedures of you being terminated or about legal
 13· ·advice.· They're just, damn; that sucks.· All of that
 14· ·kind of stuff.· Right?
 15· · · · · · ·After your termination, right?· Or do you not
 16· ·understand my question?
 17· · · · A.· ·No, I don't.
 18· · · · Q.· ·Can you read it back?
 19· · · · · · · · · · ·(Record read.)
 20· · · · THE WITNESS:· No, there's been other conversations.
 21· ·I think I may have mentioned earlier where they asked me
 22· ·to come back several times.
 23· ·BY MR. WALL:
 24· · · · Q.· ·Okay.

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  ·1· · · · A.· ·There's been conversations.
  ·2· · · · Q.· ·I think we've covered all those.
  ·3· · · · A.· ·Okay.
  ·4· · · · Q.· ·Right?
  ·5· · · · A.· ·We have not covered every conversation I've had
  ·6· ·with them.· Okay?· And I can't sit here verbatim and do
  ·7· ·that with you.· I don't think that's possible.
  ·8· · · · Q.· ·Is there any other conversation we haven't
  ·9· ·discussed about what the board did that night to
  10· ·terminate you?
  11· · · · A.· ·I cannot recall at this time.
  12· · · · Q.· ·Is there any other conversation about you
  13· ·filing a lawsuit other than various people saying if you
  14· ·drop it we'll offer you your job back?
  15· · · · A.· ·That's not what they said.
  16· · · · Q.· ·What did they say?
  17· · · · A.· ·"Hey, why don't you come back?· When you coming
  18· ·back?· Come back, man.· This department is messed up."
  19· · · · Q.· ·And that's when you say --
  20· · · · A.· ·Actually, we had a formal meeting at a
  21· ·restaurant.· Johnna (phonetic spelling), the person who
  22· ·is the village manager, Joe Roudez, Keith Griffin, they
  23· ·asked me to drop the lawsuit and come back as police
  24· ·chief.

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 ·1· · · · Q.· ·When was this?
 ·2· · · · A.· ·I don't know.· I don't have a specific date.
 ·3· · · · Q.· ·Was it fall?
 ·4· · · · A.· ·It was in the winter.· I told them to talk to
 ·5· ·my attorneys, and that I was going to hold people
 ·6· ·accountable for what they did to me.
 ·7· · · · Q.· ·So that was a "no"?
 ·8· · · · A.· ·Absolutely.
 ·9· · · · · · ·No, it wasn't really a "no".· It's what I told
 10· ·them.· I was going to hold people accountable for what
 11· ·they did to me; and I was not going to drop the lawsuit.
 12· ·That was my answer.
 13· · · · Q.· ·Okay.
 14· · · · A.· ·I mean, I'm still under contract with them, I
 15· ·would think.· I'm not a lawyer or anything.· And if
 16· ·things happen and I have to go back, then it is what it
 17· ·is.
 18· · · · Q.· ·You mean go back to work?
 19· · · · A.· ·Yeah, because the contract is not up until the
 20· ·end of the year, December 31st.
 21· · · · Q.· ·Unless it couldn't have been terminated?
 22· · · · A.· ·Pardon me?
 23· · · · Q.· ·Your whole case rises and falls on her ability
 24· ·to properly terminate you.

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  ·1· · · · A.· ·I guess.· I don't know.
  ·2· · · · Q.· ·That's why you hired Chris?
  ·3· · · · A.· ·Yes.
  ·4· · · · Q.· ·As it relates to your Whistle Blower Act
  ·5· ·claims, we've discussed each one, I think.· Correct?
  ·6· · · · A.· ·Yes.
  ·7· · · · Q.· ·Okay.· Other than Dee involved with a pistol
  ·8· ·whip, did you have any conversations with anyone other
  ·9· ·than the village manager at the village about these
  10· ·Whistle Blower Act claims?
  11· · · · A.· ·Trustees.
  12· · · · Q.· ·Okay.· But it would be more just updating them?
  13· · · · A.· ·Yes.
  14· · · · Q.· ·None of them at any time asked you to stop
  15· ·investigating him?
  16· · · · A.· ·No.
  17· · · · Q.· ·They just said, "What's going on, Chief?"
  18· · · · A.· ·No, they didn't say that.· We'd just stop and
  19· ·be talking, and it would come up.
  20· · · · Q.· ·And it's impossible for you to recall all of
  21· ·those conversations?
  22· · · · A.· ·Sure.· I mean, they would say we want something
  23· ·done.· Follow it.· You know, keep up the good work.· The
  24· ·trustees.

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  ·1· · · · Q.· ·So in fact --
  ·2· · · · A.· ·The ones that I talked to.
  ·3· · · · Q.· ·Sure.· So when they did talk to you, they told
  ·4· ·you to keep up the good work?
  ·5· · · · A.· ·The trustees that I talked to.
  ·6· · · · Q.· ·They didn't obfuscate or ask you to stop it?
  ·7· · · · A.· ·Absolutely not.
  ·8· · · · Q.· ·The only person that ever asked you to stop is
  ·9· ·Dee?
  10· · · · A.· ·Yes.
  11· · · · Q.· ·Is Jaco still employed with the Village of
  12· ·University Park?
  13· · · · A.· ·Yes.
  14· · · · Q.· ·Have you and Jaco had any conversations other
  15· ·than what we discussed about the meeting with the mayor
  16· ·regarding the claims in your complaint?
  17· · · · A.· ·No.
  18· · · · Q.· ·And I think I just want to go back.· You said
  19· ·900,000 isn't a true number, that you're in fact owed
  20· ·more?
  21· · · · A.· ·Yes.
  22· · · · Q.· ·Why and how?
  23· · · · A.· ·Again, because of my ability to gain employment
  24· ·in the same financial sense, and you know, sense of

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  ·1· ·integrity that I was employed before.· I was fired by the
  ·2· ·Village of University Park.
  ·3· · · · Q.· ·But we don't know that number because you
  ·4· ·haven't tried to gain employment.· Fair?
  ·5· · · · A.· ·No.
  ·6· · · · Q.· ·No, that's not fair; or no, that's incorrect?
  ·7· · · · A.· ·Both, to me.
  ·8· · · · Q.· ·I asked you if you've applied for any jobs.
  ·9· · · · A.· ·Right.
  10· · · · Q.· ·And you said "no".
  11· · · · A.· ·Okay.
  12· · · · Q.· ·That's still a true statement?
  13· · · · A.· ·Yes.
  14· · · · Q.· ·And --
  15· · · · A.· ·I have not filled out an application for a
  16· ·police chief job.· No.
  17· · · · Q.· ·Other than talking to the two mayors, what
  18· ·steps have you done to try to gain employment?
  19· · · · A.· ·After talking with them and other -- putting
  20· ·out feelers for other police departments as I stated
  21· ·before I retired.· I'm collecting social security now and
  22· ·my pension because, you know, I was tired of explaining,
  23· ·trying to explain what happened and the circumstances,
  24· ·and knowing the feeling that people maybe did want to

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  ·1· ·step out and give me an opportunity, but they really
  ·2· ·didn't know what really truly happened.
  ·3· · · · · · ·I couldn't tell them why.· And the fact that
  ·4· ·they didn't want to, you know, face any type of -- I got
  ·5· ·to have this conversation with this mayor now, and I'm a
  ·6· ·mayor.· And I hired the guy that she fired.· Obviously
  ·7· ·there was a problem.· So I retired.
  ·8· · · · Q.· ·And I got that, but --
  ·9· · · · A.· ·And I feel like this only happened in my life
  10· ·because I was fired by the Village of University Park for
  11· ·what happened and the way that it happened.
  12· · · · Q.· ·But according to your testimony, you only
  13· ·wanted to work for five or six more years?
  14· · · · A.· ·Right.
  15· · · · Q.· ·Assuming you did that, the Village of
  16· ·University Park -- that 600,000 gross which is going to
  17· ·turn into 450,000 net; and then you were going to retire
  18· ·anyway based upon -- you said you wanted to work for 5 or
  19· ·6 more years?· Correct?
  20· · · · A.· ·Yes.
  21· · · · Q.· ·And at 100,000 maybe 110, we're looking at 650,
  22· ·670, gross.
  23· · · · A.· ·Yes.
  24· · · · Q.· ·Take out taxes, I'm going to assume 100 puts

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  ·1· ·you in the 25% tax bracket; we're looking at like
  ·2· ·$450,000, ballpark.· Fair?
  ·3· · · · A.· ·I'm not a, you know, a CPA or whatever.· But I
  ·4· ·guess.· However, I'm saying in addition to, I lost that.
  ·5· · · · Q.· ·Sure.· But I'm trying to figure out how you get
  ·6· ·from $650,000 to 1.1 million?
  ·7· · · · A.· ·That's how.· I don't know why you don't --
  ·8· ·that's how.
  ·9· · · · Q.· ·So you believe your integrity was compromised
  10· ·to the tune of $450,000?
  11· · · · A.· ·I think that I was not able to gainfully employ
  12· ·because my character and my integrity was that badly
  13· ·tarnished by Vivian Covington.
  14· · · · Q.· ·Sir, I understand your complaint.· But you
  15· ·haven't done anything other than speak to two mayors to
  16· ·gain employment.· I'm just trying to figure out how you
  17· ·come to this number that you're going to ask the jury
  18· ·for.
  19· · · · A.· ·That's it.· That's how I came to it.· I don't
  20· ·know any other way to explain it to you.
  21· · · · Q.· ·But what I'm trying to say is, how do you know
  22· ·what your ability to gain employment is when you haven't
  23· ·tried to gain employment?· How can you value that as
  24· ·you're the plaintiff in this suit?

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  ·1· · · · A.· ·Right.
  ·2· · · · Q.· ·How do you value it?· Because that's a question
  ·3· ·I'm going to ask you at trial.
  ·4· · · · A.· ·I'll say what I'm saying now.
  ·5· · · · Q.· ·Okay.· It is your testimony here today that you
  ·6· ·failed to take reasonable steps to mitigate the damages
  ·7· ·that you've incurred in this matter.
  ·8· · · · MR. KELEHER:· Objection.· Calls for a legal
  ·9· ·conclusion.
  10· ·BY MR. WALL:
  11· · · · Q.· ·Correct?
  12· · · · A.· ·It's your opinion.· It's my answer.
  13· · · · Q.· ·Okay.· Name for me other than speaking to the
  14· ·mayor, what factual evidentiary steps you've taken in an
  15· ·ability to gain employment since being terminated by the
  16· ·Village of University Park on May 29, 2015.
  17· · · · MR. KELEHER:· Objection.· Asked and answered.
  18· · · · MR. WALL:· Not that way.
  19· ·BY MR. WALL:
  20· · · · Q.· ·And you've gone to job boards?· Have you gone
  21· ·to a career counsellor?· Have you met with mentors in the
  22· ·private sector?· What have you done other than talk to
  23· ·those two mayors?
  24· · · · A.· ·I have talked to many people in the private

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  ·1· ·sector, and that's one of the emotional and distressful
  ·2· ·things about this is going over it and over it and over
  ·3· ·it with some people who probably don't understand because
  ·4· ·it's never happened to them.· And that's why I came to
  ·5· ·the conclusion that just to retire and to try to move on
  ·6· ·with my life.
  ·7· · · · Q.· ·So what's the difference in what you're making
  ·8· ·in retirement versus what you would have made this year
  ·9· ·had your employment contract continued?
  10· · · · A.· ·I never sat down and figured that out.
  11· · · · Q.· ·What do you make roughly on social security?
  12· · · · A.· ·I don't know.· 18, 19 a month.
  13· · · · Q.· ·18 thousand?· 18 hundred?
  14· · · · A.· ·Hundred.
  15· · · · Q.· ·Okay.· And any other sources of income right
  16· ·now?
  17· · · · A.· ·My pension.
  18· · · · Q.· ·How much is your pension?
  19· · · · A.· ·That's approximately -- I forget with taxes and
  20· ·all that, like 5,500 hundred a month.
  21· · · · Q.· ·So you're bringing in about the same you were
  22· ·when you were making 100K?· It's got to be pretty close.
  23· · · · A.· ·No.
  24· · · · Q.· ·What was your take-home every two weeks?

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  ·1· · · · A.· ·I had my pension when I was working for the
  ·2· ·Village of University Park, also.
  ·3· · · · Q.· ·Oh.· You've been getting the pension all along?
  ·4· · · · A.· ·Yes.
  ·5· · · · Q.· ·Okay.· So the difference in the social
  ·6· ·security, that's just a mathmatical comparison to
  ·7· ·whatever your paycheck was at the Village of University
  ·8· ·Park, minus whatever you're making in disability?
  ·9· · · · A.· ·Roughly just sitting right here, $8,000 a
  10· ·month.
  11· · · · Q.· ·Got it.· Okay.· Who did you talk to in the
  12· ·private sector that could testify regarding --
  13· · · · A.· ·I don't know.· Like I said --
  14· · · · Q.· ·Can you name two or three people?
  15· · · · A.· ·No.
  16· · · · Q.· ·You don't remember or you just --
  17· · · · A.· ·No, I don't.
  18· · · · Q.· ·Any other factual steps you've taken other than
  19· ·what we've just discussed?
  20· · · · A.· ·No.· I get e-mails and jobs sent to me every
  21· ·day.· I mean even to today.
  22· · · · Q.· ·But you haven't applied for any of them?
  23· · · · A.· ·No.
  24· · · · Q.· ·You're hoping that this lawsuit provides a

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  ·1· ·windfall.· Fair?
  ·2· · · · MR. KELEHER:· Objection.
  ·3· ·BY MR. WALL:
  ·4· · · · Q.· ·No.· I mean, you're hoping to make -- as you
  ·5· ·stated, you're looking to make seven figures as a result
  ·6· ·of this lawsuit.
  ·7· · · · A.· ·I'm holding people accountable for their
  ·8· ·actions.· That's what this is about.
  ·9· · · · Q.· ·Well, there's a portion -- holding them
  10· ·accountable would be to find them guilty of something.
  11· ·The financial is all about you.· Right?
  12· · · · A.· ·No.· It's so they'll stop doing this to people.
  13· ·As you can see from all the lawsuits and all the people
  14· ·that they fired, people with children, people with
  15· ·handicapped people in their households, they need to stop
  16· ·doing that.
  17· · · · Q.· ·Fine.· But, you want them to stop the practice.
  18· ·Right?
  19· · · · A.· ·What I said.
  20· · · · Q.· ·No, but there's two parts to this.· If it was
  21· ·really truly about finding them wrong for what they did,
  22· ·you would be asking for just -- you wouldn't be asking
  23· ·for money.· Fair?
  24· · · · MR. KELEHER:· Objection.· Argumentive.

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  ·1· ·BY MR. WALL:
  ·2· · · · Q.· ·If it's about the principle, you wouldn't take
  ·3· ·one dollar from this.· Right?
  ·4· · · · A.· ·You're wrong.· Because then they're not being
  ·5· ·held accountable, and they'll continue doing it.
  ·6· · · · Q.· ·What's the number that you feel is appropriate?
  ·7· · · · A.· ·1.6 million.
  ·8· · · · Q.· ·And that's $650,000 loss of future income.
  ·9· ·Right?· Roughly?
  10· · · · A.· ·Yes.
  11· · · · Q.· ·And then a million for their actions?
  12· · · · A.· ·Yes.
  13· · · · Q.· ·Okay.· But we can't quantify that million
  14· ·dollars in any way; that's just the number you feel is
  15· ·correct.· Right?
  16· · · · A.· ·I think I did.
  17· · · · Q.· ·Okay.· Well, you think that's the punishment.
  18· · · · A.· ·No.· Well, I mean, if you want to put it that
  19· ·way, I was in the unique position that I was already
  20· ·getting my pension.· I had the ability to draw social
  21· ·security.· I wasn't one of these people that got fired
  22· ·and my husband's debilitated, and I have four children
  23· ·and that's all I had.· I wasn't one of these guys that
  24· ·was the head of a household.· This is my job; this is all

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  ·1· ·I have.
  ·2· · · · Q.· ·No, I understand.
  ·3· · · · A.· ·So, when they did that to me, I have the
  ·4· ·ability to say, you know what?· I'm not going to just sit
  ·5· ·down, roll over, and take this.· I can still live; but
  ·6· ·this is going to stop.· When you talk about principles --
  ·7· · · · Q.· ·So the answer to my question is no, we can't
  ·8· ·quantify it before we go in.· I know you want to talk
  ·9· ·about other people; that's still on the record.· But the
  10· ·million is just -- there's no breakdown, further
  11· ·breakdown of that million.· It's just what you think
  12· ·should -- the number to deter them from it happening in
  13· ·the future.
  14· · · · A.· ·I think that the personal, the 500,000 and
  15· ·things like that, I think it has been quantified.
  16· · · · Q.· ·Oh, you want 400,000 against the Board; 500,000
  17· ·against Mayor Covington.
  18· · · · A.· ·Yeah.
  19· · · · Q.· ·Okay.· I don't have any further questions.
  20· · · · MR. KELEHER:· I have a few.
  21· · · · · · · · · · ·EXAMINATION
  22· · · · · · · · · · ·BY MR. KELEHER:
  23· · · · Q.· ·Mr. Bradley, just to clarify, did you discuss
  24· ·your termination with Trustee Oscar Brown?

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  ·1· · · · A.· ·No.
  ·2· · · · Q.· ·Did Oscar Brown -- you mentioned earlier a
  ·3· ·legal opinion that Oscar Brown wrote.· Do you remember
  ·4· ·that?
  ·5· · · · A.· ·Yes.
  ·6· · · · Q.· ·Paraphrasing, what did that opinion say?
  ·7· · · · MR. WALL:· Objection to form, foundation.· You can
  ·8· ·go ahead and answer.
  ·9· · · · THE WITNESS:· Okay.· My recollection, it was saying
  10· ·that the meeting was -- the word I can use is "illegal".
  11· ·They shouldn't be having that meeting.· He quoted several
  12· ·State Statutes.· They should be hearings.· They should
  13· ·give a hearing.· Different things like that, that they
  14· ·were not going about this properly and that they
  15· ·shouldn't be doing it.
  16· ·BY MR. KELEHER:
  17· · · · Q.· ·Were you given a copy of that opinion?
  18· · · · A.· ·Yes, I was.
  19· · · · Q.· ·Who gave that to you?
  20· · · · A.· ·His brother.· I don't remember his first name.
  21· ·Officer Brown, he was formerly an officer in University
  22· ·Park.· He's now an officer in Markham, Illinois Police
  23· ·Department.· He brought it to my house and gave it to me.
  24· · · · MR. WALL:· I don't want to clear that up now, but --

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  ·1· ·BY MR. KELEHER:
  ·2· · · · Q.· ·When did he give that opinion to you?
  ·3· · · · A.· ·It was shortly, very shortly after the incident
  ·4· ·happened.· The firing.
  ·5· · · · Q.· ·Did he give that opinion to you -- strike that.
  ·6· · · · · · ·What did Officer Brown tell you when he gave
  ·7· ·you that opinion?
  ·8· · · · MR. WALL:· Trustee Brown?
  ·9· · · · MR. KELEHER:· No, Officer Brown, his brother.
  10· · · · THE WITNESS:· There really was no conversation.· He
  11· ·came to the door and handed me a package and said, "Hey,
  12· ·this is for you."· And I was like, "Oh, okay.· Thanks a
  13· ·lot."· And he left.
  14· ·BY MR. KELEHER:
  15· · · · Q.· ·Okay.· What else was in that packet?
  16· · · · A.· ·Just that.· Just that document.
  17· · · · Q.· ·Okay.· So it was in an envelope?
  18· · · · A.· ·I think it was.
  19· · · · Q.· ·You mentioned Felicia Frazier?
  20· · · · A.· ·Yes.
  21· · · · Q.· ·Who is she?
  22· · · · A.· ·She was an attorney for the village.
  23· · · · Q.· ·Okay.· And did you discuss your termination
  24· ·with her?

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  ·1· · · · A.· ·Yes.· We had a vague conversation about it.
  ·2· · · · Q.· ·And what did she tell you?
  ·3· · · · A.· ·It was you know, "That's unfortunate."· You
  ·4· ·know, "That shouldn't have happened.· There was no direct
  ·5· ·you know, sue them, or do this or do that or anything
  ·6· ·like that.
  ·7· · · · · · ·But we did have a conversation.· I don't
  ·8· ·remember all of the conversation how it went, but we had
  ·9· ·a conversation about it.· And she thought they were going
  10· ·to be let go also.
  11· · · · Q.· ·Okay.· Mel Davis, he was the police chief
  12· ·before you?
  13· · · · A.· ·When I came, he was the police chief before me,
  14· ·yes.· When I got there, Darryl Stroud was acting chief
  15· ·because they had fired Mel Davis.
  16· · · · Q.· ·Why was Mel Davis fired?
  17· · · · MR. WALL:· Objection.· Asked and answered.· You can
  18· ·go ahead and answer.
  19· · · · THE WITNESS:· I don't know the specific reason.                       I
  20· ·never seen anything.· There was a change in power
  21· ·structure, and -- but there were, you know, rumors that
  22· ·his qualifications and everything that he brought were
  23· ·not what he gave them.· He didn't have those
  24· ·qualifications and everything.· He didn't have some of

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  ·1· ·the education and everything that he told them about.
  ·2· · · · · · ·And there was, you know, just a lot of rumors
  ·3· ·floating around and everything.
  ·4· ·BY MR. KELEHER:
  ·5· · · · Q.· ·Now, do you know, was Mel Davis afforded any
  ·6· ·sort of termination hearing?
  ·7· · · · A.· ·Yes.
  ·8· · · · MR. WALL:· Objection.· Relevance.
  ·9· · · · THE WITNESS:· My understanding was that he was given
  10· ·a $25,000 severance check, and he was given a chance to
  11· ·come before the Board and have a conversation.· I don't
  12· ·know.· Ask some questions.· And you know, he wanted to
  13· ·come back as chief and different things like that, but he
  14· ·was not allowed to come back.
  15· ·BY MR. KELEHER:
  16· · · · Q.· ·Okay.
  17· · · · A.· ·Even though he didn't have a contract, he was
  18· ·given a $25,000 severance pay.
  19· · · · Q.· ·And obviously you were never given a severance?
  20· · · · A.· ·Absolutely not.
  21· · · · Q.· ·And you were also never given an opportunity to
  22· ·talk to the Board?
  23· · · · A.· ·No.
  24· · · · Q.· ·Mr. Bradley, were you ever told by the mayor

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  ·1· ·that you were doing a poor job as police chief?
  ·2· · · · MR. WALL:· Objection.· Asked and answered.
  ·3· · · · THE WITNESS:· No.
  ·4· ·BY MR. KELEHER:
  ·5· · · · Q.· ·Were you ever told by the trustees, any of the
  ·6· ·trustees, that you were doing poor job as the police
  ·7· ·chief?
  ·8· · · · A.· ·No.
  ·9· · · · Q.· ·And you mentioned earlier that you filed for
  10· ·unemployment?
  11· · · · A.· ·Yes.
  12· · · · Q.· ·And what was the outcome of that filing?
  13· · · · A.· ·They denied my unemployment, so I --
  14· · · · MR. WALL:· IDES did.
  15· · · · THE WITNESS:· No.· The village denied.· The village
  16· ·denied my unemployment after I filed.· So when I got the
  17· ·letter, I went and we had a hearing.· The lady called me,
  18· ·and we had the telephone hearing and everything.
  19· · · · · · ·And then they said they were going to contact
  20· ·the village.· They contacted the village, and then they
  21· ·found in my favor.· And then when I went up to IDES to
  22· ·get all the paperwork and get things sorted out and
  23· ·everything, the girl there told me that they were trying
  24· ·and trying and trying to get ahold of somebody over there

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 ·1· ·and they couldn't get anybody.· And they weren't
 ·2· ·answering any of their questionnaires or anything like
 ·3· ·that.
 ·4· · · · · · ·But they had to put something in there, you
 ·5· ·know, a reason why I was denied.· And what was put in
 ·6· ·there was unsatisfactory work or something like that.
 ·7· ·They weren't satisfied with my work or something like
 ·8· ·that.
 ·9· · · · Q.· ·So when you say the village denied it, is that
 10· ·what you mean that the village --
 11· · · · A.· ·Yes.· I don't know a specific person, because
 12· ·again they said that they couldn't get in contact with
 13· ·anybody.· Nobody would talk to them.· It was just denied
 14· ·by the village.
 15· · · · · · ·I think that's what the paperwork told, that I
 16· ·was denied by the village.
 17· · · · Q.· ·But ultimately, you were given unemployment?
 18· · · · A.· ·Oh, yeah.· They found in my favor.
 19· · · · Q.· ·And you mean IDES?
 20· · · · A.· ·IDES, yes.
 21· · · · Q.· ·You discussed earlier the picture with
 22· ·Mr. Roudez that you were reprimanded for?
 23· · · · A.· ·Yes.
 24· · · · Q.· ·You were reprimanded by Lafayette Linear?

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  ·1· · · · MR. WALL:· Objection.· Asked and answered.
  ·2· · · · THE WITNESS:· I was reprimanded by Lafayette Linear,
  ·3· ·but I had taken pictures with Mayor Covington and other
  ·4· ·people in uniform just like Joe Roudez while on the job.
  ·5· ·BY MR. KELEHER:
  ·6· · · · Q.· ·Approximately when were you reprimanded?
  ·7· · · · MR. WALL:· Objection.· Asked and answered.
  ·8· · · · THE WITNESS:· I believe it was -- I don't know.
  ·9· ·Approximately around election time.
  10· ·BY MR. KELEHER:
  11· · · · Q.· ·Okay.
  12· · · · A.· ·Yeah.
  13· · · · Q.· ·So this was not -- this reprimand was not
  14· ·proximate to your termination?
  15· · · · A.· ·No.
  16· · · · Q.· ·When you were terminated, did anyone mention
  17· ·this picture incident as a reason for your termination?
  18· · · · A.· ·Nobody mentioned that picture as a reason.                       I
  19· ·ran for sheriff of Will County twice and came very close
  20· ·to winning those elections and never was accosted for
  21· ·running for Sheriff.· I mean, I'm talking deep politics,
  22· ·not this petty stuff in University Park.· And this is
  23· ·something that never came up to me.
  24· · · · · · ·So as far as taking a picture in uniform with

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  ·1· ·the mayor or Joe or anybody else, that never even
  ·2· ·crossed my mind, you know, as far as retribution or
  ·3· ·anything.
  ·4· · · · MR. KELEHER:· Nothing further.
  ·5· · · · · · · · · · ·EXAMINATION
  ·6· · · · · · · · · · ·BY MR. WALL:
  ·7· · · · Q.· ·Trustee Brown gave this legal opinion.· Do you
  ·8· ·know if that occurred before or after the meeting?
  ·9· · · · A.· ·I'm not sure.
  10· · · · Q.· ·Was he employed as a legal professional for
  11· ·the Village of University Park when he issued that legal
  12· ·opinion, or was he acting as a trustee?
  13· · · · A.· ·They get paid.
  14· · · · Q.· ·That wasn't my question.· Was he acting as a
  15· ·lawyer?
  16· · · · A.· ·I don't know.· But all I can tell you, you
  17· ·asked me about financial something when it was financial.
  18· ·And they get paid, so I don't know how to answer you
  19· ·otherwise.
  20· · · · Q.· ·I'm just trying to figure out if Oscar Brown
  21· ·committed a disbarrable offense by sharing
  22· ·attorney/client privileged documents or if he was acting
  23· ·as a trustee?
  24· · · · A.· ·I don't know.

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 ·1· · · · MR. KELEHER:· Objection.· Calls for speculation.
 ·2· ·BY MR. WALL:
 ·3· · · · Q.· ·Were you there when that legal opinion came
 ·4· ·out?
 ·5· · · · A.· ·No.
 ·6· · · · Q.· ·Were you told that it was in his trustee
 ·7· ·capacity or as an attorney licensed by the State of
 ·8· ·Illinois.
 ·9· · · · A.· ·I wasn't told anything.
 10· · · · Q.· ·And he shared this document if he was an
 11· ·attorney with someone who is not a client, which would
 12· ·have been Officer Brown.· Right?
 13· · · · MR. KELEHER:· Objection.· Calls for speculation.
 14· · · · MR. WALL:· Your client said he got it from Officer
 15· ·Brown, so it had to get to him somehow.· Fair?
 16· · · · THE WITNESS:· Yeah, he had -- yeah.
 17· ·BY MR. WALL:
 18· · · · Q.· ·And he gave you a copy of this legal opinion?
 19· · · · A.· ·Yes.
 20· · · · Q.· ·When we depose Oscar Brown, I guess he'll be
 21· ·in a better position to tell us if he was acting as
 22· ·village counsel or if he was acting as a trustee.
 23· · · · · · ·You said you were a taxpayer and a former
 24· ·employer.· Did you ever ask to address the Board post

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 ·1· ·your termination?
 ·2· · · · A.· ·No.
 ·3· · · · Q.· ·Did you ever ask for a meeting?
 ·4· · · · A.· ·All that was done through my attorney.· All
 ·5· ·that was done, but it was done -- are you asking me if I
 ·6· ·specifically did it?· No.· But it was, you know, asked
 ·7· ·for through my attorneys.
 ·8· · · · Q.· ·Why not go to the next meeting and ask why you
 ·9· ·were terminated?
 10· · · · A.· ·Because I felt at that point I was going to
 11· ·let my attorneys handle that.· I think the situation
 12· ·called for that.
 13· · · · Q.· ·But you're a taxpayer?
 14· · · · A.· ·Absolutely.
 15· · · · Q.· ·And they could be on the hook for your -- you
 16· ·effectively could be funding your own settlement?
 17· · · · A.· ·Yeah.
 18· · · · Q.· ·Or you will be?
 19· · · · A.· ·Yeah.· You're absolutely correct; but I'm
 20· ·not going to go and question Donald Trump about some of
 21· ·his idiotic stuff.· And I'm a taxpayer of the United
 22· ·States.
 23· · · · Q.· ·Off the record.
 24· · · · · · · · · · ·(Discussion off the record.)

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  ·1· ·BY MR. WALL:
  ·2· · · · Q.· ·Back on the record.
  ·3· · · · · · ·You're a taxpayer.· It just seemed to me if
  ·4· ·you were upset about this termination, why not yourself
  ·5· ·ask to address the Board to determine why you were
  ·6· ·terminated?
  ·7· · · · A.· ·Because I think anybody in their right mind at
  ·8· ·that point would go and get an attorney that knows what
  ·9· ·they're doing.· It's time for legal intervention, and let
  10· ·them handle that at that point.· And that's what I did.
  11· · · · Q.· ·What were you making in unemployment?
  12· · · · A.· ·Approximately $1,400 a month.
  13· · · · Q.· ·So when you were getting unemployment, you
  14· ·were getting about 10K in the door a month, roughly.
  15· ·Pension, social security, unemployment.· Ballpark.
  16· · · · A.· ·Yeah, yeah.
  17· · · · Q.· ·You don't have any idea surrounding the
  18· ·circumstances of Mel Davis' termination.· Correct?
  19· · · · A.· ·Not factually, no.
  20· · · · Q.· ·Your attorney just asked you.· You said he was
  21· ·given a severance.· Right?
  22· · · · A.· ·Yes.
  23· · · · Q.· ·And you said you don't know why he was
  24· ·terminated.· Right?

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  ·1· · · · A.· ·Yes.
  ·2· · · · Q.· ·So you don't know why he got the severance.
  ·3· ·Correct?
  ·4· · · · A.· ·The mayor wanted him to have it.
  ·5· · · · Q.· ·That's your assumption again.· Correct?
  ·6· · · · A.· ·I think that's a fact.· He got it.
  ·7· · · · Q.· ·But you don't know why he got it.· You don't
  ·8· ·know why he got it?
  ·9· · · · A.· ·No.
  10· · · · Q.· ·You don't know who was involved in the decision
  11· ·to give it to him?
  12· · · · A.· ·Somebody on the board.
  13· · · · Q.· ·Again, you don't know specifics.· Fair?
  14· · · · A.· ·Right.· I don't have any evidence.
  15· · · · Q.· ·Okay.· I'm done.
  16· · · · · · ·So to clarify the record, Exhibit 1 is the
  17· ·Ordinance and Employment Contract.· Exhibit 2 is his
  18· ·Answers to Interrogatories.· And we agreed that Exhibit 3
  19· ·is the complaint.
  20· · · · MR. KELEHER:· That's correct.
  21· · · · MR. WALL:· Fair?
  22· · · · MR. KELEHER:· Yes.
  23· · · · · · · · AND FURTHER AFFIANT SAITH NOT.
  24· · · · · · · · · · · · · (Time noted:· 5:00 p.m.)

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Case: 1:15-cv-08489 Document #: 112-3 Filed: 09/29/21 Page 168 of 192 PageID #:1507
      EDDIE RAY BRADLEY vs. Village of University Park
      Bradley, Eddie on 08/16/2016
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 ·1· ·STATE OF ILLINOIS· )
 · · · · · · · · · · · · )· SS:
 ·2· ·COUNTY OF C O O K· )

 ·3

 ·4· · · · · ·I, LYNN MANGAN, a Notary Public within and

 ·5· ·for the County of Lake, State of Indiana, and a

 ·6· ·Certified Shorthand Reporter, CSR No. 84-001449, of

 ·7· ·the State of Illinois, do hereby certify:

 ·8· · · · · ·That previous to the commencement of the

 ·9· ·examination of the witness, the witness was duly

 10· ·sworn to testify the whole truth concerning the

 11· ·matters herein;

 12· · · · · ·That the foregoing deposition transcript

 13· ·was reported stenographically by me, and was thereafter

 14· ·reduced to typewriting under my personal direction,

 15· ·and constitutes a true record of the testimony

 16· ·given and the proceedings had;

 17· · · · · ·That the said deposition was taken before

 18· ·me at the time and place specified;

 19· · · · · ·That I am not a relative or employee or

 20· ·attorney or counsel, nor a relative or employee of

 21· ·such attorney or counsel for any of the parties

 22· ·hereto, nor interested directly or indirectly in

 23· ·the outcome of this action.

 24


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      EDDIE RAY BRADLEY vs. Village of University Park
      Bradley, Eddie on 08/16/2016
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 ·1· · · · · ·IN WITNESS WHEREOF, I do hereunto set my
 ·2· ·hand and affix my seal of office at Chicago, Illinois,
 ·3· ·this 16th day of August, 2016.
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